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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHELSEY GOSSE,                 )
                               )
               Plaintiff       ) Civil Action No. 3:20-cv-01446-RDM
                               )
                               ) Hon. Robert D. Mariani
    v.                         )
TRANSWORLD SYSTEMS, INC.; U.S. )
BANK, NA.; RATCHFORD LAW       ) Electronically Filed
GROUP, P.C.; NATIONAL          )
COLLEGIATE STUDENT LOAN        )
TRUST 2007-3,                  )
                               )
               Defendants      )
                               )



                  APPENDIX OF UNPUBLISHED CASES
Bainbridge v. Ocwen Loan Servicing, LLC, No. 3:16-CV-0411, 2017 WL 1178047
(M.D. Pa. Mar. 30, 2017)
Bronstein v. Bayview Loan Servicing, LLC, No. CV 18-4223, 2020 WL 703652
(E.D. Pa. Feb. 11, 2020)
Dolan v. PHL Variable Ins. Co., No. 3:15-CV-01987, 2017 WL 4812308 (M.D.
Pa. Oct. 25, 2017)
Johnson v. Chase Manhattan Bank, USA N.A., No. 07-526, 2007 WL 2033833
(E.D. Pa. July 11, 2007)
Levin v. Strayer Univ., LLC, No. CV 18-0893, 2018 WL 3585124 (E.D. Pa. July
26, 2018)
Murphy v. Fed. Deposit Ins. Corp., 408 F. App’x 609 (3d Cir. 2010)
Prukala v. Chase Bank, N.A., No. 3:19-CV-1791, 2020 WL 5351042 (M.D. Pa.
Sept. 4, 2020)
Schwartz v. OneWest Bank, FSB, 614 Fed. App’x. 80 (3d Cir. 2015)
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Bainbridge v. Ocwen Loan Servicing, LLC
United States District Court, M.D. Pennsylvania. |       March 30, 2017 |     Not Reported in Fed. Supp. |
 2017 WL 1178047

Document Details                                                                       Outline
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                    1178047 (M.D. Pa. Mar. 30, 2017)                                   Firms (p.1)
All Citations:      Not Reported in Fed. Supp., 2017 WL 1178047                        MEMORANDUM
                                                                                       (p.1)
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                                                                   are ripe for disposition. For the reasons set forth below,
                                                                   Defendants' respective motions to dismiss filed pursuant to
                  2017 WL 1178047
                                                                   Federal Rule of Civil Procedure 12(b)(6) will be denied in
   Only the Westlaw citation is currently available.
                                                                   part and granted in part.
   United States District Court, M.D. Pennsylvania.

    Christopher BAINBRIDGE, et al., Plaintiffs
                                                                   I. STANDARD OF REVIEW
                      v.
                                                                   As stated, both motions to dismiss have been brought pursuant
 OCWEN LOAN SERVICING, LLC, et al., Defendants
                                                                   to Federal Rule of Civil Procedure 12(b)(6). See (Docs.
                                                                   21-24). “This rule provides for the dismissal of a complaint,
             CIVIL ACTION NO. 3:16-CV-0411
                                                                   in whole or in part, if the plaintiff fails to state a claim upon
                            |
                                                                   which relief can be granted.” Suessenbach Family v. Access
                    Filed 03/30/2017
                                                                   Midstream, 2015 U.S. Dist. LEXIS 40900, at *2, 2015 WL
Attorneys and Law Firms                                            1505665 (M.D. Pa. Mar. 31, 2015) (Mannion, J.). The moving
                                                                   party bears the burden of showing that no claim has been
Matthew B. Weisberg, Weisberg Law, Morton, PA, for                 stated. Hedges v. United States, 404 F.3d 744, 750 (3d Cir.
Plaintiffs.                                                        2005). All factual allegations are accepted as true and all
                                                                   inferences are construed in the light most favorable to the non-
Brian T. Feeney, Gregory T. Sturges, Greenberg Traurig LLP,
                                                                   moving party. Kaymark v. Bank of Am., N.A., 2015 U.S. App.
Brett L. Messinger, Duane Morris, LLP, Philadelphia, PA,
                                                                   LEXIS 5548, at *7, 2015 WL 1529120 (3d Cir. Apr. 7, 2015)
David Neeren, Udren Law Office, P.C., Cherry Hill, NJ, for
                                                                   (citing Fleisher v. Standard Ins. Co., 679 F.3d 116, 120 (3d
Defendants.
                                                                   Cir. 2012)). “[D]ismissal is appropriate only if, accepting all
                                                                   of the facts alleged in the complaint as true, the plaintiff has
                                                                   failed to plead ‘enough facts to state a claim to relief that is
                     MEMORANDUM                                    plausible on its face.’ ” Suessenbach Family, 2015 U.S. Dist.
                                                                   LEXIS 40900, at *2, 2015 WL 1505665 (quoting Bell Atl.
William J. Nealon, United States District Judge
                                                                   Corp. v. Twombly, 550 U.S. 544 (2007)). The non-moving
 *1 Plaintiffs, Christopher and Kelly Bainbridge, filed an         party's allegations must be sufficient to “raise a right to relief
amended complaint against Defendants U.S. Bank, N.A. as            above the speculative level.” Twombly, 550 U.S. at 544. “This
Trustee for the C-BASS Mortgage Loan Trust Asset-Back              requirement ‘calls for enough fact[s] to raise a reasonable
Certificates, Series 2007-CB6 (“U.S. Bank”); Udren Law             expectation that discovery will reveal evidence of’ necessary
Offices, P.C. (“Udren”); and Ocwen Loan Servicing, LLC             elements of the plaintiff's cause of action.” Suessenbach
(“Ocwen”) (collectively “Defendants”). (Doc. 14). Plaintiffs       Family, 2015 U.S. Dist. LEXIS 40900, at *2-3, 2015 WL
allege that Ocwen and Udren violated the Fair Debt Collection      1505665 (quoting Twombly, 550 U.S. at 544). “Furthermore,
Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”). (Id. at        in order to satisfy federal pleading requirements, the plaintiff
pp. 5-6). Plaintiffs also claim that Defendants made wrongful      must ‘provide the grounds of his entitlement to relief,’ which
use of civil proceedings in violation of 42 Pa. C.S.A. § 8351,     ‘requires more than labels and conclusions, and a formulaic
et seq. (“Dragonetti Act”), and violated the Pennsylvania          recitation of the elements of a cause of action will not do.’ ”
Unfair Trade Practices and Consumer Protection Law, 73 P.S.        Id. (quoting Phillips v. Cnty. of Allegheny, 515 F.3d 224, 231
§ 201-1, et seq. (“UTPCPL”). (Id. at pp. 6-9). On May 6,           (3d Cir. 2008)).
2016, Udren filed a motion to dismiss the amended complaint
pursuant to Federal Rule of Civil Procedure 12(b)(6) and brief      *2 “Generally, the court should grant leave to amend a
in support. (Docs. 21, 22). On May 16, 2016, U.S. Bank             complaint before dismissing it as merely deficient.” Aspinall
and Ocwen filed a motion to dismiss the amended complaint          v. Thomas, 118 F. Supp. 3d 664, 670-71 (M.D. Pa. 2015)
pursuant to Federal Rule of Civil Procedure 12(b)(6) and           (Mannion, J.) (citing Fletcher-Harlee Corp. v. Pote Concrete
brief in support. (Docs. 23, 24). On June 6, 2016, Plaintiffs      Contractors, Inc., 482 F.3d 247, 252 (3d Cir. 2007); Grayson
filed their brief in opposition to the motions to dismiss. (Doc.   v. Mayview State Hosp., 293 F.3d 103, 108 (3d Cir. 2002);
27). On June 20, 2016, Defendants filed a joint reply brief.       Shane v. Fauver, 213 F.3d 113, 116-17 (3d Cir. 2000)).
(Doc. 28). As a result, the aforementioned motions to dismiss      “Dismissal without leave to amend is justified only on the



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grounds of bad faith, undue delay, prejudice, or futility.”       Defendants instituted the underlying mortgage foreclosure
Alston v. Parker, 363 F.3d 229, 236 (3d Cir. 2004).               action against Plaintiffs “without investigating the claimed
                                                                  default.” (Id. at p. 4). Subsequent to the complaint being
                                                                  filed in the underlying mortgage foreclosure action, Plaintiffs
II. FACTUAL ALLEGATIONS                                           “continually informed Defendants of their mistake.” (Doc.
Pursuant to the above-discussed motion to dismiss standard of     14, p. 4). Defendants, however, continued to pursue the
review, all facts are taken from Plaintiffs' amended complaint,   foreclosure action. (Id.). On March 13, 2015, in the Wayne
(Doc. 14), unless otherwise noted.                                County Court of Common Pleas, the Honorable Raymond
                                                                  L. Hamill entered a verdict in favor of Plaintiffs and against
On February 7, 2008, Plaintiffs became the owners of the          Defendants in the underlying foreclosure action. (Id.).
property located at 25 5th Street, Hawley, Pennsylvania
18428. (Id. at p. 2). “On or about March 28, 2007, Plaintiffs      *3 On or about October 7, 2015, Plaintiffs “received
initiated a mortgage loan with Defendants' predecessor,           a discharge of their chapter 13 bankruptcy wherein they
Imperial Lending, LLC.” (Id.). On or about November 4,            had paid $12,600 in pre-petition arrears to Ocwen and
2010, Plaintiffs filed Chapter 13 bankruptcy in the United        its predecessor servicer, Litton.” (Id.). On or about that
States District Court for the Middle District of Pennsylvania.    same date, Ocwen filed “a Response under BR 3002.1(g)”
(Id. at p. 3). On October 12, 2011, “Ocwen filed a Transfer       in Plaintiffs' bankruptcy action “alleging a post-petition
of Claim document reflecting transfer of servicing rights”        mortgage loan default by plaintiffs for the months [of]
regarding Plaintiff's loan “from Litton Loan Servicing, L.P.      December 1, 2013 through October 1, 2015 in the total
to Ocwen.” (Id.). Ocwen “acquired the servicing rights to the     amount of $36,851.75.” (Id.).
mortgage debt disputed herein from Litton Loan Servicing
when alleged to be in default.” (Id. at p. 2).                    Based on the foregoing, “Plaintiffs' credit has been damaged
                                                                  causing them to be unable to purchase a new truck ... [and
On July 18, 2013, U.S. Bank filed a motion in Plaintiffs'         they] also have been forced to rent rather than purchase a
bankruptcy action “for relief from the stay alleging plaintiffs   new home because they cannot qualify for an affordable
had not made post-petition monthly mortgage payments              mortgage.” (Id.). Moreover, Plaintiffs spent “approximately
beginning February 1, 2013.” (Doc. 14, p. 3). On August           $7,000 to retain attorneys” for their representation in the
8, 2013, the United States Bankruptcy Court for the Middle        underlying mortgage foreclosure action. (Id.).
District of Pennsylvania “entered an order granting US Bank
relief from the stay due to plaintiffs' bankruptcy counsel
failing to respond to the motion without the knowledge of the     III. DISCUSSION
plaintiffs.” (Id.).
                                                                     A. FDCPA
On June 26, 2014, “Defendants filed a complaint in                Both motions currently before the Court argue that Plaintiffs'
mortgage foreclosure against Plaintiffs in Wayne County,          FDCPA claims concerning the underlying foreclosure action
Pennsylvania Court of Common Pleas.” (Id.). In that               are barred by the FDCPA's one (1) year statute of limitations.
foreclosure action, “Defendants alleged ... that plaintiffs       (Doc. 22, p. 7); (Doc. 24, pp. 1, 5, 6-8). According
had not made post-petition monthly mortgage payments              to Udren, “Plaintiffs claim that ‘Defendants’ violated the
beginning” on September 1, 2013. (Id.). Defendants “alleged       FDCPA by falsely filing a foreclosure action to take
that the aforesaid mortgage was in default in that the payment    Plaintiffs' home and that ‘Defendants’ sent in and out-of-
due on or about September 1, 2013, and alleged that all           court correspondence concerning the amounts due.” (Doc.
subsequent payments had not been made.” (Id.). Plaintiffs         22, p. 7). However, Udren states that Plaintiffs provide “[n]o
“never missed a single payment after relief was granted to”       further specification.” (Id.). Furthermore, Udren argues that
U.S. Bank in the Plaintiffs' bankruptcy action until “Ocwen       since the FDCPA has a one-year (1) statute of limitations,
began returning plaintiffs' payments in January 2014.” (Id.).     “only alleged FDCPA violations occurring after March 8,
Ocwen returned these payments “despite Plaintiffs having          2015 are actionable in this proceeding.” (Id.). Udren notes
copies of checks and bank statements evidencing payment for       that the relevant “Foreclosure Action was filed on June 26,
every month alleged unpaid.” (Id.). Additionally, “Defendants     2014,” and “Plaintiffs filed an Answer on September 26,
cashed the checks.” (Id.).                                        2014.” (Id.). Udren claims that the “[t]rial occurred [on]
                                                                  March 3, 2015.” (Id.). Thus, Udren concludes, “[t]he alleged


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communications by Udren ‘in and out of court’ would have           was handed down in the underlying state court litigation.
had to occur after March 8, 2015 to fall within the statute        (Doc. 27-1, pp. 4-9). Plaintiffs ask the Court to craft “an
of limitations.” (Id.). But, according to Udren, “[b]ecause        exception” which would toll “the FDCPA claim from the time
all the conduct complained of possibly attributable to Udren       of filing or answer given the unique concerns of ripeness,
occurred more than one (1) year before all of the above dates,     judicial economy and important state interests involved in
it is not actionable under the FDCPA.” (Id.).                      determining real property issues.” (Id. at p. 5).

Udren also argues that while Plaintiffs “make unsupported          In support of their request that the Court adopt this
assertions that the purported FDCPA violations continued           exception to the FDCPA's statute of limitations, Plaintiffs
through the ‘present date,’ ” they “cannot maintain a              first argue that judicial economy will be served by adopting
‘continuation of violation’ theory to somehow toll the date        this exception to the FDCPA's statute of limitations.
of accrual of their FDCPA claim beyond June 26, 2014, the          (Id.). According to Plaintiff, “[t]he reasoning employed
date of commencement of the mortgage foreclosure action or         by Federal Courts considering abstention from state court
service of the Complaint on August 26, 2014.” (Doc. 22, p.         determinations provides a foundation for [P]laintiff[s']
8). Udren claims that “[i]t is well-settled that a specific date   ripeness arguments.” (Doc. 27-1, p. 5). Plaintiffs claim
is affixed for the accrual of a purported FDCPA violation ...      that courts within the Third Circuit that have considered
and the subsequent course of litigation is not actionable          “Younger abstention issues abstain where real property
under a ‘continuing violation’ theory in the context of the        issues are involved.” (Id. at p. 6). Moreover, Plaintiffs state
FDCPA.” (Id.) (quoting Schaffhauser v. Citibank (S.D.) N.A.,       that “[a]nother category of cases appropriate for abstention
340 Fed.Appx. 128, 130 (3d Cir. 2009); citing Parker v.            involves ‘considerations of [wise] judicial administration,
Pressler & Pressler, LLP, 650 F. Supp. 2d 326, 341 (D.N.J.         giving regard to conservation of judicial resources and
2009)).                                                            comprehensive disposition of litigation.’ ” (Id.) (second
                                                                   alteration and emphasis in original) (quoting Colo. River
Similarly, U.S. Bank and Ocwen argue that Plaintiffs' FDCPA        Water Conservation Dist. v. United States, 424 U.S. 800, 817
claims are barred by the FDCPA's one-year (1) statute of           (1976)). Plaintiffs argue that “[i]nsofar as federal abstention
limitations. (Doc. 24, p. 6). In particular, U.S. Bank and         doctrine dictates that any parallel FDCPA case arising
Ocwen claim that since the instant action was instituted on        from plaintiff's standing defense would require the case be
March 8, 2016, “no action taken prior to March 8, 2015             stayed anyhow under the Colorado River abstention doctrine,
may form the basis of their claims against Ocwen and U.S.          judicial economy is served by” this Court's rejection the
Bank.” (Id.). According to U.S. Bank and Ocwen, even               “argument that tolling of an FDCPA claim based on a
assuming, without deciding, that the limitations period began      foreclosure action is based on the time of that action's filing
to run in September 2014, when Plaintiffs were served with         or service.” (Id.).
the foreclosure complaint, the Plaintiffs' “FDCPA claims,
premised on improper or ‘false’ allegations included in the        According to Plaintiffs, the “Colorado River abstention
Foreclosure Action, are clearly time-barred.” (Doc. 24, p. 7).     provides that, under ‘exceptional circumstances,’ a federal
                                                                   court may abstain from its otherwise ‘virtually unflagging
 *4 U.S. Bank and Ocwen also claim that “[a]ny acts taken or       obligation’ to assert jurisdiction over a case because (1) there
statements made by Ocwen or U.S. Bank in the course of the         is a parallel case in state court, and (2) after ‘careful[ly]
Foreclosure Action do not constitute ‘continuing violations’       balancing’ a series of factors, maintaining the federal case
of FDCPA that would re-start the limitations period.” (Id.)        would be a waste of judicial resources.” (Id.) (alteration in
(citing Schaffhauser, 340 Fed.Appx. at 130-31; Kimmel v.           original) (quoting Moses 4 H Cone Mem'l Hosp. v. Mercury
Phelan Hallinan & Schmeig, PC, 847 F. Supp. 2d 753, 767            Constr. Corp., 460 U.S. 1, 13-16, 19 (1983)). Plaintiffs argue
(E.D. Pa. 2012); Schaffhauser v. Burton Neil & Assocs., P.C.,      that “[h]ere the two proceedings would have easily been
2008 U.S. Dist. LEXIS 24894, 2008 WL 857523 (M.D. Pa.              considered parallel insofar [as] they ‘involve the same parties
Mar. 27, 2008) (Rambo, J.)).                                       and substantially identical claims, raising nearly identical
                                                                   allegations and issues,’ and when plaintiffs in each forum
Plaintiffs respond by arguing that their FDCPA claims              seek the same remedies, i.e. here, determination as to the
concerning the underlying mortgage foreclosure action              validity of the underlying debt in a foreclosure action.” (Doc.
should be considered ripe when the foreclosure verdict             27-1, pp. 6-7) (internal citations omitted). Plaintiffs also claim



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that “five of the six factors clearly argue for abstention with
the sixth, convenience of the federal forum, having a neutral
effect.” (Id. at p. 7).                                                        The case law underlying the Motion's
                                                                               argument that an FDCPA claim is
 *5 According to Plaintiffs, the argument put forth by                         broadly tolled by the initiation or
Defendants “requires any foreclosure defendant opposing                        service of the foreclosure complaint
foreclosure for lack of a defaulted debt to file a parallel                    should be distinguished because it
concurrent action to toll the FDCPA statute of limitations                     does not involve foreclosure or
despite all Colorado River and Younger abstention factors                      standing defense in the respective
arguing for federal court abstention.” (Id. at p. 8). Moreover,                underlying collection actions as
Plaintiffs contend that:                                                       discussed above.



             Extending the Motion's argument to                   (Id.).
             the instant case's facts would have
             resulted in the consequent squandering               Initially, the Court notes that Plaintiffs' FDCPA claims are
             of not only the state court's resources              based on two (2) sections of the FDCPA and concern actions
             spent for years on a meritless state                 allegedly taken in two (2) separate legal proceedings. (Doc.
             foreclosure claim, but would also have               14, pp. 5-6). First, Plaintiffs contend that Ocwen violated
             squandered the resources of the federal              15 U.S.C. § 1692e(2)(A) of the FDCPA on October 7,
             court to carry the FDCPA action on                   2015, when it “falsely fil[ed] a Response in the bankruptcy
             its docket as an active matter for such              when no post-petition payments were due.” (Id. at p. 5).
             time.                                                Second, Plaintiffs allege that Ocwen and Udren violated
                                                                  section 1692e(2)(A) when they “falsely fil[ed] a foreclosure
                                                                  action to take [Plaintiffs'] home when [Plaintiffs] were
(Id.). Plaintiffs also claim that:                                not contractually in default under the Note for payments
                                                                  due.” (Doc. 14, p. 5). Notably, Plaintiffs also allege generally
                                                                  that “Defendants violated § 1692f by engaging in unfair or
             filing of an FDCPA claim in federal                  unconscionable means to collect or attempt to collect a debt
             court against the foreclosing parties                by the aforesaid conduct.” (Id. at p. 6).
             and their counsel within one (1) year
             of the foreclosure action's filing or                As to Plaintiff's FDCPA claims, Defendants' respective
             service without regard for disposition               motions focus on Plaintiffs' allegations concerning the
             of whether the debt is owed increases                Defendants' filing of the underlying foreclosure action and,
             the danger of the borrower and his                   importantly, do not address Plaintiffs' claim regarding the
             counsel having Rule 11 sanctions                     “Response” allegedly filed by Ocwen on October 7, 2015,
             threatened thereby increasing the                    in the “bankruptcy.” See (Doc. 22, pp. 2, 7-8); (Doc. 24,
             likelihood of multiplying the litigation.            pp. 1-2, 6-7). Consequently, Plaintiffs' FDCPA claims under
                                                                  sections 1692e(2)(A) and 1692f based on the “Response”
                                                                  allegedly filed by Ocwen in the “bankruptcy” will be allowed
                                                                  to proceed.
(Doc. 27-1, p. 9).

                                                                  However, Plaintiffs' claim that Ocwen and Udren violated
Plaintiffs also make clear that they are not alleging
                                                                  sections 1692e(2)(A) and 1692f of the FDCPA when they
a continuing violation theory under the FDCPA. (Id.).
                                                                  filed the underlying mortgage foreclosure action will not
According to Plaintiffs:
                                                                  proceed. Pursuant to section 1692k(d) of the FDCPA, “[a]n
                                                                  action to enforce any liability created by this title ... may be
                                                                  brought in any appropriate United States district court without
                                                                  regard to the amount in controversy, or in any other court of



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competent jurisdiction, within one [ (1) ] year from the date      the Third Circuit declined to extend the “continuing violation
on which the violation occurs.” 15 U.S.C. § 1692k(d). Here,        doctrine” to an FDCPA claim relating to “state court debt
Plaintiffs filed their original complaint on March 8, 2016.        collection actions.” Id.
Therefore, under section 1692k(d), Plaintiffs' FDCPA claims
which occurred before March 8, 2015, will be time barred.          A number of district courts within the Third Circuit
                                                                   have found the Third Circuit's non-precedential decision
 *6 To determine whether Plaintiffs' FDCPA claims                  in Schaffhauser to be persuasive, specifically to the extent
concerning the underlying mortgage foreclosure action are          it determined that the participation in the underlying state
time barred, the Court must first decide when those claims         court action did not qualify as a continuing violation. For
began to accrue under the FDCPA's statute of limitations.          example, in Toritto v. Portfolio Recovery Assocs., LLC, 2016
According to the plain language of the FDCPA, the statute          U.S. Dist. LEXIS 45821, 2016 WL 1354946 (D.N.J. Apr.
of limitations begins to accrue “from the date on which the        5, 2016), the United States District Court for the District
violation occurs.” 15 U.S.C. § 1692k(d). This plain reading is     of New Jersey recently addressed whether a plaintiff's claim
consistent with decisions reached by the United States Court       that the defendants “violated the FDCPA by ‘attempting to
of Appeals for the Third Circuit and the district courts within    collect an alleged debt beyond the statute of limitations' in
that jurisdiction. For example, in Schaffhauser v. Citibank,       the state court action” was barred by the FDCPA's one-
the Third Circuit noted that “[a]n action under the FDCPA          year (1) statute of limitations. Id. at *3. The District Court,
must be brought ‘within one year from the date on which            in reaching its determination that the plaintiffs' claim was
the violation occurs.’ ” 340 Fed.Appx. 128, 130 (3d Cir.           time barred, found Schaffhauser to be “persuasive and on
2009) (quoting 15 U.S.C. § 1692k(d)). The Third Circuit went       point.” Id. at *4. In particular, the District Court stated that
on to state that “[w]here FDCPA claims are premised upon           “[a]s in Schaffhauser, [the plaintiffs’] claims in this case
allegations of improper pursuit of debt collection litigation,     are ‘premised upon allegations of improper pursuit of debt
[footnote omitted] courts are split as to when the FDCPA's         collection litigation.’ ” Id. at *5 (Schaffhauser, 340 Fed.Appx.
one-year statute of limitations begins to run....” Id. The Third   at 130-31).
Circuit continued by noting that “some have held that such
claims accrue upon filing the underlying collection action,        Additionally, in Kohar v. Wells Fargo Bank, N.A., 2016
see Naas v. Stolman, 130 F.3d 892, 893 (9th Cir. 1997),            U.S. Dist. LEXIS 49599, 2016 WL 1449580 (W.D. Pa. Apr.
while others use the date on which the purported debtor was        13, 2016), the United States District Court for the Western
served with the complaint.” Id. at 131 (citing Johnson v.          District of Pennsylvania noted that:
Riddle, 305 F.3d 1107, 1113 (10th Cir. 2002)). Ultimately,
the Third Circuit determined that it was not necessary to
determine which approach applied because “under either                          The Court of Appeals and numerous
approach” the plaintiffs' FDCPA claims were “clearly                            District Courts have recognized
untimely.” Schaffhauser, 340 Fed.Appx. at 131. Additionally,                    that the one year statute of
the Third Circuit also addressed the plaintiffs' argument                       limitations associated with the FDCPA
that “the actions taken by the [ ] defendants ‘constitute a                     commences upon the invocation of the
continuing violation,’ bringing their otherwise time-barred                     underlying foreclosure litigation and is
claims within FDCPA's one-year statute of limitations.” Id.                     not generally saved by the continuing
“However,” the Third Circuit noted, the plaintiffs “offer no                    litigation doctrine.
support for their contention that participation in ongoing
debt collection litigation qualifies as a ‘continuing violation’
of the FDCPA, and we are aware of none.” Id. According             Id. at *11-12 (citing Schaffhauser, 340 Fed.Appx. at 131;
to the Third Circuit, at the time of its decision “the only        Parker v. Nationstar Mortg. LLC, 2015 U.S. Dist. LEXIS
circuit court decision addressing this issue has concluded         145439, 2015 WL 6472223 (W.D. Pa. Oct. 27, 2015); Amelio
precisely the opposite.” Id. (citing Naas, 130 F.3d at 893).       v. McCabe, Weisberg & Conway, P.C., 2015 U.S. Dist. LEXIS
The Court of Appeals went on to state that “[g]enerally, our       98378, 2015 WL 4545299 (W.D. Pa. July 28, 2015)); see
decisions have limited the continuing violation doctrine to the    Rhodes v. US Bank Nat'l Assoc., 2017 U.S. Dist. LEXIS
employment discrimination context.” Id. (citing O'Connor v.        27578, at *4 n.8, 2017 WL 770941 (E.D. Pa. Feb. 28, 2017)
City of Newark, 440 F.3d 125, 127-28 (3d Cir. 2006)). Finally,     (citing Schaffhauser, 340 Fed.Appx. at 131); Living Life v.



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Deutsche Bank Nat'l Trust Co., 2016 U.S. Dist. LEXIS 50742,               for purposes of the FDCPA's statute of limitations.
at *13, 2016 WL 1568175 (E.D. Pa. Apr. 15, 2016) (citing                  See (Doc. 14, p. 4). However, in Udren's brief
Schaffhauser, 340 Fed.Appx. at 130-31).                                   in support it identifies August 26, 2014, as the
                                                                          date upon which Plaintiffs were served with the
In Brown v. Udren Law Offices PC, however, the United                     complaint in the underlying mortgage foreclosure
States District Court for the Eastern District of Pennsylvania            action. (Doc. 22, p. 8). In Ocwen and U.S. Bank's
distinguished the Third Circuit's decision in Schaffhauser.               brief in support, those Defendants state that the
2011 U.S. Dist. LEXIS 102004, 2011 WL 4011428 (E.D. Pa.                   Plaintiffs “were served with the Foreclosure Action
Sept. 9, 2011). The District Court rejected the defendant's               around September 2014, given that they answered
reliance on Schaffhauser in its contention that the plaintiff's           the complaint late in that month and did not assert
“FDCPA claim is barred by the one-year statute of                         any service of process objections.” (Doc. 24, p. 7).
limitations” and that the plaintiff “cannot assert a continuing           Thus, even if the Court were to take a date “around
violation....” Id. at *15-16. The District Court found that the           September 2014,” Plaintiffs' FDCPA claims based
plaintiff's FDCPA claim was not barred “by the statute of                 on the underlying mortgage foreclosure action
limitations because she ... alleged discrete acts that occurred           would be time barred.
within the year before she filed her Complaint.” Id. at *16.
                                                                   2
The District Court noted that “FDCPA claims are predicated                Plaintiffs also allege in their amended complaint
upon improperly bringing debt collection litigation, the one-             that “Defendants violated § 1692f by engaging
year limitations period begins to run–at latest–when the                  in unfair or unconscionable means to collect
debtor is served with process.” Id. (citing Schaffhauser,                 or attempt to collect a debt by the aforesaid
340 Fed.Appx. at 130-31). However, “[c]onduct which                       conduct.” (Doc. 14, p. 6). To the extent that
independently violates the FDCPA, however, is actionable                  Plaintiffs are claiming that Defendants alleged
if it falls within the limitations period, even if undertaken             actions during the underlying mortgage foreclosure
in pursuit of litigation that was filed outside the limitations           action can support a claim under section 1692f of
period.” Brown, 2011 U.S. Dist. LEXIS 102004, at *16, 2011                the FDCPA, that claim is also time barred.
WL 4011428 (citing Jones v. Inv. Retrievers, LLC, 2011 U.S.        While Plaintiffs' FDCPA claims concerning the underlying
Dist. LEXIS 44138, 2011 WL 1565851 (M.D. Pa. Apr. 25,              state foreclosure action are barred by the one-year statute
2011) (Caputo, J.)).                                               of limitations, Plaintiffs request that the Court find that
                                                                   Plaintiffs are entitled to equitable tolling of the FDCPA's
 *7 Here, Plaintiffs allege, in relevant part, that Defendants     statute of limitations. In particular, Plaintiffs argue that the
violated section 1692e(2)(A) of the FDCPA when “[b]oth             statute of limitations for FDCPA claims which require the
defendants[, Ocwen and Udren,] falsely fil[ed] a foreclosure       determination of the ultimate issue already before a state
action to take plaintiff[s'] home when plaintiffs were             court, and thus are subject to federal abstention, be tolled
not contractually in default under the Note for payments           during the pendency of that state court action. See (Doc. 27-1,
due.” (Doc. 14, p. 5). Plaintiffs also allege that “Defendants     pp. 4-9). In essence, Plaintiffs are asking the Court to carve
violated § 1692f by engaging in unfair or unconscionable           out an exception to the FDCPA's statute of limitations based
means to collect or attempt to collect a debt by the aforesaid     on an after the fact determination as to whether abstention
conduct.” (Id. at p. 6). As alleged, the Defendants filed the      would have applied had Plaintiffs filed a federal complaint
complaint in the underlying mortgage foreclosure action on         alleging the FDCPA claims at issue during the pendency of
“June 26, 2014.” (Id. at p. 3). As a result, even using June 26,   the state court proceeding. See (Id.).
2014, 1 as the latest available date for statute of limitations
purposes, Plaintiffs' FDCPA claims based on the filing of          First, there is a question as to whether equitable tolling
the underlying mortgage foreclosure action is barred by the        is available under the present circumstances. Specifically,
                                                                   “[e]quitable tolling is appropriate only when the statutory
FDCPA's one-year statute of limitations. 2
                                                                   time limit is not jurisdictional.” Shivone v. Washington Mut.
                                                                   Bank, F.A., 2008 U.S. Dist. LEXIS 59212, at *4, 2008
1      The Court notes that the allegations of the amended         WL 3154702 (E.D. Pa. Aug. 5, 2008). The “statute of
       complaint provide June 26, 2014, as the latest              limitations clause in the FDCPA falls under the heading,
       possible date upon which the Plaintiff can rely             ‘Jurisdiction,’ and, consequently, there is split authority



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among the circuits regarding whether or not the limitations
period is jurisdictional, meaning that it would not be subject
to equitable tolling.” Rotkiske v. Klemm, 2016 U.S. Dist.                       Plaintiffs never missed a single
LEXIS 32908, at *14, 2016 WL 1021139 (E.D. Pa. Mar.                             payment after relief was granted
15, 2016). Notably, “[t]he Court notes that the Third Circuit                   to defendant US Bank in the
has not had the occasion to address the question whether                        bankruptcy until defendant Ocwen
the FDCPA's statute of limitations is jurisdictional.” Coles                    began returning plaintiffs' payments
v. Zucker Goldberg & Ackerman, 2015 U.S. Dist. LEXIS                            in January 2014 despite Plaintiffs
98628, at *11 n.3, 2015 WL 4578479 (D.N.J. July 29, 2015);                      having copies of checks and
but see Rotkiske, 2016 U.S. Dist. LEXIS 32908, at *14-15,                       bank statements evidencing payment
2016 WL 1021139 (noting that “at least two Third Circuit                        for every month alleged unpaid.
Court of Appeals cases have considered equitable tolling                        Furthermore, Defendants cashed the
arguments related to FDCPA claims.”) (citing Kliesh v. Select                   checks.
Portfolio Serv., Inc., 527 Fed.Appx. 102, 104 (3d Cir. 2013);
Glover v. F.D.I.C., 698 F.3d 139, 151 (3d Cir. 2012)). The
Court need not decide, however, whether the FDCPA's statute         (Doc. 14, pp. 3-4). Notably, Plaintiffs continue by alleging
of limitations is jurisdictional, and thus bars application of      that “[e]ven after the complaint in foreclosure was filed,
equitable tolling to FDCPA claims, because Plaintiffs have          and Plaintiffs continually informed Defendants of their
failed to establish circumstances necessary for the application     mistake, Defendants pursued their meritless claim.” (Id.
of equitable tolling to their FDCPA claims concerning the           at p. 4). These allegations run opposite to any argument
underlying mortgage foreclosure action.                             that Defendants prevented Plaintiffs from ascertaining the
                                                                    viability of their FDCPA claim concerning the underlying
 *8 “The doctrine of equitable tolling is only applicable when      mortgage foreclosure action within that Act's limitations
timely filing was prevented by extraordinary or sufficiently        period. Thus, even if the Court were to find that equitable
inequitable circumstances, and in that regard, equitable tolling    tolling is allowed in FDCPA actions, Plaintiffs' request to
should be sparingly applied by courts.” Coles, 2015 U.S. Dist.      apply equitable tolling to their FDCPA claims concerning
LEXIS 98628, at *10, 2015 WL 4578479 (citing Santos v.              their underlying mortgage foreclosure action is denied.
United States, 559 F.3d 189, 197 (3d Cir. 2009); Parker v.
Pressler & Pressler, LLP, 650 F. Supp. 2d 326, 340 (D.N.J.          Furthermore, Plaintiffs' equitable tolling argument relies on
2009); Glover, 698 F.3d at 151; Seitzinger v. Reading Hosp.         the speculative conclusion that the Court would have found
& Med. Ctr., 165 F.3d 236, 240 (3d Cir. 1999)). “That said,         that this case was subject to federal abstention. Moreover,
a plaintiff may be entitled to equitable tolling if the conduct     had Plaintiffs filed a complaint within the applicable
of the defendant prevented the plaintiff from ascertaining the      statute of limitations, and during the pendency of the state
viability of his or her claim within the limitations period.” Id.   court proceeding, the Court may have issued a stay, as
(citing Kliesh, 419 Fed.Appx. at 271).                              opposed to dismissing the federal case. Also, adopting
                                                                    the mechanism proposed by Plaintiffs most likely would
However, Plaintiffs' amended complaint does not support             not avoid an abstention determination and, thus, conserve
a determination that Plaintiffs were prevented from timely          judicial resources. Rather, as would be the case here if
filing their FDCPA claim by an extraordinary or sufficiently        Plaintiffs' argument was accepted, such a principle would
inequitable circumstance. Further, the amended complaint            just prolong that determination until the defendants move for
shows that Plaintiffs were not prevented from ascertaining          relief under Federal Rule of Civil Procedure 12(b). Since
the viability of their FDCPA claim concerning the underlying        the abstention determination most likely would be made
mortgage foreclosure action within the limitations period by        regardless of when the federal complaint is filed, the Court
any fraud or concealment done by Defendants. Rather, quite          does not find it necessary to prolong such a determination and,
the opposite. The basis of Plaintiffs' claims hinge on their        simultaneously, create a new equitable tolling exception to the
allegation that:                                                    FDCPA's statute of limitations.

                                                                    Additionally, as noted, the accrual date for causes of action
                                                                    concerning prosecutions of underlying state court actions



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concerning a “debt” has been determined to be, at the               defenses in state court pleadings, and [fails] by their own
latest, when the consumer is served with the complaint and          pleaded admissions and filings.” (Doc. 22, p. 8). Udren
summons in that action. See Schaffhauser, 340 Fed.Appx.             continues by arguing that “Plaintiffs cannot show, inter
at 130. If the Court were to adopt the equitable tolling            alia, that Udren acted in a grossly negligent manner or
exception proposed by Plaintiffs, the accrual date in most, if      lacked probable cause because the mortgage default was
not all, cases where it is alleged that the defendant(s) violated   established conclusively by the [Order on U.S. Bank's
the FDCPA by bringing and prosecuting an underlying                 Motion for Relief from Automatic Stay], Confirmed Plan and
action would become meaningless. Specifically, adopting this        their admissions.” (Id. at p. 9). According to Udren, “[t]he
exception would, in effect, create a new accrual date for such      [Order on U.S. Bank's Motion for Relief from Automatic
actions, which would occur when the favorable verdict in the        Stay] and Confirmed Plan conclusively establish that the
underlying case has been rendered.                                  Plaintiffs failed to maintain both post-petition and pre-petition
                                                                    mortgage obligations.” (Id.). Udren argues that “Plaintiffs are
 *9 Based on these reasons, it is determined that Plaintiffs'       bound by these facts.” (Id.).
request for this Court to apply an equitable tolling exception
to the FDCPA's statute of limitations will be denied.               Specifically, Udren contends that the Order on U.S.
Therefore, Plaintiffs' FDCPA claims based upon Plaintiffs'          Bank's Motion for Relief from Automatic Stay
underlying mortgage foreclosure action are barred by the            “conclusively establishes the Plaintiff's post-petition
FDCPA's statute of limitations and, thus, will be dismissed.        mortgage default.” (Id.). Udren states that 11 U.S.C. § 362(d)
Additionally, since amendment of these claims would                 “authorizes the court to grant relief from the automatic stay,
be futile, leave to amend will not be granted. As a                 in the form of an order ‘terminating, annulling, modifying or
result, Plaintiffs' FDCPA claims concerning the underlying          conditioning’ the automatic stay, for ‘cause.’ ” (Id.) (quoting
mortgage foreclosure action will be dismissed with prejudice.       11 U.S.C. § 362(d)). Thus, according to Udren, section 362(d)
Finally, as noted above, Plaintiffs' FDCPA claims based on          requires the moving party to satisfy their initial burden to
the “Response” allegedly filed by Ocwen in the “bankruptcy,”        “demonstrate cause for relief.” (Doc. 22, p. 10) (citing In re
see (Doc. 14, p. 5), will be allowed to proceed.                    Ward, 837 F.2d 124, 128 (3d Cir. 1988)).

                                                                    Additionally, Udren notes, “[a] bankruptcy court's order
  B. State Law Claims                                               granting relief from the automatic stay constitutes a final
                                                                    order.” (Id.) (citing In re Comer, 716, F.2d 168, 172 (3d Cir.
            i. Wrongful Use of Civil Proceedings                    1983)). As a result, Udren concludes, “the Order granting
                                                                    relief to US Bank in the Bankruptcy Action is a final
Plaintiffs also claim that Defendants wrongfully used civil         order.” (Id.). Moreover, Udren notes that “Plaintiffs did not
proceedings against them in violation of Pennsylvania's             (1) oppose” U.S. Bank's motion for relief from automatic
Dragonetti Act, 42 PA. CON. STAT. ANN. §§ 8351-8354.                stay; “(2) respond to the CNR; (3) move to strike or
(Doc. 14, p. 6). As noted, Plaintiffs allege that “Defendants       reconsider the MFR Order; (4) timely appeal the MFR
caused the underlying mortgage foreclosure litigation to            Order; or, (5) move to reinstate the automatic stay.” (Id.)
be instituted against Plaintiffs.” (Id.). Further, Defendants       (citing Doc. 22-2). “Therefore,” Udren concludes, “Plaintiffs
allegedly “commenced, continued and/or prosecuted                   are bound by the MFR Order and Udren may rely on the
underlying litigation ... against the Plaintiffs without probable   MFR Order establishing a default necessitating a foreclosure
cause.” (Id.). According to Plaintiffs, the “underlying             action.” (Id.).
litigation was commenced and continued by Defendants and
against Plaintiffs with malice and/or reckless indifference          *10 Udren also argues that “the Confirmed Plan to cure
to the rights and interest of Plaintiffs.” (Id.). Further, the      the default proposed by Plaintiffs in their bankruptcy and
underlying litigation “was terminated in Plaintiffs' favor, by      subsequently confirmed by Court Order is binding and
way of the entry of an Order of the Court....” (Doc. 14, p. 6).     conclusive upon Plaintiffs.” (Id.) (emphasis in original).
                                                                    Udren contends that Plaintiffs are bound by the Confirmed
Udren argues that Plaintiff's Dragonetti claim “cannot              Plan, “which provide[s] that Plaintiffs owed US Bank
be maintained when Plaintiffs failed to contest a final             pre-petition arrears[footnote omitted] of $14,607.81.” (Id.).
Bankruptcy Court Order, failed to properly assert their             Udren points out that “Plaintiffs admit in their Amended



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Complaint that they only paid ‘$12,600 in pre-petition              to meet its burden of proof because business records were
arrears’ through bankruptcy, leaving a deficiency of                determined to be embedded with hearsay.” (Id.). Merely
$2,007.81.” (Doc. 22, pp. 10-11) (citing Doc. 22-1).                prevailing at trial, according to Udren, “does not support a
Therefore, Udren concludes, “Plaintiffs ... admit they have         Dragonetti claim....” (Id.).
not cured the pre-petition amounts through bankruptcy.” (Id.
at p. 11). As a result, Udren argues that since the “[p]re–and      U.S. Bank and Ocwen likewise move to dismiss Plaintiffs'
post-petition payment defaults are conclusively established         Dragonetti Act claim. (Doc. 24, pp. 8-11). According to U.S.
through the record ... [it] cannot be held liable under             Bank and Ocwen, Plaintiffs' “Dragonetti Act claim fails for
Dragonetti for representing a lender that commence[d] a             two reasons: (1) defendants had probable cause to commence
lawsuit against borrowers with an established default.” (Id.)       the Foreclosure Action; and (2) the [Plaintiffs] failed to allege
(citing Docs. 22-1, 22-3, 22-6).                                    that defendants commenced the Foreclosure Action for an
                                                                    improper purpose.” (Doc. 24, p. 8).
Udren also claims that “judicial estoppel ‘applies to preclude
a party from assuming a position in a legal proceeding              In regards to their first point, U.S. Bank and Ocwen argue
inconsistent with one previously asserted.’ ” (Id.) (quoting        that “[t]he publicly-filed bankruptcy records demonstrate that
Oneida Motor Freight Inc. v. United Jersey Bank, et al., 848        Ocwen and U.S. Bank had probable cause to initiate the
F.2d 414, 419 (3d Cir. 1988)). Here, Udren states that:             Foreclosure Action.” (Id.). Specifically, “[t]he MFR Order
                                                                    and Confirmed Plan establish that the [Plaintiffs] failed
  Plaintiffs confusingly and unartfully state, “Plaintiffs never    to maintain both post-petition and pre-petition mortgage
  missed a single payment after relief was granted to               obligations.” (Id. at p. 9). According to U.S. Bank and Ocwen,
  defendant US Bank in the bankruptcy until defendant               “[t]he MFR Order, in particular, establishes [Plaintiffs] post-
  Ocwen began returning plaintiffs' payments in January             petition mortgage default.” (Id.). U.S. Bank and Ocwen
  2014 despite [sic] Plaintiffs having copies of checks and         state that “[t]he Bankruptcy Code authorizes the court to
  bank statements evidencing payment for every month                grant relief from the automatic stay, in the form of an
  alleged unpaid.”                                                  order ‘terminating, annulling, modifying or conditioning’ the
                                                                    automatic stay, for ‘cause.’ ” (Id.) (quoting 11 U.S.C. §
(Id.) (citing Doc. 22-1).
                                                                    362(d)). “Under § 326(d),” U.S. Bank and Ocwen assert,
                                                                    “the party seeking relief from the stay has an initial burden
Udren continues by contending that Plaintiffs' wrongful use
                                                                    to demonstrate cause for relief.” (Id.) (citing In re Ward,
of civil proceedings claim should be dismissed because even
                                                                    837 F.2d at 128). Additionally, U.S. Bank and Ocwen state
if the Court assumes “the absence of judicial admission of
                                                                    that “[a] bankruptcy court's order granting relief from the
default by Plaintiffs in the bankruptcy proceeding, Plaintiffs'
                                                                    automatic stay constitutes a final order.” (Id.) (citing In re
failure to effectively raise or plead defenses in the Foreclosure
                                                                    Comer, 716 F.2d at 172). U.S. Bank and Ocwen claim that
Action further buffers Udren from liability.” (Doc. 22,
                                                                    Plaintiffs “did not oppose the MFR or challenge the MFR
p. 12). According to Udren, Plaintiffs did not plead any
                                                                    Order once it was entered.” (Doc. 24, p. 9). “Thus, Ocwen
facts in the foreclosure action “which would have placed
                                                                    and U.S. Bank appropriately relied on the MFR Order to
Udren on notice that Plaintiffs' claim of payment demanded
                                                                    commence the Foreclosure Action.” (Id.).
investigation.” (Id.). Udren argues that in Pennsylvania
the defense of payment “must be pled in New Matter
                                                                     *11 In regard to the “Confirmed Plan,” U.S. Bank and
or waived.” (Id.) (citing Pa.R.C.P. 1030(a), (b); Pa.R.C.P.
                                                                    Ocwen argue that it “binds” Plaintiffs. (Id.). According
1033(a)). Udren claims that “Plaintiffs waived their claim of
                                                                    to U.S. Bank and Ocwen, “[a] confirmed plan constitutes
payment for failure to raise it as a defense in the foreclosure
                                                                    a new contract between the debtor and creditors.” (Id.)
and cannot establish that Udren's primary purpose for which
                                                                    (citing In re Pabilla, 379 B.R. 643, 663 (Bankr. S.D. Tex.
the proceedings were brought was not ‘that of securing the
                                                                    2007)). Moreover, U.S. Bank and Ocwen state that “[t]he
proper discovery, joinder of parties or adjudication of the
                                                                    confirmation order judicially validates the plan as the new
claim on which the proceedings were based.’ ” (Id.).
                                                                    ‘contract’ between the debtor and the creditors whose rights
                                                                    are addressed in the plan, with the plan either supplementing
Finally, Udren argues that “Plaintiffs prevailed at trial not
                                                                    or superseding the prepetition legal relationship between the
because the Plaintiffs proved they were ‘current’ or the
                                                                    debtor and the creditors.” (Id.) (citing In re McDonald, 336
foreclosure was wrongful; rather, because US Bank failed


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B.R. 380, 383 (Bankr. N.D. Ill. 2006); In re Turek, 346 B.R.           to Plaintiffs, “[n]otwithstanding the procedurally defective
350, 354-55 (Bankr. M.D. Pa. 2006); In re Miller, 325 B.R.             nature of the Exhibits, Movant's arguments based thereon
539, 543 (Bankr. W.D. Pa. 2005); In re Bryant, 323 B.R.                are substantively unavailing.” (Id.). In particular, Plaintiffs
635, 639 (Bankr. E.D. Pa. 2005)). U.S. Bank and Ocwen                  claim that the “Exhibits are irrelevant to a determination
continue by stating that “[s]ection 1327(a) of the Bankruptcy          of Plaintiffs' Dragonetti claim premised on the continued
Code provides: ‘The provisions of a confirmed plan bind                prosecution of the foreclosure action without probable
the debtor and each creditor.’ ” (Id.). As a result, U.S. Bank         cause....” (Id.).
and Ocwen conclude, Plaintiffs are “bound by the terms of
the Confirmed Plan, which provides that they owed U.S.                 Plaintiffs then address the argument advanced by U.S. Bank
Bank and Ocwen pre-petition arrears of $14,607.81.” (Id.).             and Ocwen that the bankruptcy filings, specifically the
As U.S. Bank and Ocwen point out, Plaintiffs “admit in their           Confirmed Plan, bar the Dragonetti claim. (Id. at pp. 10-11).
Amended Complaint that they only paid ‘$12.600 in pre-                 According to Plaintiffs, the “Plan is irrelevant to determining
petition arrears’ through bankruptcy, leaving a deficiency of          any post-petition default by plaintiffs to support probable
$2,007.81.” (Doc. 24, pp. 9-10). Consequently, U.S. Bank and           cause to prosecute the 2014 foreclosure action by defendants
Ocwen conclude that “[t]he fact on which [they] based the              three (3) years later.” (Id. at p. 10).
foreclosure action were not merely ‘reasonably believed’ by
them, those facts were established by the MFR Order and                Defendants, in their joint reply addressing Plaintiffs'
Confirmed Plan.” (Id. at p. 10). Therefore, U.S. Bank and              Dragonetti claim, first contend that the exhibits they attached
Ocwen argue that they had “probable cause to assert that the           to their respective filings are properly before the Court
[Plaintiffs] had defaulted and to initiate foreclosure against         because “a court may also consider public documents
them, and thus the Dragonetti Act claim must fail.” (Id.).             and prior judicial proceedings in evaluating a motion
                                                                       to dismiss” and Plaintiffs “expressly reference many of
Additioanlly, U.S. Bank and Ocwen seek dismissal of                    the documents attached to Defendants' motions in their
Plaintiff's Dragonetti claim because Plaintiffs failed to allege       amended complaint.” (Doc. 28, p. 5). Defendants then
that the primary purpose for the foreclosure action was for            argue that Plaintiffs' “miss the point” on the impact of the
a purpose other than adjudicating the foreclosure action.              “MFR Order.” (Id. at pp. 5-6). In particular, Defendants
(Id.). Specifically, U.S. Bank and Ocwen argue that the                state that “not only did the MFR Order establish the
Plaintiffs do “not allege any facts, or even legal conclusions,        [Plaintiffs'] default, but that it gave Defendants probable
regarding the defendants' alleged primary purpose in bringing          cause to file the Foreclosure Action.” (Id. at p. 6). “After
the Foreclosure Action.” (Id.). While U.S. Bank and Ocwen              all,” Defendants continue, “the motion for relief from the
acknowledge that Plaintiffs do allege that Defendants “did             automatic stay alleged that [Plaintiffs] had post-petition
not properly investigate their claims before asserting them,”          arrears, and [Plaintiffs], who were represented by counsel
they claim that Plaintiffs “do not state that [U.S. Bank and           in the bankruptcy action, did not contest that point, and
Ocwen] initiated the Foreclosure Action for an improper                allowed the MFR Order to be entered.” (Id.). “In short, when
purpose.” (Id.). According to U.S. Bank and Ocwen, “[t]he              Defendants told the bankruptcy court that [Plaintiffs] were
gist of the claim is that defendants were incorrect to assert          behind in their mortgage payments, [Plaintiffs] stayed silent,
[Plaintiffs] were in default, not that defendants initiated the        allowing the bankruptcy judge to enter a final order that
Foreclosure Action for a purpose other than the relief sought          expressly permitted the Foreclosure Action to be filed.” (Id.).
on the face of their pleadings.” (Doc. 24, p. 10).                     As a result, Defendants argue, Plaintiffs' Dragonetti claim
                                                                       should be barred because the foreclosure action was brought
Plaintiffs respond by arguing that “[n]o pleading filed                for a proper purpose. (Id.).
or ruling entered in either Plaintiffs' Bankruptcy or the
Foreclosure Action substantively bars Plaintiffs' Dragonetti            *12 Turning first to the exhibits attached to Defendants'
claim....” (Doc. 27-1, p. 9). Initially, Plaintiff claims that since   respective briefs in support, it should be noted that “[t]o
“none of [Defendants'] Exhibits A through J are attached               decide a motion to dismiss, courts generally consider only
by plaintiffs as Exhibits to their complaint” and the motions          the allegations contained in the complaint, exhibits attached
are brought under Federal Rule of Civil Procedure 12(b)(6),            to the complaint and matters of public record.” Schmidt v.
all of Defendants' “exhibits are procedurally defective and            Skolas, 770 F.3d 241, 249 (3d Cir. 2014). Said differently,
should be stricken.” (Id. at p. 10). Additionally, according           the United States Court of Appeals for the Third Circuit



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has stated that “[i]n evaluating a motion to dismiss, we may       plaintiff nevertheless has notice that the document will be at
consider documents that are attached to or submitted with the      issue.” Hughes v. UPS, 639 Fed.Appx. 99, 103 (3d Cir. 2016)
complaint, [Pryor v. Nat'l Collegiate Athletic Ass'n, 288 F.3d     (non-binding precedent) (citing Schmidt, 770 F.3d at 249).
548, 560 (3d Cir. 2002) ], and any ‘matters incorporated by        “Indeed, failure to consider such documents would raise the
reference or integral to the claim, items subject to judicial      countervailing concern that ‘a plaintiff with a legally deficient
notice, matters of public record, orders, [and] items appearing    claim could survive a motion to dismiss simply by failing
in the record of the case.’ ” Buck v. Hampton Twp. Sch.            to attach a dispositive document on which it relied.’ ” Id.
Dist., 452 F.3d 256, 260 (3d Cir. 2006) (second alteration in      (quoting Pension Benefit, 998 F.2d at 1196).
original) (quoting 5B CHARLES A. WRIGHT & ARTHUR
R. MILLER, Federal Practice & Procedure § 1357 (3d ed.             Defendants have attempted to incorporate a number of
2004)); see Pension Ben. Guar. Corp. v. White Consol. Indus.,      documents into the motion to dismiss record which they
Inc., 998 F.2d 1192, 1196 (3d Cir. 1993) (“[a] court may           contend are relevant to Plaintiffs' Dragonetti claim. See
consider an undisputedly authentic document that a defendant       (Doc. 22); (Doc. 24). First, of those documents produced
attaches as an exhibit to a motion to dismiss if the plaintiff's   by Defendants for purposes of their respective motions to
claim are based on the document.”). “A document forms the          dismiss, Plaintiffs specifically cited to the following in their
basis of a claim if the document is ‘integral to or explicitly     amended complaint: 1) U.S. Bank's motion for relief from
relied upon in the complaint.’ ” Sands v. McCormick, 502           stay filed on July 18, 2013, in the Plaintiffs' action in the
F.3d 263, 268 (3d Cir. 2007) (quoting In re Burlington Coat        United States Bankruptcy Court for the Middle District of
Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997)).          Pennsylvania; 2) an August 8, 2013 order issued by the
Additionally, a court “may take judicial notice of the contents    Bankruptcy Court; 3) Defendants' June 26, 2014 foreclosure
of another Court's docket.” Orabi v. Attorney Gen. of the U.S.,    complaint filed against Plaintiffs in the Court of Common
738 F.3d 535, 537 n.1 (3d Cir. 2014). Moreover, “[t]aking          Pleas of Wayne County, Pennsylvania; 4) the March 13,
judicial notice of the existence of other proceedings does         2015 verdict rendered in the underlying mortgage foreclosure
not convert a motion to dismiss into a motion for summary          action; 5) Plaintiffs' discharge received in the bankruptcy
judgment as long as the court does not take judicial notice        action for their payment of $12,600 in pre-petition arrears
of those proceedings to find facts.” In re Able Labs. Sec.         to Ocwen; and 6) Ocwen's October 7, 2015 response filed
Litig., 2008 U.S. Dist. LEXIS 23538, at *62 n.21, 2008 WL          in the bankruptcy action, which alleged that Plaintiffs' had
1967509 (D.N.J. Mar. 24, 2008) (citing S. Cross Overseas           a post-petition mortgage loan default from December 1,
Agencies, Inc. v. Wah Kwong Shipping Grp. Ltd., 181 F.3d           2013 through October 1, 2015 in the total amount of
410, 426 (3d Cir. 1999); Global Network Comm. Inc. v. City         $36,851.75. See (Doc. 14, pp. 3-4). Plaintiffs' discussion
of New York, 458 F.3d 150, 157 (2d Cir. 2006)).                    of these documents establishes that they were at the very
                                                                   least aware of their existence at the time they filed their
“The rationale underlying this exception is that the primary       amended complaint. Moreover, if this Court did not consider
problem raised by looking to documents outside the                 the aforementioned documents invoked by Plaintiffs' in their
complaint–lack of notice to the plaintiff–is dissipated ‘where     amended complaint such an action would “raise the concerns
plaintiff has actual notice ... and has relied upon these          addressed in Pension Benefit[ ], 998 F2d at 1196.” Hughes,
documents in framing the complaint.’ ” In re Burlington Coat       2016 U.S. App. LEXIS 1682, at *8. Finally, there is no dispute
Factory Sec. Litig., 114 F.3d at 1426 (quoting Watterson v.        as to the authenticity of these documents Defendants are
Page, 987 F.2d 1, 3-4 (1st Cir. 1993); citing San Leandro          attempting to incorporate into the motion to dismiss record.
Emergency Med. Grp. Profit Sharing Plan v. Philip Morris           See (Doc. 27-1, pp. 9-10).
Cos., Inc., 75 F.3d 801, 808-09 (2d Cir. 1996)). “What the
rule seeks to prevent is the situation in which a plaintiff is      *13 Additionally, the pertinent exhibits at issue were filed
able to maintain a claim of fraud by extracting an isolated        in judicial proceedings. See (Docs. 22-4, 22-6, 22-7, 24-3,
statement from a document and placing it in the complaint,         24-4, 24-5); In re Bainbridge, No. 10-9019 (Bankr. M.D.
even though if the statement were examined in the full context     Pa. filed Nov. 4, 2010). As discussed above, “[t]o resolve a
of the document, it would be clear that the statement was          12(b)(6) motion, a court may properly look at public records,
not fraudulent.” Id. (citing Shaw v. Digital Equip. Corp., 82      including judicial proceedings, in addition to the allegations
F.3d 1194, 1220 (1st Cir. 1996)). Thus. “[w]hen a plaintiff        in the complaint.” S. Cross Overseas Agencies, 181 F.3d at
relies on a document without attaching it to the complaint, the    426 (citing City of Pittsburgh v. W. Penn Power Co., 147



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F.3d 256, 259 (3d Cir. 1998); Pension Benefit, 998 F.2d at
1196; Iacaponi v. New Amsterdam Cas. Co., 379 F.2d 311,         The Bobrick Corp. v. Santana Prods., Inc., 422 Fed.Appx.
311-12 (3d Cir. 1967); In re Woodmar Realty Co., 294 F.2d       84, 86 (3d Cir. 2011) (citing 42 PA. CONS. STAT. ANN.
785, 788 (7th Cir. 1961); DiNicola v. DiPaolo, 945 F. Supp.     §§ 8351(a), 8352; McNeil v. Jordan, 586 Pa. 413 (2006));
848, 855 n.2 (W.D. Pa. 1996); Kithcart v. Metro. Life Ins.      see Schmidt, 217 Fed.Appx. 153, 155 (3d Cir. 2007) (“To
Co., 62 F. Supp. 93, 94 (W.D. Mo. 1944)). Notably, “if facts    prevail on a Dragonetti Act claim, a plaintiff must prove
that are alleged to be true in a complaint are contradicted     that ‘a person who [took] part in the procurement, initiation
by facts that can be judicially noticed, the contradicted       or continuation of civil proceedings against another.... (1)
facts in the complaint are not to be deemed as true upon        [acted] in a grossly negligent manner or without probable
consideration of the motion to dismiss.” Smith v. Litton Loan   cause and primarily for [an improper] purpose ...; and (2) the
Servicing, LP, 2005 U.S. Dist. LEXIS 1815, at *18, 2005         proceedings ... terminated in favor of the person against whom
WL 289927 (E.D. Pa. Feb. 4, 2005) (citing 5A WRIGHT             they [were] brought.’ ”) (quoting 42 PA. CON. STAT. ANN.
& MILLER, FEDERAL PRACTICE AND PROCEDURE, §                     §§ 8351-8354). The Dragonetti Act defines “probable cause”
1364 (2004)).                                                   as follows:


Therefore, based on the foregoing, it is determined
that the aforementioned exhibits attached to Defendants                     A person who takes part in the
respective briefs in support will be considered in reaching                 procurement, initiation or continuation
a determination concerning the instant motions to dismiss                   of civil proceedings against another
filed pursuant to Federal Rule of Civil Procedure 12(b)(6)                  has probable cause for doing so if he
challenging, inter alia, Plaintiffs' Dragonetti claims. Thus,               reasonable believes in the existence
with that in mind, the Court will now turn to the merits of                 of the facts upon which the claim
the respective argument advanced by Defendants concerning                   is based, and either (1) reasonably
Plaintiffs' Dragonetti claims.                                              believes that under those facts the
                                                                            claim may be valid under the existing
“The Dragonetti Act codifies the common law tort of                         or developing law; (2) believes to this
wrongful use of civil proceedings in Pennsylvania.” Schmidt                 effect in reliance upon the advice of
v. Currie, 217 Fed.Appx. 153, 155 (3d Cir. 2007) (citing                    counsel, sought in good faith and given
42 PA. CON. STAT. ANN. §§ 8351-8354). “Dragonetti Act                       after full disclosure of all relevant facts
claims may be brought against parties and the attorneys that                within his knowledge and information;
represent them.” Id. (citing 42 PA. CON. STAT. ANN. §§                      or (3) believes as an attorney of record,
8351-8354). The United States Court of Appeals for the Third                in good faith that his procurement,
Circuit has stated that:                                                    initiation or continuation of a civil
                                                                            cause is not intended to merely harass
                                                                            or maliciously injure the opposite
            A Dragonetti Act claim for wrongful                             party.
            use of civil proceedings has five
            elements, that: (1) the current plaintiff
            prevailed in the underlying actions;                 *14 42 PA. CON. STAT. ANN. § 8352. “The existence of
            (2) the defendants acted in a grossly               probable cause does not automatically defeat a Dragonetti Act
            negligent manner or without probable                claim” because gross negligence can also serve as a basis for
            cause; (3) the defendant had an                     liability in a Dragonetti Act claim. Peek v. Whittaker, 2014
            improper purpose in pursuing the                    U.S. Dist. LEXIS 70461, at *15-16, 2014 WL 2154965 (W.D.
            underlying action; (4) the proceedings              Pa. May 22, 2014) (citing Buchleitner v. Perer, 794 A.2d 366,
            terminated in favor of the plaintiff; and           377-78 (Pa. Super. Ct. 2002)). “In the context of a Dragonetti
            (5) the plaintiff was harmed.                       action, Pennsylvania courts have defined gross negligence to
                                                                mean the ‘want of scant care’ or ‘lack of slight diligence or
                                                                care, or a conscious, voluntary act or omission in reckless
                                                                disregard of a legal duty and of the consequences to another



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party, who may typically recover exemplary damages.’ ”              to grant relief from the automatic stay because of the “failure
Schmidt v. Currie, 470 F. Supp. 2d 477, 480 (E.D. Pa. 2005)         of the Debtor to file an Answer or otherwise plead as directed
(quoting Hart v. O'Malley, 781 A.2d 1211, 1218 (Pa. Super.          by the Court....” (Doc. 22-6). As a result, even if the Order
Ct. 2001)).                                                         issued by the Bankruptcy Court had preclusive effect on
                                                                    the instant Dragonetti claim, the Order does not provide
The United States Court of Appeals for the Third Circuit has        enough for this Court to say as a matter of law that the
stated that “a party seeking redress under [the] Dragonetti         Order established “probable cause” to bring the underlying
[Act] bears a heavy burden.” U.S. Express Lines Ltd. v.             mortgage foreclosure action, much less to continue that
Higgins, 281 F.3d 383, 394 (3d Cir. 2002). Specifically,            action. Therefore, the Court will deny Defendants' respective
the plaintiff bringing a Dragonetti Act claim bears such a          motions to dismiss to the extent that they argue Plaintiffs'
burden “because the plaintiff need not only demonstrate either      Dragonetti claim should be dismissed due to the Bankruptcy
probable cause or gross negligence, but must also prove the         Court's order dated August 6, 2013.
underlying action was filed for an improper purpose.” Currie,
217 Fed.Appx. at 155 (citing Broadwater v. Senter, 725 A.2d          *15 As for Defendants' respective arguments that Plaintiffs'
779, 784 (Pa. Super. Ct. 1999)). However, “[a]n improper            Dragonetti claims should be dismissed because of the
purpose may ... be inferred if the action is filed without          Confirmed Plan dated April 15, 2011, see (Doc. 22, pp.
probable cause.” Peek, 2014 U.S. Dist. LEXIS 70461, at              10-11); (Doc. 24, pp. 9-10), those contentions also are without
*22 n.8, 2014 WL 2154965 (citing Logan v. Salem Baptist             merit. As stated, Defendants argue that Plaintiffs' admission
Church of Jenkintown, 2010 U.S. Dist. LEXIS 86916 (E.D.             that they only paid $12,600.00 of the “$14,607.81” pre-
Pa. Aug. 24, 2010)); see Perelman v. Perelman, 125 A.3d             petition arrears establishes a deficiency of approximately
1259, 1264 (Pa. Super. 2015) (quoting Gentzler v. Atlee, 660        $2,000.00. (Id.). This deficiency, according to Defendants,
A.2d 1378, 1385 (1995)). Said differently, the Pennsylvania         shows that Plaintiffs admit that “they have not cured the
Superior Court has stated that “an improper purpose ‘may            pre-petition amounts through bankruptcy.” (Doc. 22, p. 11);
be inferred where the action is filed without justification.’ ”     (Doc. 24, pp. 9-10). However, what the Defendants leave
Regent Ins. Co. v. Strausser Enters., 902 F. Supp. 2d 628,          out of this argument is a mention of the Plaintiffs' allegation
640 n.34 (E.D. Pa. 2012) (quoting Broadwater, 725 A.2d at           concerning the Bankruptcy Court's October 7, 2015 discharge
784). “Thus, a claim for wrongful use of civil proceedings          of Plaintiffs' “chapter 13 bankruptcy.” See (Doc. 14, p.
will lie ‘if the trier of fact could reasonably conclude that the   4). Specifically, as alleged by Plaintiffs in their amended
defendant initiated the underlying lawsuit without probable         complaint, on October 7, 2015, they “received a discharge of
cause.’ ” Perelman, 125 A.3d at 1264 (quoting Gentzler, 660         their chapter 13 bankruptcy wherein they had paid $12,600
A.2d at 1385).                                                      in pre-petition arrears to Ocwen and its predecessor servicer,
                                                                    Litton.” 3 (Id.). Moreover, Plaintiffs allege that they “never
Turning first to Defendants respective arguments concerning         missed a single payment after relief was granted to defendant
the impact of the Bankruptcy Court's grant of relief from           US Bank in the bankruptcy until defendant began returning
automatic stay, it is determined that these contentions are         plaintiffs' payments in January 2014 despite Plaintiffs having
without merit. Relief from the automatic stay in a bankruptcy       copies of checks and bank statements evidencing payments
action is governed by 11 U.S.C. § 362(d). Pursuant to               for every month alleged unpaid.” (Id. at pp. 4-5). Thus, taking
section 362(d)(1), relief from the stay shall be granted            these allegations as true and construing all inferences in
“for cause, including the lack of adequate protection of            the light most favorable to the non-moving party, Plaintiffs'
an interest in property of such party in interest.” In re           allegation that they paid “$12,600” in pre-petition arrears
Stone Res., Inc., 482 Fed.Appx. 719, 722 (3d Cir. 2012)             does not establish, as a matter of law, that Plaintiffs' have
(quoting 11 U.S.C. § 362(d)(1)). “ ‘Cause’ is not a defined         failed to state a Dragonetti claim upon which relief may be
term in the Bankruptcy Code....” 1 BANKRUPTCY LAW                   granted. Therefore, Defendants' respective arguments based
MANUAL § 7:53 (5th ed.). “[B]ecause § 362(d)(1) does                upon the Confirmed Plan issued on April 15, 2011, will be
not define ‘cause,’ bankruptcy courts have the discretion to        denied.
consider what constitutes cause based on the totality of the
circumstances.” In re Flintkote Co., 533 B.R. 887, 894 (D.          3      “The discharge of a debt operates as an injunction
Del. 2015) (citing In re Wilson, 116 F.3d 87, 90 (3d Cir.
                                                                           against efforts to collect the discharged debt, and a
1997)). Here, the Bankruptcy Court found sufficient “cause”
                                                                           discharge voids any judgment at any time obtained,


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        to the extent that such judgment is a determination         Nat'l Bank, 282 A.2d 335, 340 (1971)). Clearly, an element
        of the personal liability of the debtor with respect to     of the mortgage foreclosure action in Pennsylvania is the
        any debt discharged.” 8B C.J.S. BANKRUPTCY §                establishment that the defendant defaulted on the mortgage
        1075 (March 2017).                                          obligation. Cunningham, 714 A.2d at 1057. Thus, by brining
                                                                    the mortgage foreclosure suit, Defendants would have been
As noted, Udren also claims that Plaintiffs have failed to state
                                                                    on notice that an investigation into Plaintiffs' payments on
claim under Dragonetti because judicial estoppel applies. See
                                                                    the obligation in question would have been necessary to
(Doc. 22, pp. 11-12). However, this claim also fails. “Judicial
                                                                    establish, in part, Defendants' entitlement to judgment on
estoppel is a fact-specific, equitable doctrine, applied at
                                                                    that claim. As a result, the Court rejects Udren's contention
courts' discretion.” In re Kane, 628 F.3d 631, 638 (3d Cir.
                                                                    that Plaintiffs' failure to “effectively raise or plead defenses
2010). “It rests on the basic notion that, “ ‘absent any
                                                                    in the Foreclosure Action further buffers [it] from liability”
good explanation, a party should not be allowed to gain
                                                                    because Plaintiffs' payment on, or lack thereof, the mortgage
an advantage by litigation on one theory, and then seek an
                                                                    obligation was a central factual question in the underlying
inconsistent advantage by pursuing an incompatible theory.” ’
                                                                    foreclosure action. See (Doc. 22, p. 12). Such a conclusion is
” Semper v. Gomez, 747 F.3d 229, 247 (3d Cir. 2014) (quoting
In re Kane, 628 F.3d at 638).                                       supported by the Court of Common Pleas entering judgment
                                                                    in favor of Plaintiffs because their default was not established
                                                                    by the evidence presented at trial. (Doc. 24-7). As a result,
Importantly, Udren has not identified two (2) contrary
                                                                    Udren's motion to dismiss on this ground will be denied.
positions taken by Plaintiffs which would allow for the
application of this equitable doctrine. See (Doc. 22,
                                                                     *16 As for Defendants U.S. Bank and Ocwen's claim
pp. 11-12). Further, “ ‘judicial estoppel is generally not
                                                                    that Plaintiffs have failed to allege that Ocwen or U.S.
appropriate where the defending party did not convince the
                                                                    Bank filed the underlying mortgage foreclosure action for
[court] to accept its earlier position.’ ” Semper, 747 F.3d
                                                                    an improper purpose, that claims is also without merit. (Id.
at 249 (alterations in original) (quoting G-Holdings, Inc. v.
                                                                    at pp. 10-11). “An improper purpose is ‘a purpose other
Reliance Ins. Co., 586 F.3d 247, 262 (3d Cir. 2009)); see
                                                                    than that of securing the proper discovery, joinder of parties
also Montrose Med. Grp. Participating Sav. Plan v. Bulger,
                                                                    or adjudication of the claim in which the proceedings are
243 F.3d 773, 781 (3d Cir. 2001). Udren has not established
                                                                    based.’ ” Montgomery v. Midland Credit Mgmt., 2014 U.S.
that Plaintiffs' were successful in advancing their contrary
                                                                    Dist. LEXIS 100327, at *22, 2014 WL 3563198 (E.D.
position. See (Doc. 22, pp. 11-12). Rather, as stated by
                                                                    Pa. June 19, 2014) (quoting 42 Pa. C.S.A. § 8351(a)(1)).
Udren, “Plaintiffs prevailed at trial not because the Plaintiffs
                                                                    However, “a claim for wrongful use of civil proceedings will
proved they were ‘current’ or the foreclosure was wrongful;
                                                                    lie ‘if the trier of fact could reasonably conclude that the
rather, because US Bank failed to meet its burden of proof
                                                                    defendant initiated the underlying lawsuit without probable
because business records were determined to be embedded
                                                                    cause.’ ” Perelman, 125 A.3d at 1264 (quoting Gentzler,
with hearsay.” (Id. at p. 12). As a result, that factor also
                                                                    660 A.2d at 1385). Here, Plaintiffs allege that “[e]ven
supports the finding that Udren's judicial estoppel claim lacks
                                                                    after the complaint in foreclosure was filed, and Plaintiffs
merit.
                                                                    continually informed Defendants of their mistake, Defendants
                                                                    pursued their meritless claim.” (Doc. 14, p. 4). They also
Udren's claim that Plaintiffs failed to “effectively raise or
                                                                    claim that Defendants “initiated the foreclosure litigation
plead defenses in the Foreclosure Action further buffers
                                                                    against Plaintiffs without investigating the claimed default
[it] from liability,” (Id.), also does not establish that its
                                                                    whatsoever.” (Id.). Further, Plaintiffs allege that they “never
entitled to dismissal of Plaintiffs' Dragonetti claim. According
                                                                    missed a single payment after relief was granted to defendant
to Udren, “[t]here are no facts pleaded of record in the
                                                                    US Bank in the bankruptcy until defendant began returning
foreclosure which would have placed Udren on notice that
                                                                    plaintiffs' payments in January 2014 despite Plaintiffs having
Plaintiffs' claim of payment demanded investigation.” (Id.).
                                                                    copies of checks and bank statements evidencing payments
However, “[i]n an action for mortgage foreclosure, the entry
                                                                    for every month alleged unpaid.” (Id. at pp. 4-5). Taking
of summary judgment is proper if the mortgagors admit that
                                                                    these allegations as true and every inference in favor of the
the mortgage is in default, that they have failed to pay interest
                                                                    Plaintiffs, it is at least plausible that Plaintiffs can show, after
on the obligation, and that the recorded mortgage is in the
                                                                    discovery, that Defendants Ocwen and U.S. Bank filed the
specified amount.” Cunningham v. McWilliams, 714 A.2d
                                                                    underlying mortgage foreclosure action without justification
1054, 1057 (Pa. Super. Ct. 1998) (citing Landau v. W. Pa.



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and, thus, for an improper purpose. 42 Pa. C.S. § 8354(4); see
Perelman, 125 A.3d at 1264 (quoting Gentzler, 660 A.2d at
1385); Regent Ins. Co., 902 F. Supp. 2d at 640 n.34 (quoting                   (a) Represented that an accurate
Broadwater, 725 A.2d at 784); Ciolli v. Iravani, 625 F. Supp.                  accounting of plaintiffs' loan had been
2d 276, 295 (E.D. Pa. 2009) (Noting that an improper purpose                   made and reviewed thereafter in the
can be inferred where an action is filed without justification                 course of the foreclosure; (b) By
and “whether an alleged purpose is improper is an issue for                    the filing of the underlying action
the jury to decide.”) (quoting Broadwater, 725 A.2d at 784;                    represented that plaintiffs were in
citing Bannar v. Miller, 701 A.2d 242, 249 (Pa. Super. Ct.                     default under the terms of the Note
1997)); Gigli v. Palisades Collection, L.L.C., 2008 U.S. Dist.                 and Mortgage; (c) By the filing of the
LEXIS 62684, at *46-47, 2008 WL 3853295 (M.D. Pa. Aug.                         underlying litigation represented that
14, 2008) (Vanaskie, J.) (citing Buchleitner v. Perer, 794 A.2d                defendants were entitled to foreclose
366, 377 (Pa. Super. Ct. 2002)); but see Bobrick Corp. v.                      and sell plaintiffs' home at sheriff's
Santana Prods., Inc., 698 F. Supp. 2d 479, 492 (M.D. Pa.                       sale without first properly accounting
2010) (Vanaskie, J.) (“The court decides the existence of                      for plaintiffs' payments under the
probable cause ... or improper purpose as a matter of law when                 loan; (d) By the filing of the
the facts are not in dispute.”) (citing Schmidt, 217 Fed.Appx.                 underlying litigation represented that
at 155). Consequently, U.S. Bank and Ocwen's motion to                         the underlying foreclosure was lawful.
dismiss on this ground will be denied.

Based on the foregoing, Plaintiffs' Dragonetti claim has          (Id.). Plaintiffs allege that “[i]t is unreasonable to conclude
survived all challenges raised by Defendants. Therefore,          that a national bank like US Bank and a national mortgage
those portions of Defendants' respective motions seeking          servicer like Ocwen does not intend for its customers to
dismissal of Plaintiffs' Dragonetti claim will be denied.         rely upon its communications about their account–especially
                                                                  when,” according to Plaintiffs, “the communications involve
                                                                  seeking to sell plaintiffs' home as in the underlying action
                     ii. UTPCPL Claim                             and the defendants collectively fail to acknowledge or review
                                                                  their errors and instead simply ratify their continued wrongful
Plaintiffs also allege that Defendants violated the UTPCPL.       conduct as in this matter.” (Id.). Plaintiffs claim that they
(Doc. 14, pp. 6-8). According to Plaintiffs:                      “reasonably relied upon the material acts and actions of
                                                                  defendants as exemplified by their retaining counsel to
                                                                  defendant the underlying litigation.” (Doc. 14, p. 7). Plaintiffs
            US Bank, through authorized agents                    state that:
            and employees but not limited to
            co-defendant Ocwen, and Ocwen,
            through authorized agents and                                      [b]ut for defendants and their
            employees including but not limited                                respective agents' and employees'
            to co-defendant Udren failed to state                              acts and omissions and disregard for
            material facts or otherwise misstated,                             its won records reflecting default
            misrepresented, or omitted the true                                by plaintiffs when plaintiffs' regular
            facts concerning or related to the status                          payments were cashed by Ocwen for
            of the Loan that tended to deceive and/                            nearly a year after a date of default
            or did in fact deceive plaintiffs....                              alleged in the underlying litigation
                                                                               resulting in conflicting and otherwise
                                                                               incorrect accounting of plaintiffs' loan,
(Doc. 14, p. 7). Plaintiffs claim that Defendants' unfair or                   plaintiffs would not have sustained any
deceptive acts include, but are not limited to, the following:                 damages and losses.




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                                                                  Bank of Am., N.A., 783 F.3d 168, 180 (3d Cir. 2015) (quoting
*17 (Id. at p. 8).                                                73 P.S. § 201-9.2(a); citing Yocca v. Pittsburgh Steelers
                                                                  Sports, Inc., 854 A.2d 425, 438 (Pa. 2004)). Furthermore, a
Based on the foregoing, Plaintiffs claim that Defendants          plaintiff bringing a claim under the UTPCPL “ ‘ must show
violated section 201-3 of the UTPCPL. (Id.). Specifically,        that he justifiably relied on the defendant's wrongful conduct
Plaintiffs allege that Defendants violated section 201-3 when     or representation and that he suffered harm as a result of that
they “engaged in fraudulent or deceptive conduct which            reliance....’ ” Hunt v. U.S. Tobacco Co., 538 F.3d 217, 224
created a likelihood of confusion or of misunderstanding          (3d Cir. 2008) (first alteration in original) (quoting Yocca, 854
as to a default under the terms of the Note and mortgage          A.2d at 438); see Tran v. Metro. Life Ins. Co., 408 F.3d 130,
entitling defendants to file the foreclosure.” (Id.) (citing 73   140 (3d Cir. 2005); see also Mohney v. Forney, 93 Fed.Appx.
P.S. § 201-2(4)(xxi)). Also, Plaintiffs allege that Defendants    391, 395 (3d Cir. 2004); Post v. Liberty Mut. Grp., Inc., 2014
violated section 201-3 of the UTPCPL when they:                   U.S. Dist. LEXIS 83373, at *7-8, 2014 WL 2777396 (E.D.
                                                                  Pa. June 18, 2014) (quoting Seldon v. Home Loan Servs., Inc.,
                                                                  647 F. Supp. 2d 451, 466 (E.D. Pa. 2009); citing Toy v. Metro.
             misrepresented the characteristics or                Life Ins. Co., 863 A.2d 1, 11 (Pa. Super. Ct. 2004), aff'd, 928
             benefits of the loan accounting of the               A.2d 186 (Pa. 2007)); Grudkowski v. Foremost Ins. Co., 2013
             loan rendered to plaintiffs as being                 U.S. Dist. LEXIS 30567, at *26-31, 2013 WL 816666 (M.D.
             inaccurate when the loan's servicing                 Pa. Mar. 5, 2013) (Caputo, J.).
             and accounting was defective resulting
             in false allegations of default and false            *18 Defendants move to dismiss Plaintiffs' UTPCPL
             legal claims of right to sell plaintiffs'            claims. 4 See (Docs. 21, 23). In particular, Udren argues that
             home under the terms of the Note and                 Plaintiffs have failed to plead an ascertainable loss of money
             Mortgage.                                            or property, real or personal, and justifiable reliance, both
                                                                  of which are required to successfully prosecute a UTPCPL
                                                                  action. (Doc. 22, p. 13). As for justifiable reliance, Udren
(Doc. 14, p. 8) (citing 73 P.S. § 201-2(4)(v)).                   argues that:

The UTPCPL is “a remedial statute intended to protect                 Plaintiffs do no assert one iota of a fact supporting
consumers from unfair or deceptive [business] practices or            justifiable reliance or specific harm therefrom, rather, they
acts....” Balderston v. Medtronic Sofamor Danek, Inc., 152 F.         baldly claim that they were “unable to buy a new truck,”
Supp. 2d 772, 776 (E.D. Pa. 2001). The UTPCPL “prohibits              they “have been forced to rent rather than purchase a
‘[u]nfair methods of competition and unfair or deceptive acts         new home because they cannot qualify for an affordable
or practices in the conduct of any trade or commerce,’ as             mortgage” their credit was damaged and they hired an
defined by other provisions of the statute.” Mondron v. State         attorney to defend the foreclosure action.
Farm Mut. Auto. Ins. Co., 2016 U.S. Dist. LEXIS 176404, at
                                                                  (Doc. 22, p. 14). Udren claims that “[t]here is absolutely
*10, 2016 WL 7384183 (W.D. Pa. Dec. 21, 2016) (alteration
                                                                  no nexus between any alleged representation of Udren and
in original) (quoting 73 P.S. §§ 201-3 and 201-2(4)). Notably:
                                                                  the alleged (and unascertainable) harm by Plaintiffs.” (Id.).
  the UTPCPL provides a private cause of action to “[a]ny         Therefore, Udren concludes, “Plaintiffs' claims for purported
  person who purchases or leases goods or services primarily      violations of the UTPCPL ... should be dismissed.” (Id.).
  for personal, family or household purposes and thereby
  suffers any ascertainable loss of money or property, real       4        Udren also argues that Plaintiffs' claim pursuant
  or personal, as a result of the use or employment by any                 to the Fair Credit Extension Uniformity Act
  person of a method, act or practice declared unlawful.”                  (“FCEUA”), 73 PA. CON. STAT. ANN. § 2270.1
                                                                           et seq., should be dismissed because it is expressly
Id. at *10-11 (quoting 73 P.S. § 201-9.2(a)). “To maintain a
                                                                           excluded from liability under the FCEUA. (Doc.
private right of action under the UTPCPL, a plaintiff must
                                                                           22, p. 13). Notably, however, Plaintiffs have
demonstrate (1) ‘ascertainable loss of money or property, real
                                                                           withdrawn their FCEUA claim. See (Doc. 14, pp.
or personal,’ [73 P.S.] § 201-9.2(a), (2) ‘as a result of’ the
                                                                           6-8); (Doc. 27-1, p. 13). Consequently, to the
defendant's prohibited conduct under the statute.” Laymark v.


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       extent that Udren moves for dismissal of Plaintiffs'      allegations relating to the UTPCPL describe statements made
       withdrawn FCEUA claim, it will be dismissed as            by defendants in the Foreclosure Action.” (Id.). In particular,
       moot.                                                     Plaintiffs:
Finally, Udren argues that “the economic loss doctrine             allege that Ocwen and U.S. Bank violated the UTPCPL
precludes Plaintiffs' right to recovery under the UTPCPL,          by “[r]epresent[ing] that an accurate account of plaintiffs'
and, therefore, the FCEUA.” (Id.). According to Udren,             loan had been made and reviewed thereafter in the course
“[h]ere, the determination of whether Udren violated the           of the foreclosure” and “[b]y the filing of underlying
UTPCPL turns on whether Plaintiffs, as they allege, were           action represented that plaintiffs were in default [and]
current under the terms of the Note and Mortgage.” (Id. at p.      that defendants were entitled to foreclose [and] that the
15). “Since any claims based on alleged misrepresentations         underlying foreclosure was lawful.”
are necessarily interwoven with the mortgage and note
themselves,” Udren concludes, “Plaintiff[s'] UTPCPL claim        (Id.) (emphasis and alteration in original). “As such,”
is barred by the economic loss doctrine.” (Id.).                 these U.S. Bank and Ocwen conclude, “the allegations that
                                                                 underpin the UTPCPL claim are the statements and claims
U.S. Bank and Ocwen argue that there are two (2) reasons         made by Ocwen and/or U.S. Bank in the course of the
why Plaintiffs' UTPCPL claim should be dismissed. (Doc.          underlying foreclosure litigation, whether in pleadings, other
24, pp. 11-14). Specifically, U.S. Bank and Ocwen assert         court submissions, or out-of-court discussions regarding this
that Plaintiffs' UTPCPL claim is barred by the economic loss     matter.” (Id.). Therefore, U.S. Bank and Ocwen conclude,
doctrine and judicial privilege. (Doc. 24, pp. 11-14).           “[a]s the Third Circuit held in Schwartz, such statements
                                                                 are absolutely privileged under Pennsylvania law, and the
Turning first to U.S. Bank and Ocwen's argument concerning       UTPCPL claim must fail for this reason.” (Id.).
the economic loss doctrine, they claim that “the determination
of whether Ocwen and U.S. Bank violated the UTPCPL               Plaintiffs respond by first addressing Udren's argument
turns on whether [Plaintiffs], as they allege, were current      based on justifiable reliance. (Doc. 27-1, p. 14).
under the terms of the mortgage loan, i.e., the parties'         According to Plaintiffs, they “justifiably relied on [Udren's]
written agreement.” (Id. at p. 12). According to U.S. Bank       misrepresentations of a default in the Foreclosure Action
and Ocwen, “all of the factual allegations contained within      because they hired counsel to oppose it.” (Id.). Plaintiffs
Count III relate to the servicing of [Plaintiffs'] mortgage      continue by asserting that they “were forced to depend
loan and whether their payment were appropriately accounted      upon the Foreclosure Action complaint's misrepresentation of
for under the terms of the parties' loan agreement.” (Id.).      default by paying defense counsel to file an answer in defense
U.S. Bank and Ocwen conclude that “[b]ecause any claims          to prevent a default judgment that would result in loss of
based on defendants' alleged misrepresentations regarding        their home.” (Id.). Plaintiffs claim that “such reliance was
the mortgage loan's accounting are necessarily interwoven        forced rather than seduced by Ocwen does not make it any
with the mortgage loan, the UTPCPL claim is barred by            less reliance or any less justified.” (Id.). Further, Plaintiffs
the economic loss doctrine.[footnote omitted]” (Id. at p. 13).   argue that they “otherwise clearly allege damages from such
Additionally, U.S. Bank and Ocwen argue that Plaintiffs'         misrepresentations being the legal fees and costs paid to
“claim of emotional distress” fails to “salvage their UTPCPL     defend the Foreclosure Action, emotional and credit damage
claim because such alleged damages are not compensable           from therefrom.” (Id.).
under the UTPCPL.” (Id. at p. 13 n.4).
                                                                 Plaintiffs then address Udren's argument that they have
 *19 U.S. Bank and Ocwen then argue that Plaintiffs'             failed to sufficiently plead ascertainable loss. (Id.). In
UTPCPL claim is also barred by judicial privilege. (Id. at       particular, Plaintiffs claim that Grimes, a case cited by
p. 13). According to U.S. Bank and Ocwen, “[t]his case           Udren, is distinguishable from the present circumstances.
is no different” than Schwartz v. OneWest Bank, FSB,             (Id. at pp. 14-15). In particular, Plaintiffs argue that Grimes
614 Fed.Appx. 80, 81-82 (3d Cir. 2015) (non-precedential),       is inapplicable because, unlike Grimes, which rejected a
which, these Defendants contend, resulted in the Third Circuit   plaintiff's claim that legal fees incurred bringing a UTPCPL
finding that the “UTPCPL claim, among others, was barred         claim satisfies the ascertainable loss requirement, Plaintiffs
by Pennsylvania's judicial privilege doctrine.” (Doc. 24, p.     are claiming the legal fees incurred from the underlying
14). U.S. Bank and Ocwen claim that “[a]ll of the factual        foreclosure action as damages. (Id.). Plaintiffs state that


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“[u]nlike Grimes, however, no facts in the instant case support        breach of a general social duty, not a breach of any duty
plaintiffs were spinning novel legal theories to manufacture           created by the insurance policy itself.”
a default of their mortgage loan to provoke a foreclosure
showdown with Ocwen as a pretext to file the instant               (Id. at pp. 16-17). Plaintiffs contend that “[t]his represents
litigation.” (Doc. 27-1, pp. 14-15). “Accordingly,” Plaintiffs     a break with the [Pennsylvania] Superior Court's holding in
argue, “the holding of Grimes should be restricted to facts        eToll, Inc. v. Elias/Savion Adver., Inc., 811 A.2d 10 (Pa.
where a UTPCPL consumer has some meaningful choice as              Super. 2002) which rejected eToll's argument that ‘the duty
to manufacture of their litigation costs in an underlying action   to refrain from deliberate deceit is a duty implied by law,
rather than the UTPCPL defendant in an underlying action           not derived from a private contract.’ ” (Doc. 27-1, p. 17).
manufacturing those costs by its actions leaving the consumer      Plaintiffs claim that:
no choice but to incur legal costs to combat a wrong.” (Id. at
p. 15). Moreover, “[t]his formulation is otherwise consistent
with the statutory language of the UTPCPL which explicitly                       Bruno recognizes that, while a contract
provides that any person who suffers an ascertainable loss                       establishes a relationship between
‘may bring a private action to recover actual damages.’ ” (Id.).                 parties, it does not provide an
                                                                                 exhaustive basis for the source of
 *20 In regards to the argument that their UTPCPL claims                         duties owed by the parties, and that
are barred by the United States Court of Appeals' decision                       a contractual relationship does not
in Werwinski v. Ford Motor Co., 286 F.3d 661, 671 (3d Cir.                       necessarily preclude the existence of
2002), and the economic loss doctrine, Plaintiffs claim that                     extra-contractual duties that may be
Defendants' reliance “upon Werwinski is misplaced insofar                        imposed by common law or statute.
as the Third Circuit Court of Appeals' projection of the
Pennsylvania Supreme Court's decision on gist of the action/
economic loss doctrine is no longer controlling given that”        (Id.).
the Supreme Court of Pennsylvania has “issued a ruling on
application of this doctrine which permits tort claims for         Turning to this matter, Plaintiffs contend that the economic
fraudulent contract performance.” (Doc. 27-1, p. 16) (citing       loss doctrine should not apply here because “Ocwen, and
Bruno v. Erie Ins. Co., 106 A.3d 48 (Pa. 2014)).                   Udren, in its capacity as the agent of Ocwen had a
                                                                   duty to avoid unfair and deceptive practices in the latter's
“In Bruno,” Plaintiffs state, “homeowner insureds sued their       performance of services under the mortgage contract with
insurer, Erie Insurance Company, for negligently performing        plaintiffs.” (Id.). As to the impact of judicial privilege on
under the applicable homeowners' insurance policy covering         the viability of their UTPCPL claim, Plaintiffs argue that the
mold remediation expenses.” (Doc. 27-1, p. 16). “Erie              Court should not follow the United States Court of Appeals
had informed the plaintiffs that the suspected mold was            for the Third Circuit's decision in Schwartz. (Id. at pp. 17-18).
harmless, causing plaintiffs to continue residing in the           The Court will address the issues of justifiable reliance and
home during renovations until the mold later proved toxic,         judicial privilege in turn. 5
causing plaintiffs significant respiratory illness including
throat cancer.” (Id.). According to Plaintiffs, “[t]he relevant    5
issue on appeal was whether the Brunos' negligence claim,                   As discussed in more detail below, since justifiable
based on Erie's representation that the mold was harmless,                  reliance and judicial privilege are dispositive, the
was barred by the gist of the action doctrine.” (Id.). Plaintiff            Court will not render a decision on the Defendants'
continues by noting that the Supreme Court of Pennsylvania                  respective arguments concerning the application of
“conceded that Erie was under a contractual obligation to                   the economic loss doctrine to this case or Udren's
investigate the alleged mold....” (Id.). However, the Supreme               argument that Plaintiffs failed to sufficiently plead
Court of Pennsylvania:                                                      ascertainable loss.

  held that the gist of the action doctrine did not apply
  because Erie acted negligently in fulfilling its contractual                          a. Justifiable Reliance
  obligations, and this negligence “concerns Erie's alleged



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 *21 As stated, Udren notes that “[i]n order to proceed under                      records reflecting default by plaintiffs
the UTPCPL's private right of action, a plaintiff must plead                       when plaintiffs' regular payments were
that he or she ‘suffer[ed]’ and ‘ascertainable loss of money                       cashed by Ocwen for nearly a year
or property, real or personal,’ ” (Doc. 22, p. 13) (quoting 73                     after a date of default alleged in
P.S. § 201-9.2(a)). Additionally, Udren also correctly notes                       the underlying litigation resulting in
that for Plaintiffs to defeat the instant motion to dismiss as to                  conflicting and otherwise incorrect
their UTPCPL claims they must sufficiently plead “justifiable                      accounting of plaintiffs' loan, plaintiffs
reliance under the statute to satisfy this stringent causation                     would not have sustained any damages
requirement.” (Id.) (citing Yocca, 854 A.2d at 438); see Hunt,                     and losses.
538 F.3d at 221; Glover v. Wells Fargo Home Mortg., 629
Fed.Appx. 331, 344 (3d Cir. 2015) (“ ‘To bring a private
cause of action under the UTPCPL, a plaintiff must show that          (Id. at p. 8). As these allegations show, Plaintiffs do not
he justifiably relied on the defendant's wrongful conduct or          allege that they ever thought the communications relevant
representation and that he suffered harm as a result of that          to their UTPCPL claims were accurate. Instead, as stated,
reliance.’ ”) (quoting Yocca, 854 A.2d at 438). Udren argues          this matter is centered on Plaintiffs' alleged unwillingness to
that Plaintiffs' UTPCPL claims should be dismissed because,           believe the allegations advanced by the Defendants in the
inter alia, they failed to plead ascertainable loss and justifiable   underlying mortgage foreclosure case. See Warren v. Wells
reliance. (Id. at pp. 13-14). According to Udren, “[j]ustifiable      Fargo Bank, N.A., 2016 U.S. Dist. LEXIS 21253, at *9-10,
reliance is conspicuously absent from the Complaint.” (Id.).          2016 WL 693121 (W.D. Pa. Feb. 22, 2016); Williams v.
Udren continues by stating that:                                      EMC Mortg. Corp., 2013 U.S. Dist. LEXIS 63426, at *17,
                                                                      2013 WL 1874952 (E.D. Pa. May 3, 2013) (“The plaintiff
  Plaintiffs do not assert one iota of a fact supporting
                                                                      claims he kept trying to make his regular mortgage payments
  justifiable reliance or specific harm therefrom, rather, they
                                                                      even after the alleged misrepresentations so it appears he
  baldly claim that they were “unable to buy a new truck,”
                                                                      did not rely on the alleged misrepresentations in a way that
  they “have been forced to rent rather than purchase a
                                                                      altered his behavior.”). Importantly, “ ‘[w]hether reliance on
  new home because they cannot qualify for an affordable
                                                                      an alleged misrepresentation is justified depends on whether
  mortgage” their credit was damaged and they hired an
                                                                      the recipient knew or should have known that the information
  attorney to defend the foreclosure action.
                                                                      supplied was false.’ ” Davis v. Bank of Am., N.A., 2016
(Doc. 22, pp. 13-14). According to Udren, “[t]here is                 U.S. Dist. LEXIS 13333, at *13-14, 2016 WL 427050 (E.D.
absolutely no nexus between any alleged representation                Pa. Feb. 3, 2016) (alteration in original) (quoting Porreco v.
of Udren and the alleged (and unascertainable) harm by                Porreco, 571 Pa. 61, 811 A.2d 566 (Pa. 2002)). “A plaintiff
Plaintiffs.” (Id.). As a result, Udren argues, Plaintiffs'            ‘is not justified in relying upon the truth of an allegedly
UTPCPL claims should be dismissed.                                    fraudulent misrepresentation if he knows it to be false or if its
                                                                      falsity is obvious.’ ” Davis, 2016 U.S. Dist. LEXIS 13333, at
A review of the amended complaint reveals that Plaintiffs             *14, 2016 WL 427050 (quoting Toy v. Metro Life Ins. Co.,
have failed to sufficiently plead that they justifiably relied        928 A.2d 186, 201 (Pa. 2007)).
on a miscommunication or deceptive communication to their
detriment. Rather, the basis of Plaintiffs' UTPCPL claim               *22 Here, Plaintiffs allege that “[e]ven after the complaint
hinges on the fact that they did not rely on the alleged              in foreclosure was filed, and Plaintiffs continually informed
misrepresentations of Udren. Rather, according to Plaintiff,          Defendants of their mistake, Defendants pursued their
they “reasonably relied upon the material acts and actions of         meritless claim.” (Doc. 14, p. 4). This theory is continued
defendants as exemplified by their retaining counsel to defend        by Plaintiffs in their brief in opposition to the motions to
the underlying litigation.” (Doc. 14, p. 7). Plaintiffs further       dismiss at bar. According to Plaintiffs, “[t]hey did not rely
allege that:                                                          upon the truth of the Foreclosure Action's misrepresentations
                                                                      as one dictionary definition of ‘rely’ would permit, i.e. to
                                                                      ‘place confidence in’ and act accordingly.” (Doc. 27-1, p.
                                                                      14). Thus, based upon the facts alleged in their amended
             But for defendants and their respective
                                                                      complaint, Plaintiffs have failed to sufficiently allege that
             agents' and employees' acts and
                                                                      they justifiably relied on the communications relevant to
             omissions and disregard for its own


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their UTPCPL claims. As a result, Plaintiffs' UTPCPL claims       27-1, p. 17). “Hence,” Plaintiffs continue, “1 Pa. Code §
against Udren will be dismissed.                                  1504 holds that a statutory remedy is always preferred over
                                                                  common law....” 6 (Id.). Plaintiffs contend that “[t]he Third
Clearly, based upon the facts alleged in the amended              Circuit in Schwartz based its holding barring UTPCPL claims
complaint, no set of facts can be alleged under these             upon four (4) case decisions involving a litigation privilege
circumstances which would allow Plaintiffs to obtain relief       bar to only common law claims.” (Id.). Specifically, Plaintiffs
against Udren under the UTPCPL. Specifically, Plaintiffs will     state that “General Refractories Company involved claims of
be unable to sufficiently plead that they justifiably relied on   Abuse of Process, for which the appeals court reversed and
the communications relevant to their UTPCPL claims against        remanded for amendment of the complaint, and barred the
Udren to establish that they are entitled to relief for those     common law conspiracy claim.” (Id. at pp. 17-18). Plaintiffs
claims. As a result, amendment will not be allowed as to          continue by stating that the Pennsylvania Superior Court
these claims because any such amendment would be futile.          “cases of Binder v. Triangle Publ'ns, Inc. and Richmond v.
Therefore, Plaintiffs' UTPCPL claims against Udren will be        McHale, involved common law claims of defamation that
dismissed with prejudice.                                         were barred by the privilege.” (Id. at p. 18). “After discussing
                                                                  these cases,” Plaintiffs contend, the Third Circuit in Schwartz
                                                                  went “on to make this erroneous broad brush conclusion
                     b. Judicial Privilege                        of law to bring non-defamation claims under the litigation
                                                                  privilege.” (Id.).
To the extent that U.S. Bank and Ocwen argue that Plaintiffs'
UTPCPL claims should be dismissed because they are barred         6       As quoted by Plaintiffs, section 1504 states:
by Pennsylvania's judicial privilege doctrine, (Doc. 24, pp. 2,
                                                                            In all cases where a remedy is provided or a duty
13-14), their motion will be granted. As stated, U.S. Bank and
                                                                            is enjoined or anything is directed to be done
Ocwen argue that “[t]his case is no different” than Schwartz
                                                                            by any statute, the directions of the statute shall
v. OneWest Bank, FSB, 614 Fed.Appx. 80, 81-82 (3d Cir.
                                                                            be pursued, and no penalty shall be inflicted, or
2015) (non-precedential), which resulted in the Third Circuit
                                                                            anything done agreeably to the common law, in
finding that the “UTPCPL claim, among others, was barred
                                                                            such cases, further than shall be necessary for
by Pennsylvania's judicial privilege doctrine.” (Doc. 24, p.
                                                                            carrying such statute into effect.
14). U.S. Bank and Ocwen claim that “[a]ll of the factual
                                                                          1 PA. CONS. STAT. ANN. § 1504; (Doc. 27-1, p.
allegations relating to the UTPCPL describe statements made
                                                                          17).
by defendants in the Foreclosure Action.” (Id.). In particular,
Plaintiffs “allege that Ocwen and U.S. Bank violated the           *23 Plaintiffs also take issue with the Third Circuit's reliance
UTPCPL by ‘[r]epresent[ing] that an accurate account of           on Moses v. McWilliams, 549 A.2d 950 (1988). (Doc. 27-1,
plaintiffs' loan had been made and reviewed thereafter            p. 18). On this point, Plaintiffs quote the Schwartz decision
in the course of the foreclosure’ and ‘[b]y the filing of         for the following:
underlying action represented that plaintiffs were in default
                                                                      Although the judicial privilege most often bars defamation
[and] that defendants were entitled to foreclose [and] that
                                                                      suits, Pennsylvania courts have applied the privilege
the underlying foreclosure was lawful.’ ” (Id.) (emphasis
                                                                      broadly to confer “immunity from civil liability in the
and alteration in original). “As such,” U.S. Bank and Ocwen
                                                                      context of judicial proceedings.”
conclude, “the allegations that underpin the UTPCPL claim
are the statements and claims made by Ocwen and/or U.S.           (Id.). “However,” Plaintiffs argue, “the Moses Court was
Bank in the course of the underlying foreclosure litigation,      holding nothing of this kind. Indeed, while the Moses
whether in pleadings, other court submissions, or out-of-court    holding did apply judicial immunity to constrain a statutory
discussions regarding this matter.” (Id.).                        right[footnote omitted], it did so in the factual/legal context
                                                                  of a defamation claim.” (Id.) (citing Moses, 549 A.2d 950).
In response, Plaintiffs claim that “[t]he jurisprudence of the
Third Circuit in Schwartz is clearly unsound and should not       In Schwartz, a plaintiff “brought Pennsylvania state law
be followed.” (Doc. 27-1, p. 17). According to Plaintiffs,        claims against” the defendant, which included, inter alia,
“[l]itigation privilege, a doctrine based in common law, does     a claim under the UTPCPL. Schwartz, 614 Fed.Appx. at
not overcome statutory directives of the legislature.” (Doc.      81. The plaintiff's UTPCPL claim in Schwartz was “based


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on statements [the defendant] made in connection with                            fact deceive plaintiffs as described
foreclosure proceedings on [the plaintiff's] property.” Id. “The                 herein including but not limited to:
District Court dismissed [the plaintiff's] claims, holding that                  (a) Represented that an accurate
[the defendant's] statements were protected by Pennsylvania's                    accounting of plaintiffs' loan had been
absolute judicial privilege and that [the plaintiff's] abuse of                  made and reviewed thereafter in the
process claim was inadequately pled.” Id. The Third Circuit                      course of the foreclosure; (b) By
noted that:                                                                      the filing of the underlying action
                                                                                 represented that plaintiffs were in
                                                                                 default under the terms of the Note
             all of [the plaintiff's] claims arise                               and Mortgage; (c) By the filing of the
             from the foreclosure action and                                     underlying litigation represented that
             communications that occurred in                                     defendants were entitled to foreclose
             connection with that action, namely                                 and sell plaintiffs' home at sheriff's
             the foreclosure complaint, the related                              sale without first properly accounting
             sale notices posted as a result of                                  for plaintiffs' payments under the
             the state court judgment in the                                     loan; (d) By the filing of the
             foreclosure action, see PA. R. CIV. P.                              underlying litigation represented that
             3129.1, and communications between                                  the underlying foreclosure was lawful.
             [the defendant's] and [the plaintiff's]
             attorneys that directly pertained to the
             foreclosure action.                                     *24 (Doc. 14, p. 7). Plaintiffs continue by claiming that “[i]t
                                                                    is not unreasonable to conclude that a national bank like US
                                                                    Bank and a national mortgage servicer like Ocwen does not
Schwartz, 614 Fed.Appx. at 83. In addressing the District           intend for its customers to rely upon its communications about
Court's “dismissal of all claims but the abuse of process           their account....” (Id.). “[E]specially,” Plaintiffs continue,
claim on the ground that they depended on communications            “when the communications involve seeking to sell plaintiffs'
protected by Pennsylvania's judicial privilege,” the Third          home as in the underlying action and the defendants
Circuit found that “[t]hese communications reflected                collectively fail to acknowledge or review their errors and
counsel's efforts to share their clients' litigation positions      instead simply ratify their continued wrongful conduct as in
regarding [the defendant's] assertion that the mortgage             this matter.” (Id.). According to Plaintiffs, they “reasonably
covered both parcels, and thus were ‘pertinent and material to      replied upon the material acts and actions of defendants
the redress or relief sought’ in the foreclosure case.” Id. at 81   as exemplified by their retaining counsel to defend the
(quoting Post v. Mendel, 507 A.2d 351, 355 (Pa. 1986); citing       underlying litigation.” (Id.). Further, Plaintiffs allege that
Richmond v. McHale, 35 A.3d 779, 784, 786 (Pa. Super.               “[b]ut for” Defendants':
Ct. 2012)). “Thus,” the Third Circuit determined, “we will
affirm the District Court's dismissal of all claims, other than
the abuse of process claim, on the ground that the allegedly                     acts and omissions and disregard for
improper communications that form the basis for these claims                     its own records reflecting default
are protected by the judicial privilege.[footnote omitted]” Id.                  by plaintiffs when plaintiffs' regular
                                                                                 payments were cashed by Ocwen for
Here, Plaintiff alleges that the UTPCPL was violated when                        nearly a year after a date of default
Defendants:                                                                      alleged in the underlying litigation
                                                                                 resulting in conflicting and otherwise
                                                                                 incorrect accounting of plaintiffs' loan,
             failed to state material facts or                                   plaintiffs would not have sustained any
             otherwise misstated, misrepresented,                                damages and losses.
             or omitted the true facts concerning
             or related to the status of the Loan
             that tended to deceive and/or did in                   (Doc. 14, p. 8).


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However, following the Third Circuit's persuasive decision             IV. CONCLUSION
in Schwartz, it is determined that Plaintiffs' UTPCPL                  Based on the foregoing, Defendants' respective motions
claim against U.S. Bank and Ocwen will be dismissed on                 to dismiss Plaintiffs' FDCPA claims concerning Plaintiffs'
the ground that it depends on communications protected                 underlying mortgage foreclosure action will be granted. As a
by Pennsylvania's judicial privilege. As was the case in               result, Plaintiffs' FDCPA claims concerning their underlying
Schwartz, the communications at issue in Plaintiffs' UTPCPL            mortgage foreclosure action, see (Doc. 14, pp. 5-6), will be
claim concern the arguments advanced in favor of obtaining             dismissed because they are barred by the FDCPA's statute
a mortgage foreclosure judgment. See (Id. at pp. 7-8).                 of limitations. As for Defendants' respective motions to
Therefore, such communications were pertinent and material             dismiss Plaintiffs' state law claims, those motions will be
to the redress or relief sought in that foreclosure action. As a       denied in part and granted in part. In particular, Defendants'
result, following the Third Circuit's well reasoned decision in        respective motions to dismiss Plaintiffs' Dragonetti claims
Schwartz, the Court will dismiss Plaintiffs' UTPCPL claims             will be denied. However, Defendants' respective motions to
against U.S. Bank and Ocwen under Pennsylvania's judicial              dismiss Plaintiffs' UTPCPL claims will be granted and, thus,
privilege doctrine.                                                    those claims will be dismissed. Lastly. Plaintiffs' FDCPA and
                                                                       UTPCPL claims will be dismissed with prejudice because
Further, since it is determined that judicial privilege applies        granting leave to amend those claims would be futile.
to and bars Plaintiffs' UTPCPL claims against U.S. Bank
and Ocwen concerning communications made during the                    An appropriate Order follows.
course of a judicial proceeding, and there being no indication
that Plaintiffs are seeking relief under the UTPCPL for
communications made beyond the course of a judicial                    All Citations
proceeding, see (Doc. 14, p. 7), leave to amend these claims
will not be allowed because such amendment would be futile.            Not Reported in Fed. Supp., 2017 WL 1178047
As a result, Plaintiffs' UTPCPL claims against U.S. Bank and
Ocwen will be dismissed with prejudice.

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United States District Court, E.D. Pennsylvania. |      February 11, 2020 |   Slip Copy |    2020 WL 703652

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                                                               On October 1, 2018, BONY and Bayview removed the case to
                   2020 WL 703652
                                                               this Court. (Doc. No. 1.) After removal, BONY and Bayview
    Only the Westlaw citation is currently available.
                                                               filed an Answer to the Complaint (Doc. No. 3). MWM, the
    United States District Court, E.D. Pennsylvania.
                                                               law firm, however, filed a Motion to Dismiss the Complaint
              Jola BRONSTEIN, Plaintiff,                       (Doc. No. 13) under Federal Rule of Civil Procedure 12(b)
                            v.                                 (6), which is now ripe for review. 1 For the following reasons,
             BAYVIEW LOAN SERVICING,                           MWM’s Motion to Dismiss will be granted in part and denied
                LLC, et al., Defendants.                       in part.

               CIVIL ACTION NO. 18-4223                        1      For purposes of this Opinion, the Court has
                            |
                                                                      considered the Notice of Removal and Plaintiff’s
                   Signed 02/10/2020
                                                                      Complaint contained therein (Doc. No. 1),
                            |
                                                                      Defendant Mattleman, Weinroth & Miller, P.C.’s
                    Filed 02/11/2020
                                                                      Motion to Dismiss for Failure to State a Claim
Attorneys and Law Firms                                               (Doc. No. 13), Plaintiff’s Response in Opposition
                                                                      (Doc. No. 14), Defendant Mattleman, Weinroth &
Michael P. Forbes, Wayne, PA, for Plaintiff.                          Miller, P.C.’s Reply in Support of their Motion to
                                                                      Dismiss (Doc. No. 18), and the parties’ arguments
Michael P. Trainor, Blank Rome LLP, Philadelphia, PA, for             presented during the hearing held on December 11,
Defendants Bayview Loan Servicing, LLC, Bank of New                   2019 (Doc. No. 20).
York Mellon.
                                                               II. BACKGROUND
Robert W. Williams, Mattleman Weinroth & Miller PC,
                                                               On May 18, 2007, Plaintiff purchased a house located
Cherry Hill, NJ, Michael P. Trainor, Blank Rome LLP,
                                                               at 112 Haverford Road, Wynnewood, Pennsylvania 19096
Philadelphia, PA, for Defendant Mattleman, Weinroth &
                                                               (the “Property”). (Doc. No. 1 at 33.) To finance the
Miller, P.C.
                                                               purchase, she obtained a $220,000 loan from Castle Point
                                                               Mortgage, Inc. (“Castle Point”), a mortgage lender and
                                                               mortgage broker for residential properties. (Id.) In exchange,
                          OPINION
                                                               Plaintiff executed an adjustable rate note (the “Note”) that
Slomsky, District Judge                                        evidenced the loan and obligated Plaintiff to pay Castle
                                                               Point, or any subsequent holder of the Note, the original
I. INTRODUCTION                                                principal balance of $220,000 plus interest. (Id.) The same
 *1 On September 14, 2018, Plaintiff Jola Bronstein filed      day, to secure the obligations under the Note, Plaintiff
suit in the Court of Common Pleas of Montgomery County,        executed and delivered a mortgage on the Property (the
Pennsylvania, claiming that her house was improperly           “Mortgage”) to Mortgage Electronic Registration Systems,
foreclosed upon because the interest rate she was charged      Inc. (“MERSCORP”), solely as nominee for Castle Point. 2
was both erroneous and fraudulently misrepresented in the      (Id. at 42.) The mortgage was subsequently recorded in the
state court foreclosure complaint. She sued several parties,   Montgomery County Recorder of Deeds. (Id.)
including: (1) the Bank of New York Mellon formerly known
as The Bank of New York, individually and as Trustee           2      Castle Point was the effective holder of the
for the Certificateholders of CWABS, Inc., Asset-Backed
                                                                      mortgage; however, the nominal mortgage holder
Certificates, Series 2007-SEA2 (“BONY”), the holder of the
                                                                      was Mortgage Electronic Registration Systems,
promissory note and mortgage; (2) Bayview Loan Servicing,
                                                                      Inc. (“MERSCORP”). (Doc. No. 13 at 8.)
Inc. (“Bayview”), BONY’s loan servicer; and (3) Mattleman,
                                                                      Mortgage loan originators, like Castle Point, often
Weinroth & Miller, P.C. (“MWM” and together with BONY
                                                                      use MERSCORP to serve as the nominal mortgage
and Bayview, “Defendants”), the law firm retained by
                                                                      holder in local government recording offices.
Bayview on behalf of BONY to commence foreclosure
proceedings.


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                                                                  Mortgage was purchased from Castle Point or another entity,
 *2 The Note included an adjustable interest rate, meaning
                                                                  but, in any event, following the sale of the Mortgage, it was
that over the life of the loan, the interest rate would change.
                                                                  assigned by MERSCORP, the nominal mortgage holder, to
(Id. at 14.) From July 1, 2007—Plaintiff’s first payment date
                                                                  BONY and recorded in the Montgomery County Recorder of
—until June 1, 2009, the Note’s interest rate was fixed at
                                                                  Deeds on June 21, 2011. (Doc. No. 1 at 42.)
11.75%. (Id. at 33.) Then, on June 1, 2009, and every six
months thereafter—each such date dubbed a “change date”—
                                                                  Plaintiff allegedly failed to make mortgage payments for the
the interest rate would be reset. (Id. at 24.) On each change
                                                                  next three years and on May 28, 2014, Bayview sent Plaintiff
date, the rate would reset to 6.375% plus the most recent six-
                                                                  a notice of their intent to foreclose on the Property, as required
month U.S. dollar-denominated LIBOR (London Interbank
                                                                  under Pennsylvania’s Act 91, 35 P.S. § 1680.401 et seq., and
Offered Rate) published in the Wall Street Journal, rounded
                                                                  Act 6, 41 P.S. § 401 et seq. (the “Foreclosure Notices”). (Doc.
to the nearest one-eighth of one percent. (Id.) The first reset
                                                                  No. 1 at 57.) Among other things, the Foreclosure Notices
rate could not be less than 11.750% nor greater than 14.750%,
                                                                  informed Plaintiff that she could cure the default by paying the
and no subsequent reset rate could increase or decrease more
                                                                  alleged deficiency in full within thirty days, along with any
than 1% from the prior change date’s interest rate. (Id.)
                                                                  mortgage payments and late charges that became due during
                                                                  that thirty-day period. (Id. at 58.) A line-item breakdown of
Alleged here is that Plaintiff stopped making her mortgage
                                                                  the alleged deficiency was provided in each of the Foreclosure
payments on December 1, 2010. (Doc. No. 13-1 at 8.)
                                                                  Notices and is reproduced below.
Thereafter, on May 10, 2011, BONY—which is in the
business of acquiring and rehabilitating defaulted mortgage
loans—purchased Plaintiff’s Mortgage. It is unclear if the
 Total Monthly Payments Due:                                                           $118,672.19
       (12/01/2010 – 06/01/2011 @ $3,178.04)
       (07/01/2011 – 10/01/2013 @ $2,762.50)
       (11/10/2013 – 5/28/2014 @ $2,725.13)
 Late Charges:                                                                         $1,998.72
 Other Charges:
       Uncollected NSF Fees:                                                           $0.00
       Other Fees:                                                                     $0.00
       Corporate Advance Balance:                                                      $1,624.50
       Unapplied Balance:                                                              ($0.00)
 TOTAL YOU MUST PAY TO CURE DEFAULT:                                                   $122,295.41
                                                                  a Complaint in Mortgage Foreclosure in the Court of
(Id. at 58, 65.) Notably, under the heading “Total Monthly        Common Pleas for Montgomery County, Pennsylvania (the
Payments Due,” Plaintiff’s monthly mortgage payment               “Foreclosure Complaint”). (Id. at 41.) The Foreclosure
changed three times, suggesting that Plaintiff was being          Complaint included an updated breakdown of the alleged
charged a variable interest rate.                                 amounts due on the Mortgage, reflected a fixed interest rate
On July 13, 2016, after Plaintiff did not satisfy the             of 11.75%, and is reproduced below.
alleged deficiency, BONY, by and through its legal counsel,
MWM, initiated a judicial foreclosure proceeding by filing
 Principal Balance                                                                  $215,619.44



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 11.75% interest from November 1, 2010 through July 1,                            $143,566.36
 2016 at $69.41 per day
 Late Charges                                                                     $4,330.56
 Escrow Advances – Taxes                                                          $18,821.61
 Escrow Advances – Insurance                                                      $10,006.00
 Corporate Advances – Property Inspections                                        $893.50
 Corporate Advances – Legal                                                       $1,040.00
 TOTAL AMOUNT DUE                                                                 $394,277.47
                                                                 (Count IV); and (5) breach of contract. (Id. at 18-30.) MWM
(Id. at 43.) The foreclosure action remains pending in state     is named only in the first three Counts. (See id.)
court. (Id. at 11-13.)
On September 14, 2018, Plaintiff sued BONY, Bayview, and         On July 8, 2019, MWM filed the instant Motion to Dismiss
MWM, alleging that her debt was misrepresented in the            seeking to dismiss all three Counts alleged against it under
Foreclosure Complaint because                                    Federal Rule of Civil Procedure 12(b)(6). 3 With respect to
                                                                 Count I—the alleged violation of the FDCPA—MWM argued
                                                                 that this claim must be dismissed because MWM is not
             *3 [d]espite their knowledge of                     a “debt collector,” as defined by the Act, upon whom the
            the Adjustable Rate Note and the                     statute imposes certain restrictions. (Doc. No. 13-1 at 13-16.)
            terms therein, Defendants filed the                  In addition, on Counts II and III—the alleged violations of
            foreclosure complaint demanding a                    the FCEUA and the UTPCPL, respectively—MWM argued
            rate of interest which is in violation               that Pennsylvania’s absolute judicial privilege, which, among
            of the Note and excessive as well as                 other things, immunizes a law firm’s statements made in the
            Bayview continuing to send Plaintiff                 regular course of judicial proceedings, bars Plaintiff from
            monthly statements demanding an                      bringing these state law claims against it. (Id. at 4, 10.)
            excessive amount based upon an
            interest rate which is not stated in                 3      On October 10, 2018, the other two Defendants,
            the Note [and that] [b]y filing the                         BONY and Bayview, filed an Answer (Doc. No. 3)
            foreclosure complaint and attendant                         asserting, among other things, that the interest rate
            documents demanding a rate of                               included in the Foreclosure Complaint was correct
            interest which is in violation of the                       because the terms of the Note had been modified
            Note and excessive, Defendants have                         from an adjustable rate to a fixed rate of 11.75%
            made false, misleading and deceptive                        before the first change date. (Doc. No. 1 at 5-6; see
            representations to Plaintiff.                               Doc. No. 3 at 20.)
                                                                 On July 22, 2019, Plaintiff filed a Response in Opposition to
                                                                 MWM’s Motion to Dismiss (Doc. No. 14). In her Response,
(Id. at 17.) In her Complaint, Plaintiff asserted five claims
                                                                 Plaintiff argued that MWM is a “debt collector” under the
against Defendants: (1) violation of the Fair Debt Collection
                                                                 FDCPA, that MWM’s actions violated the FDCPA, and
Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq. (Count
                                                                 because a violation of the FDCPA is a per se violation
I); (2) violation of the Pennsylvania Fair Credit Extension
                                                                 of Pennsylvania’s FCEUA and UTPCPL, that MWM is
Uniformity Act (“FCEUA”), 73 Pa. C.S. § 2270.1, et seq.
                                                                 also liable under those state law statutes. (Id. at 4-6, 12.)
(Count II); (3) violation of the Pennsylvania Unfair Trade
                                                                 Plaintiff also argued that MWM is not immune from liability
Practices and Consumer Protection Law (“UTPCPL”), 73 P.S.
                                                                 under Pennsylvania’s absolute judicial privilege because their
§ 201-1, et seq. (Count III); (4) violation of the Real Estate
                                                                 actions concerned debt collection, which is not protected
Settlement and Procedures Act, 12 U.S.C. § 2601, et seq.



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by the privilege and, alternatively, because Pennsylvania’s         evaluating whether all of the elements identified in part one of
statutory scheme renders any judicial privilege ineffective.        the inquiry are sufficiently alleged.” Malleus v. George, 641
(See id. at 15.) MWM filed a Reply on August 12, 2019. (Doc.        F.3d 560, 563 (3d Cir. 2011).
No. 18.) On December 11, 2019, the Court held a hearing on
MWM’s Motion to Dismiss, during which the parties recited           A complaint must do more than allege a plaintiff’s entitlement
their respective positions. (See Doc. No. 20.)                      to relief, it must “show” such an entitlement with its facts.
                                                                    Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir.
                                                                    2009) (citing Phillips v. County of Allegheny, 515 F.3d 224,
III. STANDARD OF REVIEW                                             234-35 (3d Cir. 2008)). “[W]here the well-pleaded facts do
The motion to dismiss standard under Federal Rule of Civil          not permit the court to infer more than the mere possibility
Procedure 12(b)(6) for failure to state a claim is set forth in     of misconduct, the complaint has alleged—but it has not
Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937, 173 L.Ed.2d        ‘show[n]’—‘that the pleader is entitled to relief.’ ” Iqbal, 556
868 (2009). After Iqbal it is clear that “[t]hreadbare recitals     U.S. at 679, 129 S.Ct. 1937 (alteration in original) (citation
of the elements of a cause of action, supported by mere             omitted). The “plausibility” determination is a “context-
conclusory statements, do not suffice” to defeat a Rule 12(b)       specific task that requires the reviewing court to draw on its
(6) motion to dismiss. Id. at 678, 129 S.Ct. 1937; see also Bell    judicial experience and common sense.” Id.
Atl. Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167
L.Ed.2d 929 (2007). “To survive dismissal, ‘a complaint must
contain sufficient factual matter, accepted as true, to state a     IV. ANALYSIS
claim to relief that is plausible on its face.’ ” Tatis v. Allied   MWM moves to dismiss all of Plaintiff’s claims against it,
Interstate, LLC, 882 F.3d 422, 426 (3d Cir. 2018) (quoting          which arise under the FDCPA and Pennsylvania’s FCEUA
Iqbal, 556 U.S. at 678, 129 S.Ct. 1937). Facial plausibility        and UTPCPL. MWM argues that the FDPCA claim must
is “more than a sheer possibility that a defendant has acted        be dismissed because it is not a “debt collector” under the
unlawfully.” Id. (quoting Iqbal, 556 U.S. at 678, 129 S.Ct.         Act, to whom the Act applies. Separately, MWM argues that
1937). Instead, “[a] claim has facial plausibility when the         Plaintiff’s Pennsylvania state law claims under the FCEUA
plaintiff pleads factual content that allows the court to draw      and UTPCPL are barred by Pennsylvania’s absolute judicial
the reasonable inference that the defendant is liable for the       privilege. The Court will consider MWM’s arguments in turn.
misconduct alleged.” Id. (quoting Iqbal, 556 U.S. at 678, 129
S.Ct. 1937).
                                                                       A. Count I Will Not be Dismissed Because MWM is a
 *4 Applying the principles of Iqbal and Twombly, the Third            “Debt Collector” Under the FDCPA.
Circuit in Santiago v. Warminster Township, 629 F.3d 121 (3d        Count I of the Complaint alleges MWM violated multiple
Cir. 2010), set forth a three-part analysis that a district court   provisions of the FDCPA. (Doc. No. 1 at 18.) Plaintiff
in this Circuit must conduct in evaluating whether allegations      claims that MWM violated the Act by, among other things,
in a complaint survive a Rule 12(b)(6) motion to dismiss:           “making false, deceptive, or misleading representation[s] or
                                                                    means in connection with the debt collection[.]” (Id. at 18.)
  First, the court must “tak[e] note of the elements a plaintiff    Specifically, Plaintiff alleges MWM violated 15 U.S.C. §§
  must plead to state a claim.” Second, the court should            1692d, 1692e, 1692c(2), and 1692e(l0), which provide a non-
  identify allegations that, “because they are no more than         exclusive list of actions that violate the FDCPA. Plaintiff
  conclusions, are not entitled to the assumption of truth.”        also alleges MWM violated 15 U.S.C. §§ 1692f and 1692f(1)
  Finally, “where there are well-pleaded factual allegations,       which forbid “us[ing] unfair or unconscionable means to ...
  a court should assume their veracity and then determine           attempt to collect [a] debt.”
  whether they plausibly give rise to an entitlement for
  relief.”                                                          “To prevail on an FDCPA claim, a plaintiff must prove that
                                                                    (1) she is a consumer, (2) the defendant is a debt collector,
Id. at 130 (quoting Iqbal, 556 U.S. at 675, 679, 129 S.Ct.          (3) the defendant’s challenged practice involves an attempt to
1937). The inquiry is normally broken into three parts:             collect a ‘debt’ as the Act defines it, and (4) the defendant has
“(1) identifying the elements of the claim, (2) reviewing           violated a provision of the FDCPA in attempting to collect
the complaint to strike conclusory allegations, and then (3)        the debt.” Jensen v. Pressler & Pressler, 791 F.3d 413, 417
looking at the well-pleaded components of the complaint and         (3d Cir. 2015). Only the second prong is disputed here. As


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noted, MWM argues that Plaintiff’s FDCPA claims must be          No. 14 at 9; Doc. No. 21 at 9.) They also agree on the
dismissed because they are not a “debt collector,” as defined    historical understanding of relevant Third Circuit precedent.
by the Act. The Court disagrees.                                 Specifically, they both acknowledge Kaymark v. Bank of
                                                                 Am., N.A., a Third Circuit case that confirmed that law firms
 *5 The definition of a “debt collector” is provided in          are considered “debt collectors” under the FDCPA’s primary
Section 1692a(6) of the FDCPA and has two parts: a primary       definition when they file a foreclosure complaint on behalf of
definition and a limited-purpose definition. 15 U.S.C. §         a client in Pennsylvania state court. 783 F.3d 168, 176-77 (3d
1692(a)(6); see Obduskey v. McCarthy & Holthus LLP, –––          Cir. 2015) (stating that a law firm “acted as a ‘debt collector’
U.S. ––––, 139 S. Ct. 1029, 1035-36, 203 L.Ed.2d 390 (2019).     when, by filing the [f]oreclosure [c]omplaint, it ‘attempt[ed]
The primary definition states that                               to collect’ a debt on behalf of [its client].”) (citing 15 U.S.C.
                                                                 § 1692a(6)).


            [t]he term “debt collector” means any                4       During the hearing held on December 11,
            person who uses any instrumentality                          2019, MWM’s counsel, Michael Forbes, Esquire,
            of interstate commerce or the mails in                       acknowledged that, “[MWM] fully recognize[s]
            any business the principal purpose of                        that Pennsylvania is a judicial foreclosure
            which is the collection of any debts,                        state[.]” (Doc. No. 21 at 9.)
            or who regularly collects or attempts
                                                                 Plaintiff and MWM disagree, however, about whether
            to collect, directly or indirectly, debts
                                                                 Kaymark remains good law following the Supreme Court’s
            owed or due or asserted to be owed or
                                                                 ruling in Obduskey. ––– U.S. ––––, 139 S. Ct. 1029, 203
            due another.
                                                                 L.Ed.2d 390. In Obduskey, the Supreme Court held that a law
                                                                 firm that enforced a security interest by initiating a nonjudicial
                                                                 foreclosure on behalf of its client was not a “debt collector”
15 U.S.C. § 1692a(6); Obduskey, 139 S. Ct. at 1036. Parties      under the FDCPA’s primary definition. Id. at 1038. MWM
included under the primary definition are prohibited from        argues that Obduskey’s reasoning should be extended to apply
engaging in any of the unlawful debt collection practices        to a Pennsylvania judicial foreclosure and, by doing so, this
defined in the FDCPA. Obduskey, 139 S. Ct. at 1036. In           would exempt MWM from the FDCPA’s primary definition
contrast, the limited-purpose definition states                  of “debt collector.” (Doc. No. 13-1 at 13-16.) It contends
                                                                 that given the similarities between Colorado’s non-judicial
                                                                 foreclosure system—the state where the Obduskey case
            [f]or the purpose of [15 U.S.C. §                    originated—and Pennsylvania’s judicial foreclosure system,
            1692f(6)], [the] term [debt collector]               “Obduskey is highly persuasive that law firms that judicially
            also includes any person who uses any                enforce mortgages in Pennsylvania do not fall within the
            instrumentality of interstate commerce               [FDCPA’s “debt collector”] primary definition[.]” (Id. at 14.)
            or the mails in any business the                     Plaintiff, conversely, argues that Obduskey is inapplicable
            principal purpose of which is the                    because Pennsylvania is a judicial foreclosure state and in
            enforcement of security interests.                   Obduskey, “the Supreme Court limited [the] exclusion to non-
                                                                 judicial foreclosure actions.” (Doc. No. 14 at 9-10.)

15 U.S.C. § 1692a(6); Obduskey, 139 S. Ct. at 1036. Parties       *6 The Court will adopt Plaintiff’s argument. Despite
covered by limited-purpose definition are only prohibited        the well-reasoned and thoughtful arguments of MWM’s
from engaging in the acts defined in section 1692f(6) of the     counsel, the Court declines to extend Obduskey’s holding to
Act. Obduskey, 139 S. Ct. at 1036.                               Pennsylvania’s judicial foreclosure system given its express
                                                                 limitation to apply only to nonjudicial foreclosures. See
In the instant case, Plaintiff and MWM agree on certain facts.   Obduskey, 139 S. Ct. at 1038 (“[I]n this case, [ ] we consider
They agree that Pennsylvania is a judicial foreclosure state     nonjudicial foreclosures. And whether those who judicially
and that MWM initiated the judicial foreclosure process when     enforce mortgages fall within the scope of the primary
it filed a foreclosure complaint in state court. 4 (See Doc.     definition is a question we can leave for another day.... [T]he
                                                                 availability of a deficiency judgment is a potentially relevant


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distinction between judicial and nonjudicial foreclosures.”).
This decision aligns with the understanding of other district        [t]he judicial privilege ... extends to ‘communications
courts in this Circuit, as well as the decisions of the district     [ (1) ] which are issued in the regular course of judicial
courts in other Circuits. See e.g., Lloyd v. Pluese, Becker,         proceedings and [ (2) ] which are pertinent and material
Saltzman, LLC, No. 18-9420, 2019 WL 6113859, at *2,                  to the redress or relief sought.’ ” Gen. Refractories Co.
2019 U.S. Dist. LEXIS 199214, at *4-5 (D.N.J. Nov. 18,               v. Fireman’s Fund Ins. Co., 337 F.3d 297, 311 (3d Cir.
                                                                     2003) (quoting Post v. Mendel, 510 Pa. 213, 507 A.2d
2019). 5 “Indeed, the few courts to have considered Obduskey
                                                                     351, 355 (Pa. 1986)). This privilege sweeps broadly to
... since it was decided have read the decision narrowly,
                                                                     protect “[a]ll communications pertinent to any stage of
and have specifically distinguished judicial foreclosures from
                                                                     a judicial proceeding,” Binder v. Triangle Publ'ns, Inc.,
nonjudicial foreclosures.” Id. Accordingly, the Court finds
                                                                     442 Pa. 319, 275 A.2d 53, 56 (Pa. 1971), including “not
that MWM is a “debt collector” under the FDCPA’s primary
                                                                     only ... communications made in open court, but also ...
definition and Plaintiff’s FDCPA claims are not defeated by
                                                                     pleadings and even less formal communications such
Obduskey.
                                                                     as preliminary conferences and correspondence between
                                                                     counsel in furtherance of the client’s interest,” Richmond
5      See also, Berg v. McCalla Raymer Leibert Pierce,              v. McHale, 35 A.3d 779, 785 (Pa. Super. Ct. 2012)
       LLC, 2019 WL 5592720, at *5 n.2, 2019 U.S.                    (internal quotation marks and emphasis omitted). Although
       Dist. LEXIS 187993, at *6 n.2 (N.D. Ill. Oct.                 the judicial privilege most often bars defamation suits,
       30, 2019) (explaining that Obduskey’s “holding                Pennsylvania courts have applied the privilege broadly to
       expressly did not affect cases involving judicial             confer “immunity from civil liability in the context of
       foreclosure proceedings”); Gold v. Shapiro, Dicaro            judicial proceedings.” Moses v. McWilliams, 379 Pa.Super.
       & Barak, LLC, 2019 WL 4752093, at *6, 2019 U.S.               150, 549 A.2d 950, 956-57 (Pa. Super. Ct. 1988).
       Dist. LEXIS 169028, at *16-17 (E.D.N.Y. Sept.
       30, 2019) (distinguishing judicial and nonjudicial          Schwartz v. OneWest Bank, FSB, 614 Fed. App'x. 80, 82-83
       foreclosures and declining to extend Obduskey’s             (3d Cir. 2015).
       holding to a judicial foreclosure); Flowers v.
       Baltax 2017, LLC, 2019 WL 3501584, at *4,                   Pennsylvania’s absolute judicial privilege requires that the
       2019 U.S. Dist. LEXIS 129347, at *11-12 (D.                 immunized statements must be made in the course of
       Md. Aug. 1, 2019) (in an FDCPA case premised                practicing law. See Yelin v. Swartz, 790 F. Supp. 2d 331,
       on actions taken by a law firm in a judicial                338 (E.D. Pa. 2011) (explaining that “the mere fact that [a]
       foreclosure, holding that “Obduskey does not                defendant happens to be an attorney” does not automatically
       mandate dismissal of Plaintiff's FDCPA claims.”)            invoke the privilege.) In debt collection cases, context is
                                                                   critical: attorneys engaged in the mere attempt to collect
   B. Counts II and III Against MWM Will be Dismissed              a debt, without more, are not engaged in the practice
   Because the Claims are Barred by Pennsylvania’s                 of law. See id. (attorneys were not practicing law when
   Absolute Judicial Privilege.                                    they sent collection letters on behalf of their client). In
In Counts II and III, Plaintiff alleges violations of two          comparison, statements made in a state court foreclosure
Pennsylvania statutes. (See Doc. No. 1 at 20, 23.) Specifically,   complaint are considered to be “made in connection with
Count II alleges a violation of the FCEUA on the grounds           the attorney’s representation of his client in a judicial
that any violation of the FDCPA by a debt collector also           proceeding.” Schwartz, 614 Fed. App'x at 82-83 (quoting
constitutes an unfair or deceptive debt collection act or          Richmond, 35 A.3d at 786).
practice under the FCEUA. (Id. at 20.) Count III alleges a
violation of the UTPCPL on the grounds that any unfair or           *7 Here, Plaintiff’s Pennsylvania state law claims against
deceptive debt collection act or practice under the FCEUA by       MWM for violations of the FCEUA and UTPCPL must be
a debt collector constitutes a violation of the UTPCPL. (Id.       dismissed because they arise solely from statements MWM
at 23.) MWM argues that these Pennsylvania state law claims        made in the state court Foreclosure Complaint and MWM is
must be dismissed because they are barred by Pennsylvania’s        therefore immunized under Pennsylvania’s absolute judicial
absolute judicial privilege. The Court agrees.                     privilege. Specifically, the FCEUA and UTPCPL claims are
                                                                   predicated on the alleged violation of the FDPCA, which
In Pennsylvania,                                                   alleges that MWM “misstated that there [was] a default based


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                                                                       1984)). Absolute privilege, as its name implies, is precisely
upon the amount due and misstat[ed] the interest rate” in
                                                                       that: absolute; it provides a complete defense to an otherwise
“the [Foreclosure] Complaint and subsequent pleadings and
                                                                       plausible cause of action, even when the offense is a per se
exhibits[.]” (Doc. No. 1 at 18.) These allegedly-improper
                                                                       violation. See e.g., Matson v. Margiotti, 371 Pa. 188, 88 A.2d
statements were made to advance MWM’s clients’ arguments
                                                                       892 (Pa. 1952) (holding that the Pennsylvania State Attorney
in favor of obtaining a mortgage foreclosure. Such statements
                                                                       General’s absolute privilege provided immunity from civil
“reflect[ ] counsel’s efforts to share their clients’ litigation
                                                                       suit, despite his statements being libelous per se). Put simply,
positions ... and thus were ‘pertinent and material to the
                                                                       Pennsylvania’s absolute judicial privilege is not defeated
redress or relief sought’ in the foreclosure case,” Schwartz,
                                                                       by the State’s FDCPA-correlative statutory scheme. See id.
614 Fed. App'x at 83 (quoting Post, 507 A.2d at 355). As a
                                                                       Accordingly, the Court will dismiss Plaintiff’s FCEUA and
result, MWM is immunized from liability.
                                                                       UTPCPL claims against MWM because MWM is immunized
                                                                       from these claims under Pennsylvania’s absolute judicial
In her Response and during oral argument, Plaintiff
                                                                       privilege.
did not directly address Pennsylvania’s absolute judicial
privilege. Instead, she attacks the privilege by arguing that
Pennsylvania’s statutory framework denies MWM immunity.                V. CONCLUSION
(See Doc. No. 21 at 31.) Specifically, Plaintiff argues that           For the foregoing reasons, MWM’s Motion to Dismiss (Doc.
“the reason [MWM is] not immunized from [liability] is                 No. 13) will be granted in part and denied in part. Plaintiff’s
because of the per se violations under 73 P.S. § 2270.4, that          claims under the Pennsylvania FCEUA and UTPCPL against
a violation of the FDCPA is a violation of the [FCEUA]                 MWM will be dismissed with prejudice. However, the Court
and ... a violation of the [FCEUA] is a violation of the               will deny MWM’s Motion to Dismiss as it relates to Plaintiff’s
[UTPCPL].” (Id. at 31.) Plaintiff is incorrect. “Pennsylvania          FDCPA claim. An appropriate Order follows.
law has long held that ‘[a]ll communications pertinent to
any stage of a judicial proceeding are accorded an absolute
privilege which cannot be destroyed by abuse.’ ” Greenberg v.          All Citations
McGraw, 161 A.3d 976, 981 (Pa. Super. 2017) (quoting Smith
v. Griffiths, 327 Pa.Super. 418, 476 A.2d 22, 24 (Pa. Super.           Slip Copy, 2020 WL 703652


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Dolan v. PHL Variable Insurance Company
United States District Court, M.D. Pennsylvania. |       October 25, 2017 |   Not Reported in Fed. Supp. |
 2017 WL 4812308

Document Details                                                                     Outline
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                    (M.D. Pa. Oct. 25, 2017)                                         Firms (p.1)
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                                                                 Complaint will also be dismissed without prejudice because
                                                                 Plaintiffs have failed to adequately plead a fiduciary or
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                                                                 confidential relationship between the parties. Finally, Count
   Only the Westlaw citation is currently available.
                                                                 III of the Amended Complaint will be dismissed with
   United States District Court, M.D. Pennsylvania.
                                                                 prejudice because Plaintiffs' negligence claims are barred by
      Timothy and Ann DOLAN, et al., Plaintiffs,                 the economic loss doctrine.
                       v.
           PHL VARIABLE INSURANCE
           COMPANY, et al., Defendants.                                                 I. Background

            CIVIL ACTION NO. 3:15-CV-01987                       A. Factual Background
                            |                                    The facts, as set forth in Plaintiffs' Amended Complaint (Doc.
                   Signed 10/25/2017                             56), are as follows:

Attorneys and Law Firms                                          Plaintiffs Timothy and Ann Dolan, the Estate of Jean Dolan,
                                                                 Raymond and Elizabeth Flannery, Robert and Linda Gruner,
John G. Dean, Elliott Greenleaf & Dean, Scranton, PA,
                                                                 Virginia Hetherington, and Carmen Fierro (collectively
Thomas L. Kennedy, Kennedy and Lucadamo, Hazleton, PA,
                                                                 “Plaintiffs”) are alleged victims of a scheme perpetrated by a
for Plaintiffs.
                                                                 registered financial advisor, Joseph S. Hyduk (“Hyduk”), and
Andrew R. Kasner, Thomas F.A. Hetherington, Edison,              his company BNA Financial Services (“BNA”).
McDowell & Hetherington, LLP, Houston, TX, John B.
Dempsey, Myers, Brier & Kelly, LLP, Scranton, PA, David          Plaintiffs aver that Hyduk separately targeted each Plaintiff,
M. Skeens, J. Michael Vaughan, Paula L. Brown, Walters           held himself out as an agent of Defendants, and specifically
Bender Strohbehn & Vaughan PC, Kansas City, MO, James            presented each Plaintiff with investment opportunities with
J. Kutz, Jason G. Benion, Post & Schell, P.C., Emily H.          Defendants. Hyduk explained to Plaintiffs that their purchase
Edmunds, Saul Ewing LLP, Harrisburg, PA, Anthony S.              of annuities with Defendants would be a safe investment
Baish, Daniel C.W. Narvey, Paul F. Heaton, Godfrey &             option without risk to principal. Further, Hyduk explained
Kahn, S.C., Milwaukee, WI, Christopher F. Petillo, Timothy       to Plaintiffs that the minimum guaranteed return on these
J. O'Driscoll, Drinker Biddle & Reath LLP, Philadelphia, PA,     annuities would be one percent. Plaintiffs allege that to
Ben V. Seessel, Stephen J. Jorden, Carlton Fields Jorden Burt,   convince them to purchase annuities issued by Defendants,
P.A., Hartford, CT, for Defendants.                              Hyduk would often present Plaintiffs with pro forma
                                                                 statements prepared by Defendants, indicating the projected
                                                                 returns Plaintiffs would receive on their investment. Those
                    MEMORANDUM                                   statements allegedly helped convince Plaintiffs to rollover
                                                                 their existing investments to products issued by Defendants.
A. Richard Caputo, United States District Judge                  Notably, Plaintiffs do not aver that the pro formas provided
                                                                 false information.
 *1 Presently before this Court are four (4) motions to
dismiss Plaintiffs' Amended Complaint (Doc. 56) filed            To purchase annuities issued by Defendants, Plaintiffs
by Defendants Allianz Life Insurance Company of North            were required to complete applications. After having their
America (“Allianz”) (Doc. 64), North American Company            applications approved, Plaintiffs, through Hyduk, would
For Life and Health Insurance (“North American”) (Doc.           purchase annuities issued by Defendants. These purchases
65), PHL Variable Insurance Company (“PHL”) (Doc. 66),           would be accompanied by rollover forms identifying the
and Forethought Life Insurance Company (“Forethought”)           current plan information and the account being transferred.
(Doc. 67) (collectively “Defendants”). Because the Amended
Complaint fails to comport with Federal Rule of Civil            Following the purchase of an annuity, Hyduk would
Procedure 9(b) and fails to adequately plead a claim under       manipulate Plaintiffs into selling their investment for his own
the UTPCPL, Count I of the Amended Complaint will                gain. Hyduk profited by having his clients take withdrawals
be dismissed without prejudice. Count II of the Amended          subject to substantial fees and penalties from their annuities



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issued by Defendants. After receiving the refund checks,          On October 16, 2013, Hyduk's company was raided by the
instead of purchasing alternative investment products, Hyduk      Federal Bureau of Investigation. On August 4, 2014, charges
would keep those funds for his own benefit. Defendants also       were filed against Hyduk in this Court. 1 Subsequently,
profited from Hyduk's actions because they retained fees          Hyduk pled guilty to tax evasion and wire fraud. On July 30,
related to Plaintiffs early withdrawal.                           2015, he was sentenced to more than five years in prison.

 *2 Plaintiffs claim that Hyduk's rate of early withdrawals       1
                                                                          See United States v. Hyduk, No. 3:14-cr-00189
was unusually high and should have put Defendants on notice
                                                                          (M.D. Pa., 2014):“It was part of the scheme that
that Hyduk was not operating according to industry standards
                                                                          HYDUK would improperly divert funds from his
or in the best interest of their customers. The withdrawals
                                                                          clients to himself without his clients' knowledge
generally occurred within the first few years following the
                                                                          or consent. The majority of the diverted funds was
purchase of Defendants' annuities, thus causing Plaintiffs
                                                                          from clients who intended the money to be rolled-
to incur substantial surrender fees in connection with these
                                                                          over into different investments. HYDUK instructed
transactions. It is unclear what industry standard Plaintiffs
                                                                          them to make their checks payable to BNA
rely on and whether defendants were able to deny potentially
                                                                          Financial instead of the actual new investment
fraudulent withdrawal requests.
                                                                          company and deposited the funds into his own
                                                                          account and used the money for his personal
Plaintiffs further allege that Defendants ignored countless
                                                                          benefit.... ” (Doc 1, at ¶ 3.)
“red flags” that may have suggested that Hyduk was
defrauding his clients. Specifically, Plaintiffs allege that      In light of the foregoing events, on November 13, 2015,
Defendants ignored numerous transactions where the sale           Plaintiffs filed a three-count Complaint (Doc. 1) against
of annuities by Hyduk's clients resulted in substantial           Defendants. Plaintiffs' Complaint was dismissed in its entirety
surrender charges. Defendants also purportedly disregarded        without prejudice on November 22, 2016 due to its failure to
that Hyduk's clients' repeated withdrawal requests were often     comply with Federal Rules of Civil Procedure 8 and 9(b).
unaccompanied by rollover forms authorizing the transfer
of funds to purchase different investments offered by other       Plaintiffs timely filed an Amended Complaint on December
financial service providers. According to Plaintiffs, the         13, 2016. The Amended Complaint contains the following
volume of transactions in which Hyduk's victims requested         claims: (1) Count I alleging violations of Pennsylvania's
withdrawals in the absence of rollover forms was atypical         Unfair Trade Practices and Consumer Protection Law
and signaled a likelihood of criminal activity. Yet, despite      (“UTPCPL”); (2) Count II alleging a breach of fiduciary
the absence of rollover information, Defendants and their         duties by Defendants; and (3) Count III alleging negligence.
respective compliance departments failed to investigate           These are the exact claims contained in Plaintiffs' original
Hyduk or otherwise question the provision of services by their    complaint.
authorized agent. Again, it is unclear what standard is used by
Plaintiffs to deem Defendants' conduct atypical.                  Again, Defendants have moved to dismiss all claims with
                                                                  prejudice. (Docs. 64-67). These motions have been fully
Plaintiffs also allege that Hyduk converted the withdrawn         briefed and are ripe for disposition.
funds for his own use by asking Plaintiffs to endorse checks
for the funds directly to him. Defendants, however, allegedly
ignored the fact that the withdrawal forms were not signed by
                                                                                        II. Legal Standard
the annuity holder, and failed to conduct any due diligence
as to the conduct of Hyduk and the circumstances of these         A. Motion to Dismiss
withdrawal requests.
                                                                  Federal Rule of Civil Procedure 12(b)(6) provides for the
At bottom, Plaintiffs allege that, although numerous warning      dismissal of a complaint, in whole or in part, for failure to state
signs existed, Defendants failed to conduct even minimal due      a claim upon which relief can be granted. See FED. R. CIV.
diligence with respect to Hyduk's operations.                     P. 12(b)(6). When considering a Rule 12(b)(6) motion, the
                                                                  Court's role is limited to determining if a plaintiff is entitled
                                                                  to offer evidence in support of their claims. See Semerenko
B. Procedural History


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v. Cendant Corp., 223 F.3d 165, 173 (3d Cir. 2000). The
Court does not consider whether a plaintiff will ultimately         In deciding a motion to dismiss, the Court should consider
prevail. Id. A defendant bears the burden of establishing that      the allegations in the complaint. In addition to the allegations
a plaintiff's complaint fails to state a claim. See Gould Elecs.    found in the complaint, the court may examine “exhibits
v. United States, 220 F.3d 169, 178 (3d Cir. 2000).                 attached to the complaint, matters of public record,” and
 *3 “A pleading that states a claim for relief must contain ... a   “legal arguments presented in memorandums or briefs and
short and plain statement of the claim showing that the pleader     arguments of counsel.” Mayer, 605 F.3d at 230; Pryor,
is entitled to relief.” FED. R. CIV. P. 8(a). The statement         288 F.3d at 560. Additionally, the Court may consider
required by Rule 8(a)(2) must give the defendant fair notice        “undisputedly authentic” documents when the plaintiff's
of what the ... claim is and the grounds upon which it rests.       claims are based on the documents and the defendant has
Erickson v. Pardus, 551 U.S. 89, 93, 127 S. Ct. 2197, 167           attached copies of the documents to the motion to dismiss.
L.Ed. 2d 1081 (2007) (per curiam) (quoting Bell Atl. Corp.          Am. Corp. Soc. v. Valley Forge Ins. Co., 424 Fed.Appx. 86
v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L.Ed.           (3d Cir. 2011) (citing Pension Benefit Gaur. Corp. v. White
2d 929 (2007)). Detailed f actual allegations are not required.     Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993)). A Court
Twombly, 550 U.S. at 555, 127 S. Ct. 1955. However, mere            may also consider a “document integral or explicitly relied
conclusory statements will not do; “a complaint must do             upon in the complaint.” In Re Burlington Coat Factory Sec.
more than allege the plaintiff's entitlement to relief.” Fowler     Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (Alito, J.). At
v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009).                bottom, documents may be examined by this Court when
Instead, a complaint must “show” this entitlement by alleging       ruling on a motion to dismiss when Plaintiff had proper notice
sufficient facts. Id. “While legal conclusions can provide the      of the existence of the documents. Id. The Court need not
framework of a complaint, they must be supported by factual         assume the plaintiff can prove facts that were not alleged
allegations.” Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937,     in the complaint, see City of Pittsburgh v. W. Penn Power
1950, 173 L.Ed. 2d 868 (2009). As such, “[t]he touchstone           Co., 147 F.3d 256, 263 & n.13 (3d Cir. 1998), or credit a
of the pleading standard is plausability.” Bistrian v. Levi, 696    complaint's “ ‘bald assertions’ ” or “ ‘legal conclusions.’ ”
F.3d 352, 365 (3d Cir. 2012).                                       Morse v. Lower Merion Sch. Dist., 132 F.3d 902, 906 (3d Cir.
                                                                    1997) (quoting In re Burlington Coat Factory Sec. Litig., 114
The inquiry at the motion to dismiss stage is “normally broken      F.3d 1410, 1429–30 (3d Cir. 1997)).
into three parts: (1) identifying the elements of the claim,
(2) reviewing the complaint to strike conclusory allegations,
and then (3) looking at the well-pleaded components of
                                                                                           III. Discussion
the complaint and evaluating whether all of the elements
identified in part one of the inquiry are sufficiently alleged.”
                                                                     *4 Defendants advance a number of identical arguments 2
Malleus v. George, 641 F.3d 560, 563 (3d Cir. 2011).
                                                                    seeking dismissal of the Amended Complaint in its entirety.

Dismissal is appropriate only if, accepting as true all the
                                                                    2
facts alleged in the complaint, a plaintiff has not pleaded                Where a single Defendant has raised an argument
“enough facts to state a claim to relief that is plausible on its          not raised by its co-Defendants it will be noted
face,” Twombly, 550 U.S. at 570, 127 S. Ct. 1955, meaning                  below.
enough factual allegations “ ‘to raise a reasonable expectation
that discovery will reveal evidence of’ ” each necessary            A. The Amended Complaint's Compliance with the
element. Phillips v. County of Allegheny, 515 F.3d 224, 234         Federal Rules of Civil Procedure
(3d Cir. 2008) (quoting Twombly, 550 U.S. at 556, 127 S. Ct.
                                                                      1. Federal Rule of Civil Procedure 9(b)
1955). “The plausibility standard is not akin to a ‘probability
                                                                    Defendants first argue that Counts I and II of Plaintiffs'
requirement,’ but it asks for more than a sheer possibility
                                                                    Amended Complaint should be dismissed for non-compliance
that a defendant has acted unlawfully.” Iqbal, 556 U.S. at
                                                                    with Federal Rule of Civil Procedure 9(b). Remember, Rule
678, 129 S. Ct. 1937. “When there are well-pleaded factual
                                                                    9(b) was fatal to Plaintiffs' original complaint. Defendants
allegations, a court should assume their veracity and then
                                                                    contend that many of the infirmities in Plaintiffs' Complaint
determine whether they plausibly give rise to an entitlement
                                                                    were not cured by the Amended Complaint.
to relief.” Id. at 679, 129 S. Ct. 1937.



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Federal Rule of Civil Procedure 9(b) sets forth a heightened         *5 Further, the Amended Complaint fails to identify a
pleading requirement for claims of fraud or mistake.                misrepresentation made by the Defendants. Rather, Plaintiffs
Specifically, the Rule requires that “[i]n all averments of fraud   seem to rely on Defendants' failure to realize that Hyduk
or mistake, the circumstances constituting fraud or mistake         was committing a fraud. For example, a principal contention
shall be stated with particularity.” FED. R. CIV. P. 9(b). In       made by Plaintiffs is that Defendants failed to identify a
other words, “[a] plaintiff alleging fraud must ... support its     number of so-called “red flags” which ultimately caused
allegations with all of the essential factual background that       injury to Plaintiffs. To that end, Plaintiffs repeatedly refer to
would accompany the first paragraph of any newspaper story          the “unusually high” number of early withdrawal requests
—that is, the who, what, when, where and how of the events          made by Hyduk as a “red flag” that should have alerted
at issue.” U.S. ex rel. Moore & Co., P.A. v. Majestic Blue          Defendants' to a potential fraud. But, the Amended Complaint
Fisheries, LLC, 812 F.3d 294, 307 (3d Cir. 2016) (citing In         includes no averment related to the frequency of requests, the
re Rockefeller Ctr. Props., Inc. Securities Litig., 311 F.3d        type of requests made, or for which Plaintiffs requests were
198, 217 (3d Cir. 2002)). Additionally, Rule 9(b) requires          made. Rather, the Amended Complaint supports its position
plaintiffs “plead with particularity the ‘circumstances’ of the     through the use of generalities (see, e.g., Am. Coml. ¶¶ 88-89
alleged fraud in order to place the defendants on notice of         (using phrases such as “unusually high” and “on occasion.”).)
the precise misconduct with which they are charged, and to          Also, Plaintiffs claim that many withdrawal forms submitted
safeguard defendants against spurious charges of immoral            by Hyduk were forged and “should have been easily identified
and fraudulent behavior.” Lum, 361 F.3d at 223-24 (quoting          by [Defendants'] compliance department[s].” (see, e.g., Am.
Seville Indus. Mach. Corp. v. Southmost Mach. Corp., 742            Compl. ¶¶ 89, 149, 267.) Plaintiffs reference no specific
F.2d 786, 791 (3d Cir. 1984)). “Plaintiffs also must allege who     signature that was forged, or injury caused by such forgery.
made a misrepresentation to whom and the general content of         In fact, Plaintiffs made the averment on “information and
the misrepresentation.” Id. at 224.                                 belief,” which compounds the factual deficiency present here.
                                                                    See UHS of Del., Inc. v. United Health Servs., No.12-485,
This Court noted in its November 22, 2016 Memorandum that           2015 WL 7294454, *7 (M.D. Pa. Nov. 19, 2015). Put simply,
Plaintiffs' claims predicated on the UTPCPL and an alleged          these “red flags” fail to meet the standard required under 9(b).
breach of a fiduciary duty implicate Rule 9(b). The Amended
Complaint has not altered this Court's earlier analysis, and        Moreover, Plaintiff liters the Amended Complaint with
thus it is still the opinion of this Court that these claims        conclusory statements in an attempt to satisfy the mandate of
are subject to Rule 9(b). However, there is a question as to        Rule 9(b). For example, Plaintiffs claim that “Hyduk was not
whether the Amended Complaint now satisfies the mandates            operating in accordance with industry standards.” (see, e.g.,
of the Rule.                                                        Am. Compl. ¶¶ 88, 148.) No averment was made to suggest
                                                                    an industry standard, or show what conduct of a Defendant
Unfortunately, Plaintiffs have again failed to include              was in question.
averments that sufficiently establish the who, what, when,
where, and how of the alleged fraud and thus fail to                Finally, as specifically noted by Defendant North American,
satisfy the requirements of Rule 9(b). This Court's November        in some respects the Amended Complaint created more
22, 2016 Memorandum specifically noted that Plaintiffs              questions than it answered. For example, in the Amended
needed to make clear exactly what misrepresentations or             Complaint Plaintiffs aver that the alleged misrepresentations
fraudulent conduct related to each Defendant and impacted           were made “in person (typically at the victim's home) and on
each Plaintiff. In other words, the Amended Complaint               the telephone.” (Am. Compl. ¶¶ 57, 118, 188, 241.) Such a
needed to refrain from referring to the parties as collective       statement does not provide nearly enough information for a
entities, and provide additional information regarding the          Defendant to properly respond. In fact, it leaves this Court
who, what, when, where, and how of the alleged fraud.               and Defendants with more questions: What was discussed
While the Amended Complaint has made strides to discuss             at these meetings?; Was each Defendants' product pitched to
each Defendant individually, the averments against individual       a potential victim or was it just one Defendants' product?;
Defendants are regularly asserted by a collective set of            Were the alleged misrepresentations made in the home as was
Plaintiffs. As was explained in the earlier Memorandum, such        typical, or over the phone? The fact that these basic questions
pleading runs afoul of Rule 9(b).                                   remain unanswered illustrates why Rule 9(b) has not been
                                                                    satisfied.



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                                                                    broker would mean that Hyduk was Plaintiffs' agent. If
Because the Amended Complaint fails to comply with Rule             accepted, it follows that Defendants would not be liable
9(b), Count I and II of the will be dismissed.                      for any acts undertaken by Hyduk because no agency
                                                                    relationship existed. Plaintiffs disagree and argue that even
                                                                    if Hyduk is considered a broker, he may still be considered
  2. Federal Rule of Civil Procedure 8                              Defendants' agent. Further, Plaintiffs contend that discovery
Defendants Forethought and North American argue that                is necessary when an agency relationship is alleged, and
Count III of Plaintiffs' Amended Complaint remains                  therefore this Court may not dismiss claims predicated on
noncompliant with the mandates of Federal Rule of Civil             such a relationship at this stage of litigation.
Procedure 8. However, this is incorrect.
                                                                    As an initial matter, this Court is able to evaluate whether
Federal Rule of Civil Procedure 8 provides “that any pleading       or not Plaintiffs have properly pled an agency relationship
that includes a claim for relief shall contain a ‘short and plain   when reviewing a motion to dismiss. Plaintiffs rely on a
statement of the claim showing that the pleader is entitled         number of cases to suggest that “discovery is necessary when
to relief.’ ” In re Westinghouse Securities Litigation, 90          an agency relationship is alleged,” and this Court agrees.
F.3d 696, 702 (3d Cir. 1998) (Alito, J) (citing FED.R.CIV.P.        (See, e.g., Doc. 77, at 20-21.) However, this does not mean
8(a)(2)). Rule 8 further provides that “each averment of a          that a plaintiff may survive a motion to dismiss if they
pleading shall be simple, concise, and direct.” Fed.R.Civ.P.        offer solely conclusory or insufficient statements to imply an
8(e)(1). “Taken together, Rules 8(a) and 8(e)(1) underscore         agency relationship. See Jurimex Kommerz Transit G.M.B.H.
the emphasis placed on clarity and brevity by the federal           v. Case Corp., 65 Fed.Appx. 803, 808 (3d Cir. 2003) (noting
pleading rules.” In re Westinghouse Securities Litigation, 90       that plaintiffs are required to “allege facts sufficient to allow
F.3d at 702 (citing Charles A. Wright & Arthur R. Miller,           [an agency relationship] to be proven at trial, but is not
Federal Practice and Procedure § 1217 at 169 (2d ed. 1990)).        required to have extensive proof at the complaint stage.”);
Further, the statement required by Rule 8(a)(2) must give the       My Space Preschool & Nursery, Inc. v. Capitol Indem. Corp.,
defendant fair notice of what the plaintiff's claim is and the      No. 14-2826, 2015 WL 1185959, at *4 (E.D. Pa. Mar. 13,
grounds upon which it rests. Erickson v. Pardus, 551 U.S.           2015) (dismissing a claim for failure to properly allege an
89, 93 (2007). Detailed factual allegations are not required.       agency relationship). Thus, dismissal is proper when no
Twombly, 550 U.S. 544, 555 (2007).                                  agency relationship is adequately alleged. For these reasons,
                                                                    this Court may determine whether or not Plaintiffs have pled
Put simply, the Amended Complaint satisfies the                     facts sufficient to survive a motion to dismiss.
requirements of Rule 8. The infirmity identified by this Court
in the original complaint has been cured. Defendants are            The Pennsylvania Supreme Court has held that an insurance
on fair notice of the claims asserted by Plaintiffs in Count        broker is considered the agent of the insured when the insured
III. And, Defendants suggestion otherwise would be akin to          employs a broker to choose an insurer. Transgaurd Ins. Co.
requiring a heightened pleading standard, like that of Rule         of Am. Inc., v. Hinchey, 464 F. Supp. 2d 425, 431 (M.D. Pa.
9(b), for traditional negligence claims. Such a decision would      2006) (citing Taylor v. Crowe, 282 A.2d 682, 683 (Pa. 1971)).
be inappropriate.                                                   But, this does not mean that a broker may never be considered
                                                                    an agent of an insurer. Rather, “in some situations, a broker
 *6 Therefore, Count III of Plaintiffs' Amended Complaint           can be considered an agent for the insured in some respects
will not be dismissed for non-compliance with Federal Rule          and an agent for the insurer in other respects.” Fisher v. Aetna
of Civil Procedure 8.                                               Life Ins. & Annuity Co., 39 F. Supp. 2d 508, 514 (M.D. Pa.
                                                                    1998) (Caputo, J.). “The agency status of a broker depends
                                                                    on the relationship between the broker and the insured as well
B. Defendants' Vicarious Liability for the Actions of
                                                                    as the broker and the insurer.” Id. A broker will likely be
Hyduk
                                                                    considered an agent of the insurer if there is evidence that
One of the bedrock disputes between the parties is whether
                                                                    the broker had the insurers “apparent, if not actual authority.”
Hyduk should be considered Defendants' agent. Defendants
                                                                    Id. So, here, Plaintiffs must provide averments related to the
argue that Hyduk should not be considered an agent of
                                                                    relationship between the Defendant-insurers and the Plaintiffs
their insurance companies, but rather should be considered
                                                                    sufficient to suggest an agency relationship exists.
a broker. Defendants suggest that designating Hyduk as a


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                                                                    Defendant Allianz argues that Plaintiffs' Amended Complaint
 *7 Plaintiffs do provide some averments related to a               should be dismissed in its entirety because its claims
potential agency relationship between the Plaintiffs and            are time-barred to the extent that they are predicated on
Defendants. However, the averments made are not sufficient          representations associated with their annuity purchases. To
to survive a motion to dismiss. Many of the averments raised        support their position, Defendant Allianz has provided the
by Plaintiffs are identical for each Defendant. For example,        contracts for annuities that were expressly implicated by the
Plaintiffs aver that “Hyduk as an agent of [Defendants],            Complaint. These documents show that all of the Allianz
targeted Plaintiffs for investment opportunities....” (see,         annuities referenced in Plaintiffs' Amended Complaint were
Am. Compl. ¶¶ 57, 118,188, 241.) Such statement, a                  purchased in 2008 and 2009; the most recent policy issued
mere conclusion related to agency, is not considered when           in June of 2009. Defendants suggest that Plaintiffs' UTPCPL
analyzing a motion to dismiss. 3 Additionally, Plaintiffs           claim is subject to a six-year statute of limitations, and
aver the existence of contractual agreements between each           Plaintiffs' remaining claims are subject to a two-year statute
Defendant and Hyduk. These agreements generally referred            of limitations. Since this action was not filed until October
to Hyduk as an “agent” and set forth the terms by which             13, 2015, it would follow that all claims brought by Plaintiffs
Hyduk was to sell Defendants' annuities. Plaintiffs posit that      against Allianz would be time barred.
reference to Hyduk as an “agent” in these agreements and
various other marketing forms is sufficient to survive the          Plaintiffs do not suggest that Defendants argument is
instant motions to dismiss. But, this is incorrect; “[a]gency       incorrect. Rather, Plaintiffs posit that Defendants may not
contracts alone are not sufficient to establish agency between      argue that claims are barred by the statute of limitations in a
a broker and an insurer.” Hartford Cas. Ins. Co. v. ACC             motion to dismiss when the bar is not “apparent on the face
Meat Co., LLC, No. 10-1875, 2012 WL 4506059, at *8                  of the complaint.” (Doc. 76, at 25 (citing Schmidt v. Skolas,
(M.D. Pa Apr. 26, 2012) (citing Kairys v. Aetna Cas. & Sur.         770 F.3d 241, 249 (3d Cir. 2014)).) Plaintiffs also suggest that
Co., 461 A.2d 269, 273 (Pa. Super. Ct. 1983)) report and            the documents referenced by Defendant Allianz must not be
recommendation adopted 2012 WL 4504600 (M.D. Pa Oct.                considered to determine whether the action is barred by the
1, 2012) (Connor, J). In Hartford Casualty, a contract that         statute of limitations because the contents of those documents
permitted an “agent” to “solicit, quote, and provide customary      are not “apparent on the face of the complaint,” and the claims
insurance services” on behalf of an insurer to members of the       asserted by Plaintiffs are not “based” on those documents.
public was insufficient to “overcome the presumption ... that       (Doc. 76, at 25-26.) In this regard, Plaintiffs are incorrect;
the broker is the agent of the insured, not the insurer.” Id. The   these documents may be examined. 4
facts pled in Plaintiffs' Amended Complaint provide a nearly
identical scenario. As was the case in Hartford Casualty, this      4      It is well-settled that this Court may consider
Court will find that such a contract is insufficient to establish          “undisputedly authentic” documents when a
an agency relationship.                                                    plaintiff's claims are based on the documents and
                                                                           a defendant has attached copies of the documents
3                                                                          to the motion to dismiss. Am. Corp. Soc. v.
        Additional conclusory statements related to agency
        exist across averments against all four Defendants.                Valley Forge Ins. Co., 424 Fed.Appx. 86 (3d
        For example, Plaintiffs claim that “Hyduk's                        Cir. 2011) (citing Pension Benefit Gaur. Corp. v.
        conduct occurred during his agency relationship                    White Consol. Indus., 998 F.2d 1192, 1196 (3d Cir.
        with [Defendants].” Again, statements like this will               1993)). A Court may also consider a “document
        not be considered during a motion to dismiss.                      integral or explicitly relied upon in the complaint.”
                                                                           In Re Burlington Coat Factory Sec. Litig., 114
Since pleading related to an agency contract and marketing
                                                                           F.3d 1410, 1426 (3d Cir. 1997) (Alito, J.). Here,
materials are the only statements offered by Plaintiffs
                                                                           Plaintiffs have explicitly cited to the documents
to suggest an agency relationship, Defendants are owed
                                                                           in question in the Amended Complaint. For this
dismissal for all claims relying on an agency relationship
                                                                           reason, the documents may be considered when
between Hyduk and the various Defendants.
                                                                           deciding Defendant Allianz's Motion to Dismiss.
                                                                     *8 However, Plaintiffs claims are not time-barred because
C. Timeliness of Plaintiffs' Amended Complaint                      the injury alleged by Plaintiff is not solely based on



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representations made by Hyduk or Defendants at the time             decision.’ ” Seldon v. Home Loan Servs., 647 F. Supp. 2d
the annuities were purchased, but on the withdrawal of funds        451, 466 (E.D. Pa. 2009) (citing Fay v. Erie Ins. Grp., 723
and continued fraud perpetrated by Hyduk. No dates exist on         A.2d 712, 714 (Pa. Super. Ct. 1999)). As with all claims under
the face of the complaint, or within the documents submitted        the UTPCPL, Plaintiffs must also allege justifiable reliance,
by Defendant Allianz, to suggest that these claims would be         causation, and an ascertainable loss. See Baker v. Family
time-barred simply because Plaintiffs could have known that         Credit Counseling Corp., 440 F. Supp. 2d 392, 412 (E.D.
early withdrawal charges existed in 2008 and 2009. Stated           Pa. 2006) (citing Tran v. Metro. Life Ins. Co., 408 F.3d 130,
differently, the application of the statute of limitations is not   140-41 (3d Cir. 2005); Seldon, 647 F. Supp. 2d at 467.
“obvious,” and the application of the statute of limitations
is “reasonably susceptible to dispute.” Javaid v. Weiss, 2011        *9 Here, Plaintiffs' claim fails because Plaintiffs have
WL 6339838, at *10 (M.D. Pa. Dec. 19, 2011). As such, it            not alleged that Defendants made a false representation.
would be inappropriate to dismiss Plaintiffs' claims against        To support their claim, Plaintiffs contend that documents
Defendant Allianz as untimely.                                      provided by Defendants–such as pro formas and marketing
                                                                    materials–“falsely advertised that the annuities were safe, risk
                                                                    free investment vehicles.” (See, e.g., Doc. 76, at 12). But, no
D. Count I: UTPCPL Claims                                           such allegation is made in the Amended Complaint. Rather,
Pennsylvania's UTPCPL makes it unlawful for individuals or          Plaintiffs only aver that these documents “convinced” the
businesses to engage in unfair or deceptive acts or practices.      defendants to purchase the annuities, and that the documents
Defendants contend that Count I of Plaintiffs' Amended              created the impression that the annuities were “safe risk free
Complaint should be dismissed because Plaintiffs fail to plead      investment vehicles.” (See, e.g., Am. Compl. ¶¶ 203-205).
a false statement or misrepresentation made by Defendants           There is no question that Plaintiffs regularly note that Hyduk
and similarly fail to plead that they justifiably relied upon       used these documents to support his fraud. (See, e.g., Am.
Defendants' supposed misrepresentation as required by the           Compl. ¶¶ 198-202). However, Hyduk's misrepresentations
UTPCPL.                                                             will not be imputed to the Defendants, and no averment exists
                                                                    within the Amended Complaint to suggest that the pro formas
“In order to state a claim under the UTPCPL, a plaintiff            or marketing materials provided by Defendants were false.
must allege one of the unfair or deceptive trade practices set      For this reason, the facts as pled do not support a claim under
forth in 73 P.S. § 201-2(4)(i)-(xxi).” Freeny v. Disston Manor      § 201-2(4)(v).
Personal Care Home, 849 A, ed 590, 597 (Pa. Super. Ct.
2004), appeal denied, 581 Pa. 691 (2004). Plaintiffs cite four
sections of the UTPCPL in the Amended Complaint. Each                  (2) Plaintiffs fail to allege a claim under 73 P.S. §§
alleged unfair or deceptive trade practice alleged is discussed        201-2(4)(ii),(iii)
below:                                                              Next, Plaintiffs allege claims of misrepresentation of services
                                                                    and misrepresentation of association under 73 P.S. §§
                                                                    201-2(4)(ii)-(iii). The UTPCPL defines a misrepresentation
   (1) Plaintiffs fail to allege a claim under 73 P.S. §            of services as an act “causing likelihood of confusion or
   201-2(4)(v)                                                      of misunderstanding as to the source, sponsorship, approval
Plaintiffs first argue that the Amended Complaint adequately        or certification of goods or services.” 73 P.S. §§ 201-2(4)
pleads a claim under 73 P.S. § 201-2(4)(v). This provision          (ii) On the other hand, a misrepresentation of association
of the UTPCPL notes that it is an “unfair or deceptive              is defined as an act “causing likelihood of confusion or of
act” to “[r]epresent that goods or services have sponsorship,       misunderstanding as to affiliation, connection or association
approval, characteristics, ingredients, uses, benefits or           with, or certification by, another.” 73 P.S. §§ 201-2(4)(iii).
quantities that they do not have or that a person has a             Like all claims under the UTPCPL, a plaintiff is required to
sponsorship, approval, status, affiliation or connection that       plead justifiable reliance, causation, and an ascertainable loss.
he does not have.” 73 P.S. § 201-2(4)(v). In laymans terms,         See Baker, 440 F. Supp. 2d at 412; Seldon, 647 F. Supp 2d
it is unlawful to falsely advertise. “In order to set forth         at 467.
a claim under this provision of the UTPCPL, a plaintiff
must allege: (1) 'a defendant's representation is false; (2) ‘it    In addition to the normal pleading requirements for
actually deceives or has a tendency to deceive’; and (3) ‘the       a UTPCPL claim, a plaintiff raising a claim of
representation is likely to make a difference in the purchasing     misrepresentation of services must plead that the defendants


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“representations were likely to cause confusion or                 Pa. 2002). Further, the Third Circuit has held that “a defendant
misunderstanding.” Id.; accord 73 P.S. §§ 201-2(4)(ii). Here,      cannot be held ‘derivatively liable’ under the UTPCPL for the
Plaintiffs posit that the Defendants' use of “suitability”         fraudulent action of a third party when ‘plaintiff fails to allege
forms or questionnaires caused a misunderstanding that             or present any evidence that [the defendant] ever knowingly
Defendants' annuities were appropriate investment vehicles         engaged in misrepresentation.’ ” Belmont v. MB Inv. Partners,
for Plaintiffs. But, Plaintiffs never allege that the annuities    708 F.3d 470, 499 (3d Cir. 2013) (citing Canty v. Equicredit
were inappropriate for Plaintiffs, or that they were confused      Corp. of Am., No. 01-5804,2003 WL 21243268, at *3 (E.D.
about the meaning of the so-called suitability forms. Rather,      Pa. May 8, 2003)).
the core of Plaintiffs argument is that they fell victim to a
fraud perpetrated by Hyduk, not that they were confused by          *10 As discussed earlier in this Opinion, Plaintiffs have
a representation made by Defendants. In fact, it is undisputed     failed to meet the pleading requirements under Rule 9(b).
that Plaintiffs were aware of the potential fees associated with   Therefore, this claim will be dismissed. Additionally, this
the early termination of their annuities. Any pled confusion       claim will be dismissed because Plaintiffs are attempting to
or misunderstanding is not attributed to the marketing efforts     hold Defendants derivatively liable for a fraud committed by
of Defendants, but rather to Hyduk's fraud. Thus, Plaintiffs       Hyduk where they have not pled that Defendants “knowingly
have failed to adequately plead a claim for misrepresentation      engaged in misrepresentation.” For these reasons, Plaintiffs
of services under the UTPCPL because Plaintiffs have not           claim under the catch-all provision of the UTPCPL will be
adequately pled that a representation made by Defendant            dismissed.
likely confused Plaintiffs and caused an ascertainable loss.

Similarly, Plaintiffs claim for misrepresentation of               E. Count II: Breach of Fiduciary Duty 5
association fails. While Plaintiffs have sufficiently pled         5     As noted above, Count II of the Amended
that materials provided by Defendants may have caused                    Complaint will be dismissed due to its failure
a misunderstanding as to Hyduk's “affiliation, connection                to comply with Federal Rule of Civil Procedure
or association, with” Defendants, Plaintiffs have failed to              9(b). The following analysis does not supplant, but
plead that this misunderstanding caused their harm. Plaintiffs           rather supplements that analysis and provides an
never pled that confusion related to Hyduk's association with            alternative justification for dismissal.
the Defendants caused Plaintiffs to suffer losses related to
the early withdrawal fees assessed by Defendants. Because          Next, Defendants contend that Count II of Plaintiffs'
Plaintiffs failed to plead a causal connection between the         Second Amended Complaint should be dismissed because
alleged misrepresentation and the harm suffered, Plaintiffs        Plaintiffs fail to allege that Defendants entered a fiduciary
claim for misrepresentation of association under the UTPCPL        or confidential relationship with any given Plaintiff, and
will be dismissed. See Seldon, 647 F. Supp. 2d at 467              therefore no fiduciary duty was owed. Defendants are correct.
(noting that causation is an element “essential to any UTPCPL
claim”).                                                           In order to allege a breach of fiduciary duty, “a plaintiff
                                                                   must establish that a fiduciary or confidential relationship
                                                                   existed between her and the defendants.” Baker, 440 F. Supp.
   (3) Plaintiffs fail to allege a claim under 73 P.S. §           2d 392, 414 (E.D. Pa. 2006) (citing Harold v. McGann,
   201-2(4)(xxi)                                                   406 F. Supp. 2d 562, 571 (E.D. Pa. 2005); see Mifflinburg
Finally, Plaintiffs allege a claim under the UTPCPL's catch-all    Tel., Inc. v. Criswell, No. 14-0612, 2017 WL 4310187,
provision, 73 P.S. 201-2(4)(xxi). As explained in this Court's     *26 (M.D. Pa. Sept. 28, 2017). In the insurance context,
earlier Memorandum, this claim sounds in fraud and requires        contracts give rise to a fiduciary relationship under special
not only pleading compliant with Federal Rule of Civil             circumstances indicating “overmastering influence.” See In
Procedure 9(b), but requires Plaintiffs plead the common law       re Prudential Ins. Co. of Am. Sales Practices Litig., 975
elements of fraud. The common law elements of fraud are:           F. Supp. 584, 617 (D.N.J. 1996) (analyzing Pennsylvania
“(1) misrepresentation of a material fact; (2) scienter; (3)       law). “[T]he critical question is whether the relationship goes
intention by the declarant to induce action; (4) justifiable       beyond mere reliance on superior skill, and into a relationship
reliance by the party defrauded upon the misrepresentation;        characterized by ‘overmastering influence’ on the one side
and (5) damages to the party defrauded as a proximate result.”     or ‘weakness, dependence, or trust, justifiably reposed’ on
Piper v. Am. Nat'l Life Ins. Co., 228 F. Supp 2d 553, 560 (M.D.    the other side.” eToll, Inc. v. Elias/Savion Advertising, Inc.,


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811 A.2d 10, 22 (Pa. Super. Ct. 2002) (citing Basile v.             facts simply do not support a finding that the Defendants were
H&R Block, 777 A.2d 95,101 (Pa. Super. Ct. 2001). A                 in a fiduciary relationship with Plaintiffs.
confidential relationship is slightly different. “Although no
precise formula has been devised to ascertain the existence         Having failed to affirmatively plead facts necessary to
of a confidential relationship, it has been said that such a        establish a fiduciary relationship, Plaintiffs argue that a per se
relationship exists whenever one occupies toward another            fiduciary relationship is created when there is an agreement
such a position of advisor or counselor as reasonably to            between an annuity carrier (an insurer) and the beneficiaries
inspire confidence that he will act in good faith for the           of an annuity. To support this position Plaintiffs rely solely
other's interest.” Silver v. Silver, 219 A.2d 659, 662 (Pa.         on a decision by the Lackawanna County Court of Common
1966). Further, the relevant case law suggests that whether a       Pleas: Beecham v. American Life & Cas. Ins. Co., 63 D. &
fiduciary duty arises “depends not on the goods or services         C. 4.th. 52, 64-65 (C.C.P. Lackawanna 2003). In Beecham,
that are the subject of the transaction, but the character of       the court held that a fiduciary relationship exists between
the relationship between the parties.” See. e.g., See Hatch v.      an annuity carrier and the beneficiaries of the annuity. Id.
Prudential Fin., Inc., No. 05-2050, 2006 WL 3325636, at             While this case clearly supports Plaintiffs' position, it will
*4-5 (M.D. Pa. Nov. 14, 2006).                                      not be followed here for two reasons. First, in rendering
                                                                    its unpublished decision, the Beecham Court did not cite a
Here, neither a fiduciary nor confidential relationship has         single authority to support the contention that a fiduciary
been properly pled.                                                 relationship exists simply because an annuity is involved.
                                                                    Second, case law within this District has suggested the
First, Plaintiffs have failed to plead “special or unusual facts”   opposite. See Hatch, 2006 WL 3325636, at *4-5; see also
that would indicate an “overmastering influence,” and thus          Smith v. John Hancock Ins. Co., No. 06-3876, 2008 WL
a fiduciary relationship. Generally, an insurance contract–         4072585, at * 7 (E.D. Pa. Sept. 2, 2008). For these reasons,
epitomizing the “quintessential arm's-length relationship           this Court will not conclude that there is a per se fiduciary
between buyer and seller”–is not accompanied by such                relationship between an annuity carrier and holder.
“special or unusual” facts as to create a fiduciary relationship.
See Keefe v. Prudential Property and Cas. Ins. Co., 203 F.3d        Second, Plaintiffs failed to plead that any Defendant served
218, 227 (3d Cir. 2000) (“Under Pennsylvania law, a fiduciary       Plaintiffs as “advisor or counselor” as to establish a
duty ... does not arise out of an insurance contract until the      confidential relationship. Plaintiffs pled no facts to suggest
insurer asserts a stated right to handle all claims asserted        that they were counseled or advised by Defendants. The
against the insured.”); Bank Trust Life Ins. Co. v. Union Nat'l     Amended Complaint includes no allegation that Plaintiffs
Bank, 776 F.2d 1174, 1177 (3d Cir. 1985) (“As a general rule,       discussed their annuities directly with Defendants, and
a life insurance company has no fiduciary obligation to the         there is no allegation that Plaintiffs received financial
beneficiary....”). Plaintiffs have not pled facts to suggest that   advice from Defendants. Further, Plaintiffs do not claim
special circumstances exist which would create a fiduciary          that Defendants recommended surrendering their annuities.
relationship between any one Plaintiff and any one Defendant.       Instead, Plaintiffs suggest that “pro formas and marketing
Therefore, a fiduciary relationship has not been properly pled.     materials” convinced Plaintiffs that they were being offered
                                                                    “safe, risk-free investment vehicles” by Defendants. Further,
 *11 Not only did Plaintiffs fail to plead “special or unusual”     Defendants have offered documentation to suggest that they
facts necessary to establish a fiduciary relationship, Plaintiffs   were never engaging in advisory services. 6 For example,
pled facts that illustrate Defendants lack of an “overmastering     the enrollment form provided by Defendant Forethought
influence.” For example, Plaintiffs' averments suggest that         specifically states: “Forethought Life Insurance Company
each Plaintiff had the opportunity to consider annuities from       does not offer legal, financial, tax, investment, or estate
each of the Defendants. In fact, the Amended Complaint              planning advice.” Moreover, that same form notes that
shows that many Plaintiffs obtained annuities from several          Plaintiffs had “the opportunity to seek such advice from the
different annuity providers. For this reason, it is hard to         proper sources before” purchasing the annuity. As such, no
imagine that any Defendant had an “overmastering” influence         facts pled suggest that a confidential relationship was created.
over any Plaintiff when Plaintiffs had the option to–and
seemingly did–seek out alternate providers if they were not         6       These documents may be reviewed on a motion to
pleased with the terms offered by a given Defendant. These
                                                                            dismiss. See Am. Corp. Soc., 424 Fed.Appx. at 86;


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        In Re Burlington Coat Factory Sec. Litig., 114 F.3d         doctrine does not apply to bar claims of negligent hiring or
        at 1426.                                                    supervision. Plaintiffs are incorrect.
Plaintiffs alternatively suggest that this analysis is
                                                                    At bottom, the “economic loss doctrine provides that ‘no
inappropriate upon review of a motion to dismiss because
                                                                    cause of action exists for negligence that results solely in
the “existence of a confidential relationship requires a fact-
                                                                    economic damages unaccompanied by physical injury or
sensitive inquiry not to be disposed rigidly as a matter of law.”
                                                                    property damage.’ ” Longenecker-Wells v. Benecard Servs.,
Yenchi v. Ameriprise Fin., Inc., 123 A.3d 1071, 1079 (citing
                                                                    658 Fed.Appx. 659, 661 (3d Cir. 2016) (citing Excavation
Basile, 777 A.2d at 101). Here, however, the question before
                                                                    Techs., Inc. v. Columbia Gas Co. of Pa., 985 A.2d 840, 841
the Court is not whether or not a confidential relationship
existed, but whether there has been adequate pleading to            n.3 (Pa. 2009)); see Azur v. Chase Bank, USA, 601 F.3d
support such a claim. Courts within the Third Circuit have          212, 222 (3d Cir. 2010). While it is true that the doctrine
regularly dismissed claims for failing to properly plead a          was born out of product liability claims, the doctrine has
                                                                    expanded to encompass negligence claims of a much wider
fiduciary or confidential relationship. See, e.g., Reginella
                                                                    variety. See Bohler-Uddeholm Am., Inc. v. Ellwood Grp.,
Constr. Co. Ltd. v. Travelers Cas. & Sur. Co. of Am., 949 F.
Supp. 2d 599, 613 (W.D. Pa. 2013) (“Even if [Plaintiff] were        Inc., 247 F.3d 79, 104 n.11 (3d Cir. 2001) (noting that
to prove every fact it alleges in its Complaint, it still would     the doctrine “developed in the context of courts' precluding
not be entitled to relief on its fiduciary duty claims, because     products liability tort claims....”); Lower Lake Doc Co. v.
the facts fail to establish that a fiduciary duty existed....”);    Messinger Bearing Corp., 395 Pa. Super. 456, 462-63 (Pa.
Minesweaser v. Prudential Ins. Co. of Am., No. 16-1172, 2016        Super. 1990) (stating that the doctrine “is not limited to
WL 5792778, at *5 (W.D. Pa. Oct. 4, 2016); In re Prudential         products liability, but has equal application in negligence
Ins. Co. of Am. Sales Practices Litig., 975 F. Supp. 584, 617       cases.”). 7 For example, the economic loss doctrine applies to
(D.N.J. 1996) (holding that Plaintiff failed to state a claim       claims of negligent supervision. See Estate of Clark v. Toronto
under Pennsylvania law and dismissal pursuant to Rule 12(b)         Dominion Bank, No. 12-6259, 2013 WL 1159014, *10 (E.D.
(6) was appropriate where no special circumstances had been         Pa. Mar. 21, 2013) (“[B]ecause the only damages which
pled to establish a fiduciary relationship). For this reason,       Plaintiff alleges it sustained as a consequence of Defendant's
this Court may consider whether Plaintiffs have properly            alleged negligence and negligent supervision in this case are
pled facts necessary to support a fiduciary or confidential         solely economic in nature, we find that these claims are barred
relationship.                                                       by operation of the economic loss doctrine.”); Flannery v. Mid
                                                                    Penn Bank, No. 08-0685, 2008 WL 5113437, *7 (M.D. Pa.
 *12 Finally, Plaintiffs claim that Defendants entered into a       Dec. 3, 2008).
fiduciary or confidential relationship with Plaintiffs through
their agent, Hyduk. As described above, Plaintiffs have not         7
                                                                           See, e.g., Longenecker-Wells, 658 Fed.Appx. at
properly pled an agency relationship between Hyduk and                     661-62 (applying the doctrine to a negligence
Defendants. As such, this argument is unpersuasive.                        claim related to an illegal data breach that only
                                                                           caused economic harm); Sovereign Bank v. BJ's
Because neither a fiduciary nor confidential relationship has              Wholesale Club, Inc., 533 F.3d 162, 177-78 (3d Cir.
been sufficiently pled, Defendants' Motions to Dismiss should              2008) (holding that the doctrine barred plaintiff's
be granted with respect to Count II.                                       negligence claims arising out of a theft of credit
                                                                           card information where plaintiff suffered only
                                                                           economic harm); Werwinski v. Ford Motor Co.,
F. Count III: Negligence Claims
                                                                           286 F.3d 661, 681 (3d Cir. 2002) (applying
Defendants argue that Count III of Plaintiffs' Amended
                                                                           the doctrine in the context of UTPCPL cases);
Complaint fails to state a claim upon which relief can
                                                                           Enslin v. Coca-cola Co., 136 F. Supp. 3d 654,
be granted because Pennsylvania's economic loss doctrine–
                                                                           672 (E.D. Pa. 2015) (applying the economic loss
recognized by the Third Circuit–bars Plaintiffs' negligence
                                                                           doctrine to bar a negligence claim premised on the
claims. Plaintiffs disagree and argue that the economic loss
                                                                           economic harm caused by the unlawful disclosure
doctrine is not applicable here because the doctrine has
                                                                           of Defendant's employees' personal identification
historically applied only in products liability cases. Further,
                                                                           information); Smith v. John Hancock Ins. Co., No.
Plaintiffs contend that courts in this Circuit have held that the
                                                                           06-3876, 2008 WL 4072585, *8 (E.D. Pa. Sept.


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       2, 2008) (noting that it is well-established that the
                                                                      Here, the economic loss doctrine applies to bar Plaintiffs'
       economic loss doctrine may bar claims of negligent
                                                                      negligence claims. Plaintiffs Amended Complaint includes
       misrepresentation (citing Duquesne Light Co. v.
                                                                      no reference to physical injury or property damage as
       Westinghouse Elec. Corp., 66 F.3d 604, 620-21 (3d
                                                                      required to bring a negligence claim susceptible to the
       Cir. 1995)).
                                                                      economic loss doctrine. In fact, Plaintiffs concede that the
 *13 Conceding that a number of courts have broadened the             only damages claimed are economic damages. Because the
economic loss doctrine, Plaintiffs are forced to argue that           economic loss doctrine bars Plaintiffs' negligence claims,
the decisions of these courts were in error. To support this          Count III of Plaintiffs' Amended Complaint will be dismissed
contention Plaintiffs rely heavily on two cases: Independent          with prejudice.
Warehouse Inc. v. Professori, No. 15-1369, 2016 WL
1569210 (W.D. Pa. Apr. 19, 2016), and Heller v. Patwil
Homes, 713 A.2d 105 (Pa. Super. 1998). First, Plaintiffs'             G. Leave to Amend
cite Independent Warehouse to support the notion that the             Defendants contend that Plaintiffs should not be granted leave
“economic loss doctrine does not apply to claims for negligent        to amend the Amended Complaint and request that all claims
hiring, retention and supervision.” (Doc. 77, at 22). In              be dismissed with prejudice. However, this Court is instructed
making such conclusion, the Independent Warehouse Court               to allow a curative amendment unless an amendment would
compared the applicability of the doctrine to the “gist of            be inequitable or futile. Phillips v. Cnty of Allegheny, 515 F.3d
the action” doctrine. Such comparison has been made by                224, 237 (3d Cir. 2008). Here, because Plaintiffs may be able
the Third Circuit in the past, but any distinction does               to amend their pleadings to support the claims asserted, this
not provide–as Independent Warehouse suggests–that the                Court will grant Plaintiffs one final leave to amend Counts
economic loss doctrine is reserved to cases involving products        I and II of the Amended Complaint. But, since Plaintiffs'
liability. Considerable precedent, identified above, suggests         negligence claims are barred by the economic loss doctrine,
the opposite. In fact, just months after Independent Warehouse        this Court will find that amendment would be futile. Thus,
was decided, the Third Circuit held that the economic loss            Count III of Plaintiffs' Amended Complaint will be dismissed
doctrine applied to a negligence claim premised on an                 with prejudice.
unlawful computer breach; not a products liability claim.
Longenecker-Wells, 658 Fed.Appx. at 661. For this reason,
reliance on Independent Warehouse is misplaced.
                                                                                              IV. Conclusion

Second, Plaintiffs cite a 1998 case from the Pennsylvania             For the above stated reasons, Plaintiffs Amended Complaint
Superior Court to establish that Pennsylvania law does not            is dismissed in its entirety. Notably, Count III will be
limit negligent supervision claims to cases of physical injury.       dismissed with prejudice because the economic loss doctrine
In Heller v. Patwil Homes, the court affirmed an award                bars Plaintiffs' negligence claims.
recovered by a Plaintiff on a theory of negligent supervision
following discovery of an investment scam orchestrated                An appropriate order follows.
by Defendant's employee. 713 A.2d at 105. Notably, the
court neither mentioned nor discussed the applicability of
the economic loss doctrine. See generally, id. Plaintiffs'            All Citations
suggestion otherwise is simply incorrect. More significantly,
                                                                      Not Reported in Fed. Supp., 2017 WL 4812308
having been decided in 1998, the Heller Court rendered its
opinion prior to a number of decisions applying the economic
loss doctrine to similar actions.

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United States District Court, E.D. Pennsylvania. |      July 11, 2007 |       Not Reported in F.Supp.2d |     2007
WL 2033833

Document Details                                                                          Outline
KeyCite:            KeyCite Yellow Flag - Negative Treatment                            Attorneys and Law
                     Declined to Follow by Melfi v. WMC Mortgage Corp., 1st Cir.(R.I.), Firms (p.1)
                    June 11, 2009                                                       MEMORANDUM
alwd Citation:      Johnson v. Chase Manhattan Bank, USA N.A., CIV.A. 07-526, 2007 WL(p.1)
                    2033833 (E.D. Pa. July 11, 2007)                                    All Citations (p.7)
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                                                                       Improvement Finance Act (“HIFA”), 73 Pa. Stat. Ann. §
                                                                       500-101, et seq; (2) violations of Pennsylvania Unfair Trade
     KeyCite Yellow Flag - Negative Treatment                          Practice and Consumer Protection Law (“UTPCPL”), 73 Pa.
Declined to Follow by Melfi v. WMC Mortgage Corp.,   1st Cir.(R.I.),
                                                                       Stat. Ann. § 201-1, et seq; and (3) conspiracy to commit fraud
June 11, 2009
                                                                       under UTPCPL, HIFA, and Pennsylvania common law. 1
                 2007 WL 2033833                                       Chase moves to dismiss Count I and the HIFA and UTPCPL
    Only the Westlaw citation is currently available.                  violations alleged against it in Count II but does not address
             United States District Court,                             the conspiracy allegations in Count II at this time.
                 E.D. Pennsylvania.
                                                                       1      In Count III of the amended complaint, not
            Alexander JOHNSON, et al
                                                                              presently at issue, both plaintiffs bring a claim
                       v.
                                                                              of negligence against defendants Randall and
     CHASE MANHATTAN BANK, USA N.A., et al.                                   Lexington.

                   Civil Action No. 07-526.
                                |                                                                    I.
                         July 11, 2007.
                                                                       For present purposes, we accept all well-pleaded allegations
Attorneys and Law Firms
                                                                       in the amended complaint as true. Cal. Pub. Employees' Ret.
Robert P. Cocco, Law Offices of Robert P. Cocco PC,                    Sys. v. Chubb Corp., 394 F.3d 126, 143 (3d Cir.2004) (citation
Philadelphia, PA, for Plaintiffs.                                      omitted).

Theodore F. Haussman, Jr., Drinker Biddle & Reath LLP,                 Plaintiffs, husband and wife, are homeowners in the City
Joel I. Herzfeld, Eric J. Phillips, Salmon Ricchezza Singer            of Philadelphia. They were solicited by two men, Calvin
& Turchi LLP, David E. Shapiro, Philadelphia, PA, for                  Harris and Marcus Newsome, on behalf of the Philadelphia
Defendants.                                                            Home Improvement Outreach Program (“PHI”), to perform
                                                                       improvements to plaintiffs' property. Newsome told plaintiffs
                                                                       that PHI would assist them in arranging financing in the
                      MEMORANDUM                                       amount of $76,000 to pay for the improvements. Without
                                                                       plaintiffs' knowledge, Newsome or Harris contacted a
BARTLE, C.J.                                                           mortgage broker, defendant Jonathan Ganz of Bryn Mawr
                                                                       Mortgage to arrange for financing. Sometime thereafter,
 *1 Plaintiffs Alexander and Darlene Johnson bring this                Newsome, Harris and/or Ganz submitted a loan application
action against defendants Chase Bank USA, N.A. (“Chase”),              to Chase.
Glenn Randall (“Randall”), Lexington & Concord Search and
Abstract, LLC, (“Lexington”), and Jonathan Ganz (“Ganz”).              Plaintiffs agreed to a loan from Chase in the amount of
Plaintiffs seek rescission of a residential mortgage loan and          $186,900. Approximately $90,000 of this total was to pay
damages with respect to a contract for improvements on their           off two existing mortgages on their home. Other portions of
home. Before the court is the motion of defendant Chase to             the loan were to pay other existing debt that the plaintiffs
dismiss Count I and part of Count II of plaintiff's amended            carried. The plaintiffs were also to receive $26,530 in cash.
complaint under Rule 12(b)(6) of the Federal Rules of Civil            On or about January 25, 2005, Newsome and Eric Senders,
Procedure for failure to state a claim upon which relief can           an employee of defendant Lexington, participated in the
be granted.                                                            closing of the loan at plaintiffs' residence. Newsom and
                                                                       Senders told plaintiffs that Chase would escrow the cash
In Count I of the amended complaint, plaintiff Darlene                 intended for home improvements and would disburse the
Johnson alleges that defendant Chase violated the Truth-in-            funds upon authorization of plaintiffs to PHI's subcontractors.
Lending Act (“TILA”), 15 U.S.C. § 1601, et seq. In Count II            Defendant Randall, who was not present at the mortgage
of the amended complaint, both plaintiffs bring claims against         closing, notarized the plaintiffs' signatures on the mortgage.
all defendants alleging: (1) violations of Pennsylvania's Home



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 *2 Despite the representations to plaintiffs prior to the                      day following the consummation of
closing of the mortgage, the non-mortgage debt was not paid                     the transaction or the delivery of
off, and plaintiffs did not receive a cash disbursement. Instead,               the information and rescission forms
a total of $70,000 in three checks from the loan proceeds                       required under this section together
was distributed to Harris. Although PBI hired subcontractors                    with a statement containing the
to complete work on plaintiffs' property, much of the work                      material disclosures required under
was not completed and that which was completed was shoddy                       this subchapter, whichever is later ....
and consisted of sub-standard materials. On June 26, 2006,
plaintiffs notified Chase that they were rescinding the loan.
Chase has refused to honor plaintiffs rescission request.           15 U.S.C. § 1635(a). The creditor must provide the borrower
                                                                    with notice of this right by giving two copies of the notice
                                                                    to each borrower who has a right of rescission. 12 C.F.R.
                               II.                                  § 226.23(b). The notice must clearly and conspicuously
                                                                    disclose:
Chase first argues for the dismissal of Count I, which seeks
rescission of the mortgage loan and alleges that Chase                (i) The retention or acquisition of a security interest in the
violated TILA when it failed properly to complete paperwork           consumer's principal dwelling.
given to Darlene Johnson regarding her right to rescind the
                                                                      (ii) The consumer's right to rescind the transaction.
mortgage loan. According to plaintiffs, the line provided for
the date by which the right to rescind must be exercised was          (iii) How to exercise the right to rescind, with a form for
                                      2                               that purpose, designating the address of the creditor's place
left blank on Ms. Johnson's notice.
                                                                      of business.
2       The date was properly inserted on the                         (iv) The effects of rescission, as described in paragraph (d)
        corresponding line on Alexander Johnson's form.               of this section.
        In a transaction involving multiple consumers,
        however, notice of right to rescind must be made              (v) The date the rescission period expires.
        separately “to each consumer who has the right
        to rescind.” 12 C.F.R. § 226.17(d); In re Apgar,            Id. If a creditor fails to deliver notice of the right to
        291 B.R. 665, 670 (Bankr.E.D.Pa.2003). Here,                rescind or any of the required material disclosures, the debtor
        Chase was obliged to provide proper notice to both          may rescind at any time up to three years following the
        Darlene and Alexander Johnson. See 12 C.F.R.                consummation of the transaction. Id. § 226.23(a)(3).
        § 226.23(a). Because plaintiffs do not argue that
        Alexander Johnson's notice was defective in any             The Board of Governors of the Federal Reserve System
        way, it is only the right of Darlene Johnson to             (the “Board”), which is responsible for developing model
        rescind which is presently at issue.                        disclosure forms, has published a model Notice of Right to
                                                                    Cancel form. See 12 C.F.R. Pt. 226, App. H-8. A creditor
TILA gives certain borrowers a temporary right to rescind a
                                                                    using this model form is deemed to be in compliance with
mortgage transaction:
                                                                    the disclosure provision of TILA. 15 U.S.C. § 1604(b). In the
                                                                    instant matter, the form used by Chase conforms to the model
                                                                    form promulgated by the Board. In using the model form,
             [I]n the case of any consumer credit                   Chase was required to insert on the appropriate blank line the
             transaction ... in which a security                    date by which the right to rescind must be exercised. Chase
             interest ... is or will be retained                    does not dispute that the line on Darlene Johnson's notice was
             or acquired in any property which                      left blank. Instead, relying on Palmer v. Champion Mortgage,
             is used as the principal dwelling                      465 F.3d 24 (1st Cir.2006), it argues that its duty was only
             of the person to whom credit is                        to provide an objectively reasonable notice of the deadline
             extended, the obligor shall have                       and that Darlene Johnson's notice was sufficient to meet that
             the right to rescind the transaction                   standard because it twice provided information which would
             until midnight of the third business                   make the deadline clear to the average consumer.


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                                                                   clear” to the average consumer that the April 1 deadline would
 *3 In particular, Chase relies on the following two portions      not necessarily be the applicable one. Id. at 29.
of the notice describing the deadline for the right to rescind:
                                                                   Chase urges this court to apply Palmer's reasoning to the
  Your Right to Cancel                                             present situation. As noted above, it argues that the notice
                                                                   to Darlene Johnson provided all the necessary material
  You are entering into a transaction that will result in a
                                                                   information for a reasonably alert person to determine when
  mortgage/security interest in your home. You have a legal
                                                                   her right of rescission would expire, even with the blank in
  right under federal law to cancel this transaction, without
                                                                   her notice. We disagree.
  cost, within three (3) business days from whichever of the
  following events occur last:
                                                                   A notice of the right of rescission must contain “[t]he date
  (1) The date of the transaction which is January 25, 2005;       the rescission period expires.” 12 C.F.R. § 226.23(b)(v). The
  or                                                               amended complaint alleges, and Chase does not deny, that
                                                                   Chase's notice to Darlene Johnson's did not contain this vital
  (2) The date you received your Truth-in-Lending                  piece of information. Darlene Johnson has properly set forth
  disclosures; or                                                  a TILA violation, and the question presently before this court
                                                                   is whether that alleged violation can be excused, as Chase
  (3) The date you received this notice of your right to cancel.
                                                                   argues it should be. By contrast, the notice in Palmer did
  ***                                                              contain the date of the rescission deadline and otherwise
                                                                   complied with each of the governing regulations. Palmer
  If you cancel by mail or telegram, you must send the notice      did not address whether an alleged TILA violation could be
  no later than midnight of [left blank] (or midnight of the       excused. Instead, the issue there was whether the notice was
  third business day following the latest of the three events      defective because it was confusing even though there was
  listed above).                                                   compliance with the TILA. The Palmer court itself expressly
                                                                   distinguished the situation it confronted from one in which the
In the Palmer case, on which Chase relies, the creditor            notice at issue stated no rescission date at all. 465 F.3d at 29.
mailed the borrower her Notice of Right to Cancel after the
closing had taken place. The notice identified the deadline         *4 The correct standard for TILA violations is one of strict
for rescission as April 1, 2003, but the borrower did not          liability:
receive the letter until sometime after that date had passed.
As with the notice in the instant case, the notice in Palmer
contained language explaining that the rescission deadline                      TILA achieves its remedial goals by a
would not pass until three days after the latest of the three                   system of strict liability in favor of the
triggering events, one of which was the date the borrower                       consumers when mandated disclosures
received the notice of her right to cancel. The notice also                     have not been made. A creditor who
included a parenthetical note after listing the rescission                      fails to comply with TILA in any
deadline, identical to the one in this case, setting out an                     respect is liable to the consumer under
alternative manner for determining the deadline if the three                    the statute regardless of the nature of
triggering events did not occur at the same time. The borrower                  the violation or the creditor's intent.
attempted to rescind the transaction seventeen months later.                    Once the court finds a violation,
She argued that because the April 1 deadline had passed                         no matter how technical, it has no
before she received the notice, the notice was “confusing”                      discretion with respect to liability.
and such defective notice extended her right to rescind to the
statutory three year period. Id. at 27. The Palmer court used
the standard of an “average consumer, looking at the Notice        In re Porter, 961 F.2d 1066, 1078 (3d Cir.1992), citing
objectively” to determine that the notice was not confusing        Smith v. Fidelity Consumer Discount Co., 898 F.2d 896, 898
and that the extended rescission right under TILA was not          (3d Cir.1990) (internal quotations omitted). Indeed, we were
triggered. Id. at 28-29. The court stated that the “twice-         unable to find, nor did Chase cite, a single case excusing
repeated alternative deadlines” would have made it “crystal        a creditor's failure to fill in the blank designated for the


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rescission deadline. See, e.g. Semar v. Platte Valley Fed. Sav.                When an obligor exercises his right to rescind
& Loan Ass'n, 791 F.2d 699, 704 (9th Cir.1986); Williamson                     under subsection (a) of this section, he is not
v. Lafferty, 698 F.2d 767 (5th Cir.1983); Mayfield v. Vanguard                 liable for any finance or other charge, and
Sav. & Loan Ass'n, 710 F.Supp. 143 (E.D.Pa.1989); In re                        any security interest given by the obligor ...
Armstrong, 288 B.R. 404 (Bankr.E.D.Pa.2003).                                   becomes void upon such a rescission. Within
                                                                               20 days after receipt of a notice of rescission,
In sum, Darlene Johnson has stated a claim under the TILA                      the creditor shall return to the obligor any
because of Chase's failure to include the rescission deadline                  money or property given as earnest money,
on her notice. As a result, the time period in which she may                   downpayment, or otherwise, and shall take
exercise her right of rescission is three years, pursuant to 12                any action necessary or appropriate to reflect
C.F.R. § 226.23(a)(3). If Ms. Johnson proves her allegations                   the termination of any security interest created
of a TILA violation, she has until three years after January 25,               under the transaction. If the creditor has
2005, the day the transaction was consummated, to rescind.                     delivered any property to the obligor, the
If, as she alleges, she notified Chase of her desire to rescind                obligor may retain possession of it. Upon
on June 26, 2006, she acted well within the permissible time                   the performance of the creditor's obligations
period to do so. Chase would then be required to honor Ms.                     under this section, the obligor shall tender the
Johnson's right to rescind the mortgage loan transaction.                      property to the creditor, except that if return
                                                                               of the property in kind would be impracticable
Chase additionally asserts that Count I of the amended                         or inequitable, the obligor shall tender its
complaint should be dismissed against it because plaintiffs did                reasonable value. Tender shall be made at the
not tender the principal of the mortgage loan to Chase prior                   location of the property or at the residence
to pursuing rescission. “When a borrower rescinds a loan, he                   of the obligor, at the option of the obligor. If
or she must return the money borrowed.” Porter, 961 F.2d at                    the creditor does not take possession of the
1077. The question Chase raises is whether the borrower must                   property within 20 days after tender by the
always repay, or offer to repay, the proceeds of the loan before               obligor, ownership of the property vests in
seeking to terminate the creditor's security interest.                         the obligor without obligation on his part to
                                                                               pay for it. The procedures prescribed by this
Section 1635(b) of TILA sets forth the sequence of rescission                  subsection shall apply except when otherwise
and tender that must be followed unless a court orders                         ordered by a court.
otherwise. Within twenty days of the borrower's notification                 15 U.S.C. § 1635(b).
that she is exercising her right of rescission, the creditor        *5 It is apparent from the plain language of the statute
must return any money or property given as earnest money,          that the borrower does not have to tender the proceeds of
downpayment, or otherwise and reflect the termination of its       the loan before invoking her right to rescind unless and
security interest that was created by the transaction. After the   until a court decides otherwise and modifies the statutory
creditor has met these obligations, the borrower must tender       scheme. Contrary to Chase's assertion, this modification is a
the property or its reasonable monetary value. 3 The Notice        matter of the court's equitable discretion and does not operate
of Right to Cancel that Chase provided to both plaintiffs          automatically. Indeed, in each of the cases Chase cites, the
describes the rescission procedure in much the same way.           court recognizes that it is using its authorized discretion to
The Notice made clear that, after receiving plaintiffs' notice     depart from the ordinary order as described in the statue.
of rescission, Chase “must take the steps necessary to reflect     See, e.g. Yamamato v. Bank of New York, 329 F.3d 1167 (9th
the fact that the mortgage on [plaintiffs'] home has been          Cir.2003); Williams v. Homestake Mortgage Co., 968 F.2d
cancelled” and that only after Chase has undertaken that           1137 (11th Cir.1992); FDIC v. Hughes Dev. Co., 938 F.2d 889
obligation does the borrower have the responsibility to tender     (8th Cir.1991); Brown v. Nat'l Permanent Fed. Sav. & Loan
the money or property.                                             Ass'n, 683 F.2d 444 (D.C.Cir.1982) (per curiam).

3                                                                  Chase has not made a request for conditional rescission
       The full text of the statutory provision reads as
       follows:                                                    in this court. Even if we were to interpret Chase's motion
            (b) Return of money or property following              for dismissal as such a request, it would be premature at
            rescission                                             this stage of the litigation. There is not yet any record,


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as there was in each of the cases cited by Chase, of the                which a loan may be called due and payable upon the
plaintiffs' inability to return the proceeds of the loan or any         passage of time or a specified event external to the loan;
of the other circumstances this court would be obliged to
consider if making a decision on equitable grounds. Because         ***
the plaintiffs were under no initial obligation to tender the
proceeds of their mortgage loan prior to seeking rescission             (11) Disbursements and repayments[.]
of that loan, Chase's argument to the contrary fails, and its
                                                                    12 C.F.R. § 34.4(a). Chase argues that these regulations
motion to dismiss Count I of the amended complaint will be
                                                                    preempt HIFA's prohibition on cash loans. We agree. The
denied.
                                                                    regulation's broad preemption of state laws which constrict
                                                                    the ability of national banks to make real estate loans plainly
                                                                    encompasses HIFA's restriction against making cash loans in
                              III.                                  connection with a home improvement installment contract.

Chase also argues for the dismissal of Count II, which alleges      Additionally, an OCC regulation explicitly provides that: “A
state law claims for fraud and conspiracy to commit fraud           national bank may charge its customers non-interest charges
under HIFA, UTPCPL, and Pennsylvania common law.                    and fees, including deposit account service charges.” 12
                                                                    C.F.R. § 7.4002(a). Plaintiffs acknowledge this and admit
HIFA is a Pennsylvania consumer protection statute which            that HIFA's prohibitions of such fees are preempted by the
governs “home improvement installment contracts” that are           federal regulation. Thus, plaintiffs' amended complaint will
to be performed in the Commonwealth. Plaintiffs assert              be dismissed against Chase to the extent that it alleges a HIFA
that Chase violated the HIFA provisions which prohibit the
                                                                    violation. 4
collection of certain non-interest charges and of combining
cash loans with financing of home improvement installation
                                                                    4
contracts. 73 Pa. Stat. Ann. §§ 500-407 and 500-408. Chase                  Plaintiffs also allege that Chase's HIFA violations
counters that those provisions of HIFA do not apply to it                   are per se violations of the UTPCPL. Because we
because it is a national banking association governed by the                find that plaintiffs have not stated a claim under
National Bank Act, 12 U.S.C. § 1, et seq (“NBA”) and the                    HIFA, their UTPCPL claim will also be dismissed
regulations of the Office of the Comptroller of Currency                    to the extent it is based on alleged HIFA violations.
(“OCC”). Chase maintains that those federal regulations             Plaintiffs also allege that Chase violated three provisions
preempt the HIFA provisions at issue.                               of Pennsylvania's UTPCPL. Chase counters with a number
                                                                    of arguments, including that fraud was not pleaded with
A national banking institution may make mortgage loans              particularity, as it must be under Rule 9(b) of the Federal
subject to the terms, conditions and limitations set forth in the   Rules of Civil Procedure. We will assume without deciding
NBA and the OCC's regulations. 12 U.S.C. § 371; 12 C.F.R.           that plaintiffs pleaded fraud with sufficient particularity and
§ 34.3(a). Those regulations specifically address the question      address plaintiffs' allegations on other grounds.
of the applicability of state law and provide that:
                                                                    First, plaintiffs claim that the defendants engaged in the
  Except where made applicable by Federal law, state laws
                                                                    unfair trade practice of “[r]epresenting that goods or services
  that obstruct, impair, or condition a national bank's ability
                                                                    have sponsorship, approval, characteristics, ingredients, uses,
  to fully exercise its Federally authorized real estate lending
                                                                    benefits or quantities that they do not have or that a person
  powers do not apply to national banks. Specifically, a
                                                                    has a sponsorship, approval, status, affiliation or connection
  national bank may make real estate loans ... without regard
                                                                    that he does not have.” 73 Pa. Con. Stat. Ann. § 201-2(4)
  to state law limitations concerning:
                                                                    (v). Plaintiffs assert that this provision was violated when
                                                                    the benefits of the loan were misrepresented to plaintiffs.
***
                                                                    Specifically, the plaintiffs allege that the loan made by Chase
   *6 (4) The terms of credit, including schedule for               failed to pay the plaintiffs' debts, as Harris and/or defendant
  repayment of principal and interest, amortization of loans,       Ganz had represented and that the proceeds of the loan were
  balance, payments due, minimum payments, or term to               paid to Harris instead of to plaintiffs. In order to prove a
  maturity of the loan, including the circumstances under           UTPCPL violation based on § 201-2(4)(v), a plaintiff must


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show: (1) the defendant made a false representation; (2) which      Next, plaintiffs aver that the defendants violated § 201-2(4)
actually deceived or has the tendency to deceive plaintiff;         (xvi) of the UTPCPL, which defines as an unfair trade
and (3) the plaintiff relied on the false representation. See       practice: “Making repairs, improvements or replacements on
DiLucido v. Terminix Int'l, Inc., 450 Pa.Super. 393, 676 A.2d       tangible, real or personal property, of a nature or quality
1237, 1240-41 (Pa.Super.1996). Nowhere do the plaintiffs            inferior to or below the standard of that agreed to in writing.”
allege that any Chase employee made a representation of             73 Pa. Stat. Ann. § 201-2(xvi). “Under section 201-2(4)(xvi),
any sort to them. Instead, the plaintiffs contend that Harris       a plaintiff must show that a defendant agreed in writing to
and Ganz were Chase's agents, such that Chase should be             perform a contract with a certain quality and that the work
held responsible for their actions, including their alleged         was substandard and inferior.” DiLucido, 676 A.2d at 1241
misrepresentations.                                                 (footnote and citation omitted). Plaintiffs do not allege that
                                                                    Chase made any repairs, improvements or replacements on
Both parties agree that agency is comprised of three elements       their property or that Chase contracted to perform any such
under Pennsylvania law: (1) the manifestation by the principal      services. Again, plaintiffs rely entirely on an agency theory,
that the agent shall act for him; (2) the agent's acceptance        seeking to hold Chase responsible for the alleged actions
of the undertaking; and (3) the understanding of the parties        of Ganz and Harris. As described above, plaintiffs' agency
that the principal is to be in control of the undertaking. Basile   theory is untenable. Plaintiff's claim under § 201-2(xvi) will
v. H & R Block, Inc., 563 Pa. 359, 761 A.2d 1115, 1120              therefore be dismissed against Chase.
(Pa.2000). An agency relationship does not arise out of every
action taken on another's behalf. Id. at 1121. “Rather, the         Finally, plaintiffs allege that § 201-2(4)(xxi), the “catchall
action must be a matter of consequence or trust, such as the        provision” of the UTPCPL, was violated when defendant
ability to actually bind the principal or alter the principal's     Randall notarized the plaintiffs' signatures on the mortgage
legal relations.” Id. (emphasis in original).                       although he was not personally present at the closing. As
                                                                    with plaintiffs' other assertions of liability under the UTPCPL,
 *7 Plaintiffs allege that Harris and Ganz were agents of           plaintiffs seek to hold Chase responsible as a principal for the
Chase because “defendant Chase remained in control of               conduct of another. Here, plaintiffs rely on the same theory
the undertaking with Ganz, [Bryn Mawr Mortgage Group                as above to link Harris and Ganz to Chase, but add that
(“BMMG”) ], and Harris in that it directed how the financing        Randall and Lexington were agents of Harris and Ganz and
of the loans was to be accomplished by barring any mention          that Chase should thus be responsible for their actions as well.
of improvements in the loan application process to comply           Without deciding whether Randall and Lexington were agents
with Chase underwriting standards.” Plaintiffs, however,            of Harris and Ganz, we have already determined that Harris
acknowledge that their loan application had to be submitted         and Ganz were not agents of Chase. Since the chain of agency
to Chase's underwriting department for consideration and            has not been properly alleged, it follows that Randall and
acceptance. Pl.'s Am. Compl. at ¶ 29, 49(e)(1). Even                Lexington cannot be deemed Chase's subagents. As plaintiffs
accepting as true plaintiffs' allegations that a Chase account      put forth no other basis for Chase's liability for the actions of
executive engaged in misconduct by directing Ganz and/              Randall and Lexington, we will dismiss plaintiffs' claim under
or Harris how to fill out the plaintiffs' loan application,         § 201-2(4)(xxi) of the UTPCPL against Chase.
plaintiffs do not allege that Ganz or Harris had the authority
to bind Chase to a nearly $186,900 loan. Instead, Chase's            *8 In sum, we will dismiss Count II of plaintiffs' amended
underwriting department was the entity that determined              complaint against Chase as to the alleged violations under
whether or not to authorize the loan to plaintiffs. Thus,           HIFA and the UTPCPL.
plaintiffs have not sufficiently pleaded an agency relationship
between Chase and Ganz, BMMG and Harris. The alleged
representations of these other parties cannot be attributed to
                                                                                                ORDER
Chase. Since there are no other allegations of Chase making
a false representation to the plaintiffs, plaintiffs have failed    AND NOW, this 11th day of July, 2007, for the reasons set
to plead a violation by Chase of the UTPCPL based on §              forth in the foregoing memorandum, it is hereby ORDERED
201-2(4)(v), and this claim will be dismissed.                      that:




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                                                                 Improvement Finance Act and Pennsylvania Unfair Trade
(1) the caption of this case shall be changed from “Chase
                                                                 Practice and Consumer Protection Law.
Manhattan Bank, USA N.A.” to “Chase Bank USA, N.A.”;

(2) the motion of defendant, Chase Bank USA, N.A.,               All Citations
to dismiss the amended complaint is DENIED as to it
with respect to Count I and GRANTED with respect to              Not Reported in F.Supp.2d, 2007 WL 2033833
plaintiffs' claims in Count II under the Pennsylvania Home

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United States District Court, E.D. Pennsylvania. |      July 26, 2018 |       Not Reported in Fed. Supp. |      2018
WL 3585124

Document Details                                                                          Outline
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                                                                 diversity jurisdiction pursuant to 28 U.S.C. § 1332. On March
                                                                 6, 2018, Strayer filed a Motion to Dismiss the Complaint
                  2018 WL 3585124
                                                                 pursuant to Federal Rule of Civil Procedure 12(b)(6) and
    Only the Westlaw citation is currently available.
                                                                 in response, Plaintiff filed an Amended Complaint alleging
    United States District Court, E.D. Pennsylvania.
                                                                 Misrepresentation/Fraud (Count I), “Contract” (Count II),
              David LEVIN, Plaintiff,                            and violations of Unfair Trade Practices and Consumer
                       v.                                        Protection Law (Count III). The instant Motion followed.
       STRAYER UNIVERSITY, LLC, Defendant.
                                                                    B. Factual History
                CIVIL ACTION NO. 18-0893
                                                                 In 2009, Plaintiff enrolled in one of Strayer's campuses
                             |
                                                                 located in King of Prussia, Pennsylvania. (Am. Compl. ¶ 3.)
                     Filed 07/26/2018
                                                                 In 2013, Plaintiff took a three-semester hiatus to recuperate
Attorneys and Law Firms                                          from injuries sustained in a motor vehicle accident. (Am.
                                                                 Compl. ¶ 4.) Plaintiff re-enrolled in 2014, at which time he
Lawrence Solomon, Solomon            Sherman     &    Gabay,     was informed that the course requirements had changed and
Philadelphia, PA, for Plaintiff.                                 he was required to complete additional courses that were not
                                                                 a part of the 2009 curriculum. (Am. Compl. ¶¶ 5-6.)
L. Evan Van Gorder, Ogletree Deakins Nash Smoak &
Stewart PC, Philadelphia, PA, for Defendant.
                                                                 Plaintiff alleges that a major reason he initially enrolled
                                                                 at Strayer was based on an oral promise made to him by
                                                                 personnel on behalf of Strayer that the University would
                    MEMORANDUM                                   assist Plaintiff with job placement services after graduation.
                                                                 (Am. Compl. ¶¶ 9, 21.) However, upon graduating, Plaintiff
C. Darnell Jones, II, Judge
                                                                 attempted to obtain job placement services from Strayer
I. Introduction                                                  and was informed that the University did not offer same.
 *1 Plaintiff David Levin brings the above-captioned             (Compl. ¶ 10.) Plaintiff alleges Strayer was aware of his
action against Defendant Strayer University, LLC                 reliance on this information and knowingly made these false
(“Strayer”), alleging Misrepresentation/Fraud (Count I),         representations to convince him and other students to enroll
“Contract” (Count II), and violations of Unfair Trade            in order to increase enrollment statistics and enrich Strayer.
Practices and Consumer Protection Law (Count III).               (Am. Compl. ¶¶ 15-17, 30.) As a result, Plaintiff alleges he
Plaintiff's claims center around an alleged oral “promise”       incurred financial detriment and loss in the form of at least
made by Strayer through Strayer personnel, in which said         $77,793.00 in debt and several thousand dollars in “other”
personnel said the University would provide him with job         expenses. (Am. Compl. ¶¶ 26-28.)
placement services after graduation in exchange for his
enrollment. Currently before this Court is Defendant's Motion
                                                                 III. Standard of Review
to Dismiss Plaintiff's Amended Complaint. For the reasons set
                                                                 In deciding a motion to dismiss pursuant to Rule 12(b)(6),
forth below, Defendant's Motion shall be granted and Plaintiff
                                                                 courts must accept all factual allegations as true, construe
shall be granted leave to amend.
                                                                 the complaint in the light most favorable to the plaintiff,
                                                                 and determine whether, under any reasonable reading of the
II. Background                                                   complaint, the plaintiff may be entitled to relief. Phillips
                                                                 v. County of Allegheny, 515 F.3d 224, 233 (3d Cir. 2008)
   A. Procedural History                                         (internal quotation and citation omitted). After the Supreme
On or about February 12, 2018, Plaintiff filed his               Court's decision in Bell Atl. Corp. v. Twombly, “[t]hreadbare
Complaint in the Philadelphia Court of Common Pleas.             recitals of the elements of a cause of action, supported by
Specifically, Plaintiff asserted claims against Strayer for      mere conclusory statements, do not suffice.” Ashcroft v. Iqbal,
Misrepresentation / Fraud (Count I), Punitive Damages            556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)
(Count II), and “Contract” (Count III). On February 28, 2018,    (citing Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955, 167
Strayer removed the matter to this Court on the basis of         L.Ed.2d 929 (2007) ). A claim has facial plausibility when


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the plaintiff pleads factual content that allows the court to
draw the reasonable inference that the defendant is liable for
the misconduct alleged. Id. (citing Twombly, 550 U.S. at 556,
                                                                                         i. Sufficiency of Pleadings
127 S.Ct. 1955). This standard asks for more than a sheer
possibility that a defendant has acted unlawfully. Id. Accord           Count I of Plaintiff's Amended Complaint woefully fails
Fowler v. UPMC Shadyside, 578 F.3d 203, 210 (3d Cir. 2009)              to adequately allege any misrepresentation, and must
(“[A]ll civil complaints must contain more than an unadorned,           therefore be dismissed. Although Plaintiff attempts to
the-defendant-unlawfully-harmed-me accusation.”) (internal              provide clarification of his claims in his “Answer” to the
quotation marks omitted).                                               instant Motion, said clarification essentially functions as
                                                                        an amendment to his pleadings and is impermissible. See
                                                                        Pennsylvania ex rel. Zimmerman v. PepsiCo, Inc., 836 F.2d
IV. Discussion
                                                                        173, 181 (3d Cir. 1987) (“It is axiomatic that the complaint
   A. Untimely Opposition                                               may not be amended by the briefs in opposition to a motion to
 *2 As a preliminary matter, Defendant argues its Motion                dismiss.”)(quoting Car Carriers, Inc. v. Ford Motor Co., 745
should be treated as unopposed because Plaintiff failed to file         F.2d 1101, 1107 (7th Cir. 1984) ).
his response in a timely manner. Def.'s Reply Mot. Dismiss 2.)
Although Local Rule 7.1(c) permits the court to treat Strayer's         Moreover, under 42 Pa.C.S.A. § 5524(7), any claims for
Motion to Dismiss the Amended Complaint as uncontested, it              Misrepresentation/Fraud must be brought within two (2)
shall not do so in this case. E.D. Pa. R. Civ. P. 7.1(c). Plaintiff's   years:
opposition was filed on April 17, 2018, six days after the
                                                                          In Pennsylvania, the statute of limitations for fraud claims
fourteen (14) day deadline. A court may deny a request that
                                                                          is two years. 42 Pa. Cons. Stat. § 5524(7). “[T]he statute
a motion be treated as unopposed if the untimely briefing “is
                                                                          of limitations begins to run as soon as the right to institute
helpful to our determination of the issues in [the] matter.”
                                                                          and maintain a suit arises....” Pocono Int'l Raceway, Inc.
See McNiff v. Asset Mgmt. Specialists, Inc., 337 F.Supp.2d
                                                                          v. Pocono Produce, Inc., 503 Pa. 80, 468 A.2d 468, 471
685, 687 n.1 (E.D. Pa. 2004). As considering the untimely
                                                                          (Pa. 1983). It is tolled, however, “until the plaintiff knew,
opposition assists this Court in reaching a determination
                                                                          or through the exercise of reasonable diligence should have
regarding the instant Motion and results in no prejudice to
                                                                          known, of the injury and its cause.” Beauty Time, Inc.
Defendant, this Court shall deny Defendant's request to treat
                                                                          v. VU Skin Sys., Inc., 118 F.3d 140, 144 (3d Cir. 1997)
its Motion as unopposed.
                                                                          (internal quotation marks and citations omitted). “[L]ack
                                                                          of knowledge, mistake or misunderstanding do not toll
   B. Count I: Misrepresentation / Fraud                                  the statute of limitations, even though a person may not
In order to sufficiently plead a claim of fraudulent                      discover his injury until it is too late to take advantage of the
misrepresentation, a plaintiff must adequately allege: “(1) a             appropriate remedy[.]” Pocono, 468 A.2d at 471 (citation
misrepresentation; (2) a fraudulent utterance thereof; (3) an             omitted).
intention by the maker to induce the recipient thereby; (4)
                                                                        McArdle v. Verizon Communs. Inc., 567 F. App'x 116, 118 (3d
justifiable reliance by the recipient on the misrepresentation;
                                                                        Cir. 2014); see also Perelman v. Perelman, 545 F. App'x 142,
and (5) damage to the recipient as a proximate result of the
                                                                        149 (3d Cir. 2013) (“In Pennsylvania, a four-year limitations
misrepresentation.” See C & K Petroleum Products, Inc. v.
                                                                        period governs a breach of contract claim ... and a two-
Equibank, 839 F.2d 188, 191 (3d Cir. 1988) (citing Thomas
                                                                        year period governs tort claims of professional negligence,
v. Seaman, 451 Pa. 347, 304 A.2d 134, 137 (Pa. 1973) ).
                                                                        fraudulent misrepresentation, fraudulent concealment, and
However, the pleading standard is heightened with respect to
                                                                        fraud[.]”) (citing 42 Pa. Cons. Stat. § 5524).
claims of fraud, in that a “party must state with particularity
the circumstances constituting fraud or mistake.” Fed. R.
                                                                         *3 In this case, Defendant argues Count I of Plaintiff's
Civ. P. 9(b). Rule 9(b) requires plaintiffs to plead claims
                                                                        Amended Complaint is barred by the statute of limitations.
with particularity to “place the defendants on notice of the
                                                                        (Def.'s Mot. Dismiss 7.) Upon review of said claim, this Court
precise misconduct with which they are charged.” Anzalone v.
                                                                        finds that Plaintiff has generally alleged that a “promise” was
Dulgerian (In re Dulgerian), 388 B.R. 142, 147 (Bankr. E.D.
                                                                        made to him sometime prior to his enrollment in the Fall
Pa. 2008) (internal citations omitted).
                                                                        2009. (Am. Compl. ¶¶ 3, 9.) He further alleges this “promise”


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was broken “upon graduating” ... “at a later date” after his        Co. v. Bruce, 54 Pa. D. & C.2d 537 (1972) ). In Pennsylvania,
re-enrollment in Fall 2014. (Am. Compl. ¶¶ 8, 10.) Plaintiff        a breach of contract claim may be sustained if a plaintiff
commenced the instant action on February 28, 2018 (ECF              shows the following: “(1) the existence of a valid and binding
No. 1). As such, it is impossible to determine whether or not       contract to which the plaintiff and defendants were parties; (2)
this claim is timely, based upon these deficient allegations as     the contract's essential terms; (3) that plaintiff complied with
contained within Plaintiff's Amended Complaint.                     the contract's terms; (4) that the defendant breached a duty
                                                                    imposed by the contract; and (5) damages resulting from the
Inasmuch as: Plaintiff filed the instant Complaint in response      breach.” Nowosad v. Villanova Univ., No. 97-5881, 1999 U.S.
to Defendant's first Motion to Dismiss and this is the first        Dist. LEXIS 7319 at *19-20, 1999 WL 322486, at *6 (E.D.
opportunity for the court to assess its sufficiency on the          Pa. May 19, 1999) (citing Gundlach v. Reinstein, 924 F.Supp.
merits; and, this Court cannot definitively hold that further       684, 688 (E.D. Pa. 1996) ). “[A]n agreement is enforceable as
amendment would be futile, he shall be granted leave to do so.      a contract only if both parties have manifested an intention to
                                                                    be bound by its terms, if those terms are sufficiently definite
                                                                    to be enforced, and if there is consideration.” See e.g. Bennett
                                                                    v. Itochu Int'l, Inc., No. 09-CV-1819, 2012 WL 3627404, at
           ii. The “Gist of the Action” Doctrine
                                                                    *15, 2012 U.S. Dist. LEXIS 119791 at *45-46 (E.D. Pa. Aug.
Regardless of Plaintiff's ability to establish timeliness           23, 2012). With specific regard to oral contracts,
or allege facts to support the necessary elements, his
Misrepresentation/Fraud claim is necessarily barred by the
“gist of the action” doctrine if a contract actually existed.                    Where a plaintiff seeks to recover on
Plaintiff concedes this point by agreeing to dismiss the                         an oral agreement, it is particularly
Misrepresentation/Fraud claim if the court finds that a                          important that the pleading at least
contract existed. (Pl.'s Answer Mot. Dismiss p. 14.)                             identify in as specific detail as possible
                                                                                 the date of the agreement and the
The gist of the action doctrine prohibits plaintiffs from “re-                   individuals involved. This information
casting” breach of contract claims as tort claims in cases                       will enable a corporate defendant
where they are essentially identical. See e.g. Owen J. Roberts                   faced with a claim based on an alleged
Sch. Dist. v. HTE, Inc., No. 02-7830, 2003 U.S. Dist. LEXIS                      oral agreement to investigate the claim
2997 at *16, 2003 WL 735098, at *5–6 (E.D. Pa. Feb. 28,                          and, in particular, speak with those
2003). However, because Plaintiff has failed to adequately                       who have allegedly entered into the
plead a Misrepresentation/Fraud claim, this Court need not                       oral agreement at issue. Based on this
determine whether or not the same is barred by the gist of the                   investigation, the corporate defendant
action doctrine at this time.                                                    will be better positioned to respond
                                                                                 to the allegations and assert defenses
                                                                                 to the claim. This is a pleading
  C. Count II: Contract                                                          requirement that cannot be avoided
                                                                                 by merely asserting that the defendant
              i. Pleading Requirements to                                        already knows the material facts that
           Demonstrate Existence of a Contract                                   have been omitted from the pleading.

As discussed more fully above, in order to survive a Rule
12(b)(6) motion, “bald assertions” are not sufficient to sustain     *4 Pratter v. Penn Treaty Am. Corp., 11 A.3d 550, 563-564
a claim. See In re Burlington Coat Factory Sec. Litig., 114         (Pa. Commw. 2010).
F.3d 1410, 1429-30 (3d Cir. 1997) (quoting Glassman v.
Computervision Corp., 90 F.3d 617, 628 (1st Cir. 1996) ). At        However, “[w]here the parties have adopted a writing as
the pleading stage, “[t]he burden is on the plaintiff to prove by   a complete and exclusive statement of the terms of the
a preponderance of the evidence the existence of the contract       agreement, even consistent additional terms are superseded.”
to which the defendant is a party.” Viso v. Werner, 471 Pa. 42,     United States v. Teklu, 513 F. App'x 228, 231 (3d Cir.
369 A.2d 1185, 1187 (Pa. 1977) (quoting Lemoyne Sleeper



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2013)(quoting Restatement (Second) of Contracts § 213 cmt.          Compl. ¶¶ 12-14.) Moreover, Plaintiff is apparently seeking
c (1981) ). This would include those made via oral promises.        to pursue his “contract” claim solely on an alleged “promise”
                                                                    by an unidentified individual, at an unidentified time, in an
With respect to contract damages, they need not be exact;           unidentified place.”
however, they must be proven to a “reasonable certainty.”
This standard “at a minimum embraces ‘a rough calculation           As Defendant correctly maintains, “the relationship between
that is not too speculative, vague or contingent upon some          a private university and a student is contractual” and the
unknown factor.’ ” See Alpart v. General Land Partners,             contractual relationship is generally “comprised of the written
Inc., 574 F.Supp.2d 491, 504 (E.D. Pa. 2008) (quoting Ware          guidelines, policies, and procedures as contained in the
v. Rodale Press, Inc., 322 F.3d 218, 226 (3d Cir. 2003) ).          written materials distributed to the student over the course of
Nevertheless, a Defendant's “argument about the sufficiency         their enrollment in the institution.” Mekuns v. Capella Educ.
of damages is more appropriate at the summary judgment              Co., No. 15-1542, 2015 U.S. Dist. LEXIS 153636 at *8,
phase of the litigation.” Lodato v. Silvestro, No. 12-1130,         2015 WL 7075825, at *3 (E.D. Pa. Nov. 13, 2015)(quoting
2013 WL 172203, at *5 n. 3, 2013 U.S. Dist. LEXIS 6174,             Swartley v. Hoffner, 734 A.2d 915, 919 (Pa. Super. Ct. 1999) ).
at *14 n.3 (E.D. Pa. 2013). At the motion to dismiss stage, it      A student's claim for breach of contract against a university
is sufficient that a plaintiff “has stated a cognizable claim for   “must relate to a specific and identifiable promise that the
resultant damages.” Id. at *5, 2013 U.S. Dist. LEXIS 6174,          school failed to honor.” Vurimindi v. Fuqua Sch. of Bus., 435
at *13.                                                             F. App'x 129, 133 (3d Cir. 2011).

                                                                     *5 In this case, Plaintiff has omitted any reference to the
                                                                    University's written policies that govern the bases of his
     ii. “Promise” To Assist in Finding Employment
                                                                    claims. However, this Court may look to same for purposes
In this case, Count II of Plaintiff's Complaint is entitled         of deciding the instant Motion. See Turner v. Leggett, 421 F.
“Contract” and consists of an ad damnum clause, preceded            App'x 129, 131 (3d Cir. 2011) (discussing means by which
by one paragraph: “All of the preceding Paragraphs are              a court is permitted to decide a motion to dismiss, including
hereby incorporated by reference as though fully set                review of “ ‘documents that form the basis of a claim.’ ”)
forth a length herein.” (Am. Compl. ¶ 32.) All of the               (quoting Lum v. Bank of America, 361 F.3d 217, 222 (3d Cir.
incorporated paragraphs are contained within Count I                2004) ). The written materials underlying Plaintiff's claims
of Plaintiff's Amended Complaint: Misrepresentation/Fraud           clearly delineate the career services offered by the University
(Am. Compl. ¶¶ 1-31). As discussed above, a plaintiff cannot        and would govern the nature of those services as they pertain
simultaneously proceed on both a Misrepresentation/Fraud            to Plaintiff. See Swartley v. Hoffner, 734 A.2d 915, 919 (Pa.
claim and Breach of Contract claim involving the same               Super. 1999) (contractual relationship between a student and
alleged conduct. Further, none of the preceding paragraphs          university is generally “comprised of the written guidelines,
in Plaintiff's Amended Complaint sufficiently allege the            policies, and procedures as contained in the written materials
existence of a contract, let alone a breach thereof.                distributed to the student over the course of their enrollment
                                                                    in the institution.”). Plaintiff is apparently aware of these
Plaintiff alleges in pertinent part that Defendant promised         materials, as Paragraph 13 of his Amended Complaint
it “would assist him in finding employment after his                recites and rewords a portion thereof. Compare Strayer
graduation[,]” and that after graduating, he “was informed          University, https://strayer.smartcatalogiq.com/en/2018-2019/
that Strayer University did not offer job placement                 Student-Handbook/University-Services-and-Policies/
services.” (Am. Compl. ¶¶ 9-10.) Plaintiff further makes            Career-Services (last visited July 19, 2018) (“Although
the blanket allegation that Defendant “promised enrolling           the intent is to actively engage students in the career
students on a regular basis that it would assist them with          development process, participation in career development
job placement which they claimed was very successful even           activities and/or completion of any Strayer University
though it had no intention of assisting them.” (Am. Compl.          program does not guarantee a student will find employment
¶ 11.) However, Plaintiff also concedes he does not know            after graduation.”), with Pl.'s Am. Compl. ¶ 13 (“Defendant
“the difference between ‘job placement services’ and ‘career        does not guarantee it will successfully find employment for
service resources[,]’ ” and that “Defendant does not guarantee      its graduates[.]”) (emphasis added).
it will successfully find employment for its graduates[.] (Am.



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The allegations Plaintiff provides in support of Count II         U.S. Dist. LEXIS 119471 at *3-4, 2017 WL 3226001, at *2
of his Amended Complaint regarding the allegedly broken           (E.D. Pa. July 31, 2017) (quoting Pa. Cons. Stat. 201-9.2(a) ).
oral promise, are simply not sufficient to survive dismissal.     Under UTPCPL, a Plaintiff must show: “(1) deceptive
However, Plaintiff shall be granted leave to amend this aspect    conduct; (2) an ascertainable loss; (3) justifiable reliance on
of his contract claim.                                            the defendant's wrongful conduct or misrepresentations; and
                                                                  (4) that such reliance caused an injury.” Pellegrino v. State
                                                                  Farm Fire and Cas. Co., No. 12-2065, 2013 U.S. Dist. LEXIS
                                                                  105511 at *23-24, 2013 WL 3878591, at *9 (E.D. Pa. July 29,
                   iii. Additional Courses
                                                                  2013) (quoting Caroselli v. Allstate Prop. & Cas. Ins. Co., No.
As with his “Contract” claim regarding job placement              10-1671, 2010 LEXIS 83515 at *20-21, 2010 WL 3239356,
services, Plaintiff's assertion that he was required to “take     at *7 (E.D. Pa. Aug. 16, 2010) ).
courses that were not required by his original curriculum
or by his new reconstituted curriculum” is insufficiently
pleaded. (Am. Compl. ¶ 7.) Plaintiff fails to identify any                       i. Sufficiency of the Pleadings
“contract” (or part thereof) that pertains to curriculum
requirements, an additional promise, or an agreement               *6 In support of his UTPCPL claim, Plaintiff simply: (1)
of any kind regarding Strayer's duty to refrain from              incorporates all prior paragraphs of his Amended Complaint
changing the curriculum after Plaintiff left the school           by reference; (2) provides the text of selected paragraphs of
in 2013, and/or requiring enrollment in certain classes.          the UTPCPL statute; and, (3) alleges “[a]ll the violations of
In fact, written policies do exist regarding curriculum           the UTPCPL by the Defendant were done intentionally and
requirements upon readmission to the University. See Strayer      with malice.” (Am. Compl. ¶ 35.)
University, https://strayer.smartcatalogiq.com/2015-2016/
Catalog/Admission-to-the-University/Graduate-Admission/           Upon assessment of all of the allegations set forth in
Readmission (last visited July 19, 2018). However, Plaintiff's    Plaintiff's Misrepresentation/Fraud and Contract Counts (as
Amended Complaint contains no reference to these policies,        incorporated by reference in his UTPCPL Count), this
even though his claim is based on same.                           Court finds Count III of Plaintiff's Amended Complaint
                                                                  to be similarly deficient. In particular, Plaintiff's Amended
Because Plaintiff has failed to adequately allege the existence   Complaint fails to sufficiently plead wrongful conduct or
of a contract or breach thereof with respect to this issue,       misrepresentations by Defendant and ascertainable loss as a
he cannot sustain his claim. Accordingly, the same shall          result thereof. Again, Plaintiff concedes Defendant made “no
be dismissed. However, in the event Plaintiff determines          guarantee” of employment upon graduation. (Am. Compl. ¶
amendment would not be futile in light of the applicable          13.) Moreover, although Plaintiff alleges that he graduated
policies regarding readmission, he shall be given leave to        later than he would otherwise have graduated because he had
amend.                                                            to take extra classes, he fails to acknowledge the readmission
                                                                  policies in effect at the time of his re-enrollment. Finally
                                                                  —and perhaps most importantly—Plaintiff's recitation of
  D. Count III: Unfair Trade Practices and Consumer               statutory language and conclusory statement that all of the
  Protection Law (UTPCPL)                                         alleged UTPCPL violations “were done intentionally and
The “general purpose” of Pennsylvania's Unfair Trade              with malice[,]” amounts to nothing more than a “[t]hreadbare
Practices and Consumer Protection Law (UTPCPL) “is to             recital[ ] of the elements of a cause of action, supported by
protect the public from fraud and unfair deceptive business       mere conclusory statements [and does] not suffice.” Ashcroft
practices.” See Duffy v. Lawyers Title Ins. Co., 972 F.Supp.2d    v. Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868
683, 688 (E.D. Pa. 2013) (citing Burke v. Yingling, 446           (2009) (citing Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,
Pa.Super. 16, 666 A.2d 288, 291 (Pa. Super. 1995) ).              167 L.Ed.2d 929 (2007) ). A claim only has facial plausibility
The statute provides this protection to “[a]ny person who         when the plaintiff pleads factual content that allows the court
purchases or leases goods or services primarily for personal,     to draw the reasonable inference that the defendant is liable
family or household purposes and thereby suffers any              for the misconduct alleged—something Plaintiff has failed
ascertainable loss of money or property” as the result of an      to do here. Id. (citing Twombly, 550 U.S. at 556, 127 S.Ct.
unlawful act. Geary v. Wells Fargo Bank, No. 17-2468, 2017        1955). Accordingly, Defendant's Motion to Dismiss Count III



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of Plaintiff's Amended Complaint shall be granted. If, upon
                                                                     In the event Plaintiff was ultimately able to plead a plausible
review of this claim in conjunction with his Contract claim,
                                                                     contract claim, his UTPCPL claim would be barred because
Plaintiff is able to earnestly determine amendment would not
                                                                     a double recovery is prohibited under the economic loss
be futile, he shall be given leave to do so.
                                                                     doctrine.


                ii. Economic Loss Doctrine                           V. Conclusion
                                                                     For the reasons set forth above, Defendant's Motion to
The “economic loss doctrine” “prohibits plaintiffs from              Dismiss shall be granted and Plaintiff shall be permitted leave
recovering in tort economic losses to which their entitlement        to amend in accordance herewith.
flows only from a contract.” Werwinski, 286 F.3d 661, 671
(3d Cir. 2002) (quoting Duquesne Light Co. v. Westinghouse           An appropriate Order follows.
Elec. Corp., 66 F.3d 604, 618 (3d Cir. 1995) ). The Third
Circuit has held that when such claims essentially arise from
a breach of contract, “the Pennsylvania Supreme Court would          All Citations
apply the economic loss doctrine to UTPCPL claims based on
                                                                     Not Reported in Fed. Supp., 2018 WL 3585124
intentional torts like fraud.” See Berkery v. Verizon Communs.
Inc., 658 F. App'x 172, 175 (3d Cir. 2016) (discussing
Werwinski, 286 F.3d 661 at 679-81).

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Murphy v. F.D.I.C., 408 Fed.Appx. 609 (2010)




                  408 Fed.Appx. 609                                 West Headnotes (1)
             This case was not selected for
         publication in the Federal Reporter.
  Not for Publication in West's Federal Reporter See                [1]     Antitrust and Trade Regulation           Persons
   Fed. Rule of Appellate Procedure 32.1 generally                          liable
    governing citation of judicial decisions issued                         Assignee holder of mortgage was not subject
    on or after Jan. 1, 2007. See also Third Circuit                        to liability under Pennsylvania Unfair Trade
  LAR, App. I, IOP 5.7. (Find CTA3 App. I, IOP 5.7)                         Practices and Consumer Protection Law
           United States Court of Appeals,                                  (UTPCPL) for alleged violations that occurred
                     Third Circuit.                                         before assignment. 73 P.S. § 211.

    Edward MURPHY; Sandra Murphy, Appellants                                10 Cases that cite this headnote
                      v.
         FEDERAL DEPOSIT INSURANCE
           CORPORATION, (Receiver for
      Washington Mutual Bank); Wells Fargo.                         *609 Appeal from the United States District Court for the
                                                                   Eastern District of Pennsylvania (D.C. Civil No. 2–07–cv–
                       No. 09–1843.                                04417), District Judge: Honorable J. Curtis Joyner.
                              |
               Submitted Under Third Circuit                       Attorneys and Law Firms
                 LAR 34.1(a) Nov. 4, 2010.
                                                                   Rebecca Steiger, Matthew B. Weisberg, Prochniak Weisberg,
                              |
                                                                   for Appellants.
                Opinion Filed: Nov. 24, 2010.
                                                                   Henry F. Reichner, Reed Smith, Philadelphia, PA, for Federal
Synopsis
                                                                   Deposit Insurance Corporation and Wells Fargo.
Background: Borrowers brought action against lender's
assignee alleging multiple types of wrongdoing arising out         Before: SCIRICA, RENDELL and ROTH, Circuit Judges.
of origination and servicing of residential mortgage loan.
After amended complaint adding assignee's assignee was
filed, the United States District Court for the Eastern District                   OPINION OF THE COURT
of Pennsylvania, J. Curtis Joyner, J., dismissed amended
complaint and denied borrowers' motion for reconsideration         RENDELL, Circuit Judge.
and for leave to file amended complaint. Borrowers appealed.
                                                                    **1 Plaintiffs Edward and Sandra Murphy appeal the United
                                                                   States District Court for the Eastern District of Pennsylvania's
                                                                   grant of defendant Wells Fargo's Motion to Dismiss their
Holding: The Court of Appeals, Rendell, Circuit Judge, held        complaint and the District Court's denial of plaintiffs' Motion
that assignee was not subject to liability under Pennsylvania      for Partial Reconsideration and for Leave to File an Amended
Unfair Trade Practices and Consumer Protection Law                 Complaint. Because the District Court's disposition of both
(UTPCPL) for alleged violations that occurred before               motions was proper, we will affirm.
assignment.

                                                                   The District Court had diversity jurisdiction under      28
Affirmed.                                                          U.S.C. § 1332 and federal question jurisdiction under *610
                                                                   28 U.S.C. § 1331. We exercise jurisdiction over the District
Procedural Posture(s): On Appeal; Motion to Dismiss.               Court's final order under 28 U.S.C. § 1291.

                                                                   Because we write only for the benefit of the parties, we
                                                                   include only the essential facts. Plaintiffs initiated this



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action solely against Washington Mutual Home Loans, Inc.
                                                                   complaint.” Id. We review a denial of a motion for leave to
(“WaMu”) 1 alleging multiple types of wrongdoing arising           amend for abuse of discretion. Where amendment would be
out of the origination and servicing of a residential mortgage     futile, meaning that the complaint, “as amended, would fail to
loan they entered into with non-party Gateway Funding              state a claim upon which relief could be granted,” the District
Diversified Mortgage Services, L.P. (“Gateway Funding”).           Court does not abuse its discretion in denying leave to amend.
The mortgage loan was subsequently assigned to WaMu.
                                                                      In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410,
WaMu commenced a foreclosure action in May, 2006 after
plaintiffs defaulted on their mortgage payments. Plaintiffs        1434 (3d Cir.1997). See also     Grayson v. Mayview State
allegedly sent a check to reinstate their mortgage on June 27,     Hosp., 293 F.3d 103, 108 (3d Cir.2002).
2006, and WaMu thereafter dismissed the foreclosure action.
Plaintiffs alleged that WaMu then sent them conflicting             **2 Only plaintiffs' claim against Wells Fargo under
statements, each demanding a different amount of payment           the Pennsylvania Unfair Trade Practices and Consumer
and stating a different due date for that payment.                 Protection Law (“UTPCPL”), 73 Pa. Stat. Ann. § 211,
                                                                   remains. 2 Plaintiffs make two arguments on *611 appeal.
Three months after filing a complaint against WaMu,                First, with regard to their UTPCPL claim, they argue
plaintiffs filed an amended complaint against Wells Fargo          that the District Court erred in dismissing their amended
Bank, N.A. (“Wells Fargo”), a later assignee of the mortgage       complaint for lack of specificity. Second, they assert that
loan. The amended complaint asserted sixteen causes of             the District Court abused its discretion when it refused
action against Wells Fargo on the basis of assignee liability.     to grant their request to file an amended complaint based
The Murphys alleged that their mortgage loan was assigned          on its conclusion that amendment would be futile. They
to Wells Fargo at some point after the events described above      argue that amendment would not be futile because, pursuant
and that, consequently, Wells Fargo became liable as a matter      to the Federal Trade Commission's Rule Concerning the
of law for Gateway Funding and WaMu's wrongs. At no                Preservation of Consumers' Claims and Defenses (the “FTC
point did plaintiffs allege that Wells Fargo independently         Holder Rule”), assignee holders of mortgages are subject
committed any misdeeds.                                            to the same liability as the lenders with whom their loans
                                                                   originated.
In granting Wells Fargo's Motion to Dismiss plaintiffs'
complaint, the District Court explained that plaintiffs'           Plaintiffs' claims lack merit; the District Court did not err in
mortgage loan was assigned to Wells Fargo after the events         dismissing their complaint and did not abuse it discretion in
surrounding plaintiffs' allegations against WaMu occurred.         denying their request for leave to amend. The UTPCPL, the
Thus, the District Court concluded that plaintiffs had not         sole legal basis on which plaintiffs appeal, does not impose
alleged any facts that supported the sixteen causes of action
they asserted against Wells Fargo. Following the District          liability on assignees. See    Williams v. Nat'l Sch. of Health
Court's dismissal of the Murphys' complaint, they filed a          Tech., Inc., 836 F.Supp. 273, 283 (E.D.Pa.1993) (noting that
Motion for Partial Reconsideration and for Leave to File an        the UTPCPL “does not impose liability on parties who have
Amended Complaint. In denying this motion, the District            not themselves committed wrongdoing.”); Roche v. Sparkle
Court noted that plaintiffs had done nothing more than re-         City Realty, No. 08–2518, 2009 WL 1674417, at *4 (E.D.Pa.
assert the same arguments the Court had already rejected and       June 12, 2009) (“[N]umerous courts have found that loan
that the amendments plaintiffs sought would not give them          assignees cannot be held liable under the UTPCPL without
valid claims on which relief could be granted.                     allegations that they specifically committed wrongdoing.”).


We exercise plenary review over a District Court's grant of        Plaintiffs' reliance on the FTC Holder Rule is also misplaced.
                                                                   First, the Rule, which requires that certain language be
a 12(b)(6) Motion to Dismiss. See        McGovern v. City of       included in “consumer credit contracts,” does not apply to
Philadelphia, 554 F.3d 114, 115 (3d Cir.2009). The District
Court's judgment “is proper only if, accepting all factual         mortgage loans.     16 C.F.R. § 433.2 (2005); In re Woodsbey,
allegations as true and construing the complaint in the light      375 B.R. 145, 150 (Bankr.W.D.Pa.2007);      Johnson v.
most favorable to the plaintiff, we determine that the plaintiff   Long Beach Mortgage Trust, 2001–4, 451 F.Supp.2d 16,
is not entitled to relief under any reasonable reading of the      55 (D.D.C.2006). Second, even if notice had mistakenly



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been included in the plaintiffs' mortgage note pursuant to
                                                                     For the foregoing reasons, we will affirm the District
the FTC Holder Rule, the Truth in Lending Act's (“TILA”)
                                                                     Court's grant of defendant's Motion to Dismiss and denial of
assignee liability provisions would trump the Rule and
                                                                     plaintiffs' Motion for Partial Reconsideration and for Leave
preclude Wells Fargo from incurring liability for the wrongs
                                                                     to File an Amended Complaint.
of others.     Ramadan v. Chase Manhattan Corp., 229 F.3d
194, 200–03 (3d Cir.2000). Without the FTC Holder Rule,
plaintiffs have no UTPCPL claim, and any amendment to                All Citations
their complaint would be futile because plaintiffs could never
allege that their loan was not subject to TILA.                      408 Fed.Appx. 609, 2010 WL 4780380




                                                         Footnotes


1      Since September 25, 2008, WaMu has been in the receivership of the Federal Deposit Insurance Corporation
       (“FDIC”). The FDIC is the named defendant in this case.
2      The District Court granted plaintiffs' request to discontinue without prejudice their claims against WaMu/FDIC,
       so only plaintiffs' claims against Wells Fargo remain.


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United States District Court, M.D. Pennsylvania. |       September 4, 2020 |   Slip Copy |      2020 WL
5351042

Document Details                                                                      Outline
alwd Citation:      Prukala v. Chase Bank, N.A., 3:19-CV-1791, 2020 WL 5351042 (M.D. Attorneys and Law
                    Pa. Sept. 4, 2020)                                               Firms (p.1)
All Citations:      Slip Copy, 2020 WL 5351042                                       MEMORANDUM
                                                                                     OPINION (p.1)
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                                                                   On December 5, 2019, Defendant again filed a Motion
                                                                   to Dismiss Plaintiff's Amended Complaint with prejudice,
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                                                                   which is now pending before the Court. (Doc. 9). The issues
   Only the Westlaw citation is currently available.
                                                                   have been fully briefed and Defendant's Motion is ripe for
   United States District Court, M.D. Pennsylvania.
                                                                   disposition.
              Christina PRUKALA, Plaintiff,
                           v.                                      For the reasons set forth below, the Court will grant
             CHASE BANK, N.A., Defendant.                          Defendant's Motion to Dismiss with prejudice. (Doc. 9).

                         3:19-CV-1791
                               |                                                II. FACTUAL ALLEGATIONS
                      Filed 09/04/2020
                                                                   Plaintiff's Amended Complaint (Doc. 8) alleges the following
Attorneys and Law Firms
                                                                   facts which, for the purposes of resolving Defendant's Motion
                                                                   to Dismiss, the Court takes as true:
Joseph T. Sucec, Grantham, PA, for Plaintiff.

Jenny N. Perkins, Ballard Spahr, LLP, Philadelphia, PA, for        Plaintiff Christina Prukala is a citizen and resident of
Defendant.                                                         the Commonwealth of Pennsylvania. (Doc. 8, at ¶ 4).
                                                                   Defendant Chase is a “corporate entity engaged in, among
                                                                   other enterprises, collection of allegedly overdue credit
               MEMORANDUM OPINION                                  accounts.” (Id. at ¶ 5a). Defendants John Does 1-10 are
                                                                   unknown individuals or entities who “played a substantial
Robert D. Mariani, United States District Court Judge              role in the commission of the acts.” (Id. at ¶ 5b). Defendants
                                                                   X, Y, and Z Corporations are unknown entities who also
                                                                   “played a substantial role in the commission of the acts.” (Id.
 I. INTRODUCTION AND PROCEDURAL HISTORY
                                                                   at ¶ 5c).
 *1 On September 9, 2019, Plaintiff Christina Prukala filed a
putative class action complaint in the Court of Common Pleas       Plaintiff possesses consumer debts, used for “personal,
of Lackawanna County against Defendant JPMorgan Chase              household or family purposes,” that Defendant was seeking
Bank, N.A., improperly named as “Chase Bank”, [hereinafter         to collect. (Id. at ¶ 10).
“Chase”] for alleged violations of Pennsylvania's Fair Credit
Extension Uniformity Act (“FCEUA”) and the federal Fair            One of Plaintiff's consumer accounts was reported as
Debt Collection Practices Act (“FDCPA”). (Doc. 1, Ex. 1).          delinquent and derogatory information was placed on her
On October 16, 2019, Defendant Chase properly removed the          credit report by Defendant. (Id. ¶¶ 11, 14; Doc. 8-1, at 21–
action to this Court. (Doc. 1).                                    22). When Plaintiff discovered the derogatory information on
                                                                   her credit report, she “sent Defendant letters both disputing
On October 21, 2019, Defendant filed a Motion to Dismiss           the high balance of each account and requesting copies of the
Plaintiff's complaint. (Doc. 4). On November 4, 2019,              original contracts.” (Id. at ¶ 12).
Plaintiff amended her complaint eliminating the FDCPA
claims, but still alleging Defendant violated the FCEUA            Defendant updated the Credit Reporting Agencies (“CRAs”)
when Defendant reported Plaintiff's consumer credit report as      on a regular basis, which is reflected on Plaintiff's
“delinquent, with derogatory information therein.” (Doc. 8,        consumer credit report. (Id. at ¶¶ 15, 17). Defendant
at ¶¶ 1, 11). Plaintiff seeks relief under Pennsylvania's Unfair   “constructively, if not actively” updated the information on
Trade Practices and Consumer Protection Law (“UTPCPL”).            Plaintiff's consumer report “without either reinvestigating
(Id. at ¶ 39). Plaintiff seeks monetary damages, punitive          said derogatory information or notating on the report that the
damages, and injunctive relief on behalf of herself and a          account was disputed.” (Id. at ¶ 19).
putative class. (Id. at 10-11).
                                                                    *2 Defendant had actual and/or constructive notice
                                                                   that Plaintiff disputed the debts as Plaintiff sent letters



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to Defendant indicating her dispute and requesting an                  Abbott Labs., 707 F.3d 223, 231 n.14 (3d Cir. 2013) (internal
accounting of the debts and the original contracts. (Id. at ¶          citation, alteration, and quotation marks omitted). Thus, “the
18A; Doc. 8-1, at 23–25). Plaintiff never received a response          presumption of truth attaches only to those allegations for
from Defendant to her letters. (Id. at ¶ 18B).                         which there is sufficient ‘factual matter’ to render them
                                                                       ‘plausible on [their] face.’ ” Schuchardt v. President of the
The derogatory information on the consumer credit                      U.S., 839 F.3d 336, 347 (3d Cir. 2016) (alteration in original)
report “negatively reflects upon Plaintiff, Plaintiff's credit         (quoting Iqbal, 556 U.S. at 679). “Conclusory assertions
repayment history, Plaintiff's financial responsibility as a           of fact and legal conclusions are not entitled to the same
debtor and Plaintiff's credit worthiness.” (Id. at ¶ 16).              presumption.” Id.

As a result, Plaintiff suffered “repeated disruption of te             “Although the plausibility standard ‘does not impose a
[sic] pursuit of any business affairs affected by the false,           probability requirement,’ it does require a pleading to show
unverified information on her credit report as well as                 ‘more than a sheer possibility that a defendant has acted
the emotional distress suffered from being the target of               unlawfully.’ ” Connelly v. Lane Constr. Corp., 809 F.3d 780,
Defendant's collection activity.” (Id. at ¶ 43). Plaintiff's           786 (3d Cir. 2016) (internal citation omitted) (first quoting
damages include “lost time in dealing with said violations,            Twombly, 550 U.S. at 556; then quoting Iqbal, 556 U.S. at
including but not limited to loss of credit opportunities and          678). “The plausibility determination is ‘a context-specific
business standing in the community, and in seeking and                 task that requires the reviewing court to draw on its judicial
contacting legal counsel for the purpose of exploring and              experience and common sense.’ ” Id. at 786-787 (quoting
commencing this litigation.” (Id. at ¶ 34).                            Iqbal, 556 U.S. 679).

                                                                        *3 However, even “if a complaint is subject to Rule 12(b)(6)
                                                                       dismissal, a district court must permit a curative amendment
               III. STANDARD OF REVIEW
                                                                       unless such an amendment would be inequitable or futile.”
A complaint must be dismissed under Federal Rule Civil                 Phillips v. Cty. of Allegheny, 515 F.3d 224, 245 (3d Cir. 2008).
Procedure 12(b)(6), if it does not allege “enough facts to state
a claim to relief that is plausible on its face.” Bell Atl. Corp. v.
Twombly, 550 U.S. 544, 570, 127 S.Ct. 1955, 167 L.Ed.2d 929                         [E]ven when plaintiff does not seek
(2007). The plaintiff must aver “factual content that allows                        leave to amend his complaint after a
the court to draw the reasonable inference that the defendant                       defendant moves to dismiss it, unless
is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556                       the district court finds that amendment
U.S. 662, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009).                             would be inequitable or futile, the
                                                                                    court must inform the plaintiff that
“While a complaint attacked by a Rule 12(b)(6) motion to                            he or she has leave to amend the
dismiss does not need detailed factual allegations, a plaintiff's                   complaint within a set period of time.
obligation to provide the grounds of his entitlement to relief
requires more than labels and conclusions, and a formulaic
recitation of the elements of a cause of action will not do.”          Id.
Twombly, 550 U.S. at 555 (internal citations, alterations,
and quotations marks omitted). In other words, “[f]actual
allegations must be enough to raise a right to relief above
the speculative level.” Covington v. Int'l Ass'n of Approved                                  IV. ANALYSIS
Basketball Officials, 710 F.3d 114, 118 (3d Cir. 2013)                 Defendant Chase argues that Plaintiff's Amended Complaint
(internal citations and quotation marks omitted). A court              should be dismissed for failure to state a claim upon which
“take[s] as true all the factual allegations in the Complaint          relief can be granted. (Doc. 9). Defendant's argument under
and the reasonable inferences that can be drawn from those             the UTPCPL is twofold: (1) Plaintiff has not pleaded facts that
facts, but ... disregard[s] legal conclusions and threadbare           she suffered an ascertainable loss resulting from Defendant's
recitals of the elements of a cause of action, supported               fraudulent actions, and (2) Plaintiff has not pleaded facts
by mere conclusory statements.” Ethypharm S.A. France v.



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that demonstrate justifiable reliance on Defendant's actions or     *4 Moreover, “damages cannot be speculative.” Jarzyna
failure to act. (Doc. 10, at 6–7). The Court agrees.               v. Home Properties, L.P., 185 F. Supp. 3d 612, 626 (E.D.
                                                                   Pa. 2016), aff'd, 783 F. App'x 223 (3d Cir. 2019); see
Pennsylvania's FCEUA statute outlines actions taken by             also Grimaldi v. Bank of Am., No. 3:12-CV-2345, 2013
creditors which constitute an “unfair or deceptive debt            WL 1050549, at *5 (M.D. Pa. Mar. 14, 2013)(holding
collection act or practice.” 73 Pa. Stat. Ann. § 2270.4(b). It     a hypothetical attempt to refinance a home is not an
further declares any violation of the FCEUA to also constitute     ascertainable loss). The test for speculative damages is not
a violation of Pennsylvania's UTPCPL. 73 Pa. Stat. Ann. §          necessarily about “the difficulty in calculating the amount,”
2270.5(a). The UTPCPL provides a private right of action           but instead with “whether there are identifiable damages.”
to any person who has suffered “any ascertainable loss of          Kaymark, 783 F.3d at 182 (quoting Pashak v. Barish, 450
money or property, real or personal, as a result of the use        A.2d 67, 69 (Pa. 1982)).
or employment by any person of a method, act or practice
declared unlawful by [the UTPCPL].” 73 Pa. Stat. Ann. §            Here, Plaintiff alleged that she has suffered “repeated
201-9.2.                                                           disruption of any business affairs” and “emotional
                                                                   distress.” (Doc. 8, at ¶ 43). Plaintiff failed to provide any facts
The FCEUA does not provide a private cause of action for           regarding what the business affairs are, in what ways they
violations; instead, plaintiffs must use the UTPCPL's remedy       were disrupted, or what specifically was lost because of the
provision to obtain relief. Benner v. Bank of Am., N.A., 917       disruption. (See generally, Doc. 8). Without alleging any facts
F. Supp. 2d 338, 359 (E.D. Pa. 2013); see 73 Pa. Stat. Ann.        that she lost money or property that she would have had but
§ 201-9.2. Consequently, to plead a cause of action under the      for Defendant's actions, Plaintiff's damages are speculative
FCEUA, plaintiffs must be able to state a claim under the          and unascertainable.
UTPCPL. Kaymark v. Bank of Am., N.A., 783 F.3d 168, 182
(3d Cir. 2015); see also Baldwin v. Monterey Fin. Servs., Inc.,    Furthermore, Plaintiff's “emotional distress” (Id. at ¶ 43)
No. 3:14-CV-2346, 2017 WL 4767696, at *6 (M.D. Pa. Oct.            is not cognizable under the UTPCPL and is, therefore,
20, 2017).                                                         not an ascertainable loss. Additionally, Plaintiff's damages
                                                                   connected to retaining legal counsel (Id. at 10–11) are not an
To state a claim under the UTPCPL, the plaintiff first must        ascertainable loss under the statute.
allege “an ascertainable loss as a result of the defendant's
prohibited action.” Weinberg v. Sun Co., 777 A.2d 442, 446         Plaintiff has not met her burden to prove that she has lost
(Pa. 2001). Second, the plaintiff must show that “he justifiably   any money or property that she would have had but for
relied on the defendant's wrongful conduct or representation       Defendant's actions. Plaintiff's Amended Complaint does not
and that he suffered harm as a result of that reliance.” Hunt v.   allege an ascertainable loss as required for a UTPCPL or
U.S. Tobacco Co., 583 F.3d 217, 224 (3d Cir. 2008)(quoting         FCEUA claim.
Yocca v. Pittsburgh Steelers Sports, Inc., 854 A.2d 425, 438
(Pa. 2004)).                                                       In addition to alleging an ascertainable loss, the Pennsylvania
                                                                   Supreme Court “has categorically and repeatedly stated that,
To allege an ascertainable loss, the plaintiff “must be able to    due to the causation requirement in the Consumer Protection
point to money or property that he would have had but for          Law's standing provision, 73 Pa. Cons.Stat. § 201–9.2(a)
the defendant's fraudulent actions.” Benner, 917 F. Supp. 2d       (permitting suit by private plaintiffs who suffer loss “as
at 359. Damages resulting from emotional distress are not          a result of” the defendant's deception), a private plaintiff
cognizable under the UTPCPL. Walkup v. Santander Bank,             pursuing a claim under the statute must prove justifiable
N.A., 147 F. Supp. 3d 349, 358 (E.D. Pa. 2015). Likewise, the      reliance.” Hunt, 538 F.3d at 221.
cost of retaining counsel does not qualify as an ascertainable
loss. Grimes v. Enter. Leasing Co. of Philadelphia, LLC, 105       The Pennsylvania Supreme Court has held that the UTPCPL
A.3d 1188, 1193 (Pa. 2014)(explaining that the UTPCPL              is to be “liberally construed to effectuate its objective of
separately provides for awards of costs and reasonable             protecting the consumers.” Ash v. Cont'l Ins. Co., 932
attorney's fees).                                                  A.2d 877, 881 (Pa. 2007). However, the Pennsylvania
                                                                   Supreme Court has also held, “Nothing in the legislative
                                                                   history suggests that the legislature ever intended statutory



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language directed against consumer fraud to do away                 A motion to dismiss with prejudice is appropriate in cases
with the traditional common law elements of reliance and            where the plaintiff has already had the opportunity to
causation.” Weinberg, 777 A.2d at 446. Therefore, the               amend her complaint, but was still unable to plead facts
plaintiff's justifiable reliance on the defendant's fraudulent      sufficient to survive a Rule 12(b)(6) motion. Ghaffari v.
conduct must have caused the harms suffered by the plaintiff.       Wells Fargo Bank N.A., 621 F. App'x 121, 125 (3d Cir.
See Hunt, 538 F.3d at 224–225; Walkup, 147 F. Supp. 3d at           2015)(“[Plaintiff] had already been given an opportunity to
358.                                                                amend his complaint after Wells Fargo filed its motion to
                                                                    dismiss his original complaint.”); see also Fletcher-Harlee
It is the plaintiff's burden to prove justifiable reliance in the   Corp., 482 F.3d at 253 (“Here, Fletcher-Harlee was not caught
complaint. Weinberg, 777 A.2d at 446; see also Toy v. Metro.        unaware by the Court's entry of judgment, as it had notice of
Life Ins. Co., 928 A.2d 186, 202 (Pa. 2007)(“... [A] plaintiff      Pote's motion and every opportunity to amend its complaint
alleging violations of the [UTPCPL] must prove justifiable          beforehand.”); Silver v. Pep Boys-Manny, Moe & Jack of
reliance.”); Hunt, 538 F.3d at 227 (rejecting a presumption of      Del., Inc., No. CV1700018FLWLHG, 2018 WL 1535285, at
reliance).                                                          *8 n.3 (D.N.J. Mar. 29, 2018) (“Plaintiff filed the Second
                                                                    Amended Complaint ... with full knowledge of the arguments
Viewing all facts in the light most favorable to the Plaintiff      in Defendant's original motion, and, yet, has failed to address
and drawing all reasonable inferences in Plaintiff's favor,         them. Plaintiff's demonstrated inability to allege the most
there is no allegation of causation or justifiable reliance in      basic facts, which should be within her knowledge, in support
the Amended Complaint. (See generally, Doc. 8). Even if             of her claim ... makes dismissal with prejudice the appropriate
the disrupted pursuit of business affairs was an ascertainable      outcome here.”).
loss (Id. at ¶ 43), Plaintiff does not allege how the
Defendant's actions caused such a disruption. Plaintiff pleads      Plaintiff does not allege facts sufficient to state a claim upon
that Defendant caused derogatory information to be placed           which relief can be granted in her Amended Complaint,
on her consumer credit report despite sending Defendant a           nor does she request leave to amend the complaint. (See
dispute letter. (Id. at ¶¶ 14, 18). However, she does not explain   generally, Doc. 8). The Court is not required to grant leave
what the derogatory information is or how that derogatory           to amend where, as here, the plaintiff already has had an
information impacted her business pursuits. Nor does Plaintiff      opportunity to amend her complaint. Defendant Chase filed a
allege reliance, justifiable or not, on any actions taken or        Motion to Dismiss Plaintiff's original Complaint on October
statements made by the Defendant.                                   21, 2019. (Doc. 4). Defendant's original Motion not only
                                                                    raised the defects in Plaintiff's FDCPA claims (Id. at 7–11),
 *5 Plaintiff's Amended Complaint does not allege causation         but also raised the same defects that are present in Plaintiff's
or justifiable reliance as is required by the UTPCPL and            FCEUA and UTPCPL allegations. (Id. at 11–15). In response,
FCEUA; and therefore, fails to state a claim upon which relief      Plaintiff saw fit not to amend her complaint at all, other
may be granted.                                                     than abandoning her FDCPA claims. (Compare Doc. 1-2, Ex.
                                                                    1 with Doc. 8). Defendant Chase therefore raised the same
A district court may dismiss a complaint without leave to           two defects of the UTPCPL claim once again in its Motion
amend “on the grounds of bad faith, undue delay, prejudice,         to Dismiss Plaintiff's Amended Complaint. (Doc. 10, at 6–
or futility.” Alston v. Parker, 363 F.3d 229, 236 (3d Cir.          10). Plaintiff opposed the Motion but neither addressed these
2004). Furthermore, “it is hardly error for a district court to     issues nor sought leave to amend the Amended Complaint.
enter final judgment after granting a Rule 12(b)(6) motion          (Doc. 11).
to dismiss when the plaintiff has not properly requested
leave to amend its complaint.” Fletcher-Harlee Corp. v. Pote        The Court deems Plaintiff had the opportunity to amend her
Concrete Contractors, Inc., 482 F.3d 247, 253 (3d Cir. 2007);       Complaint and cure its deficiencies but did not do so. No
see also Burtch v. Milberg Factors, Inc., 662 F.3d 212, 230         further leave will be granted.
(3d Cir. 2011)(“A district court may enter final judgment after
granting a Rule 12(b)(6) motion to dismiss when the plaintiff        *6 Without alleging justifiable reliance on the Defendant's
has not properly requested leave to amend its complaint.”).         prohibited statements or actions and without alleging an
                                                                    ascertainable loss as a result of that reliance, Plaintiff's
                                                                    complaint does not state a claim upon which relief can be



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                                                                     Therefore, for the reasons set forth in this Memorandum
granted under the UTPCPL and the FCEUA. Plaintiff was
                                                                     Opinion, the Court will grant Defendant's Motion to Dismiss
on notice of these defects after Defendant's initial Motion to
                                                                     with prejudice (Doc. 9). A separate Order follows.
Dismiss, but saw fit not to address them. The complaint must
be dismissed without leave to amend.
                                                                     All Citations

                                                                     Slip Copy, 2020 WL 5351042
                    V. CONCLUSION


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                                                                  Procedural Posture(s): On Appeal; Motion for Summary
                   614 Fed.Appx. 80
                                                                  Judgment.
             This case was not selected for
        publication in West's Federal Reporter.
  See Fed. Rule of Appellate Procedure 32.1 generally              West Headnotes (2)
     governing citation of judicial decisions issued
      on or after Jan. 1, 2007. See also U.S.Ct. of
     Appeals 3rd Cir. App. I, IOP 5.1, 5.3, and 5.7.               [1]    Antitrust and Trade Regulation          Privilege
            United States Court of Appeals,                               or immunity
                     Third Circuit.                                       Finance, Banking, and Credit         Defenses
                                                                          and safe harbors in general
            James E. SCHWARTZ, Appellant
                                                                          Libel and Slander        Defenses
                         v.
                                                                          Torts      Contracts in general
               ONEWEST BANK, FSB.
                                                                          Allegedly improper communications made by
                      No. 13–4680.                                        mortgage assignee or its attorneys with respect to
                             |                                            parcel of land that assignee claimed was subject
               Submitted Under Third Circuit                              to mortgage were made in connection with
                 LAR 34.1(a) June 4, 2015.                                foreclosure action, and thus were protected by
                             |                                            absolute judicial privilege under Pennsylvania
                   Filed: June 5, 2015.                                   law, such that they could not be used as a
                                                                          basis for mortgagor's claims alleging slander
Synopsis                                                                  of title, violation of the Fair Credit Extension
Background: Mortgagor, who owned two parcels of land,                     Uniformity Act (FCEUA), violation of the
brought action against mortgage assignee, asserting claims                Unfair Trade Practices and Consumer Protection
under state law for quiet title, slander of title, violation of           Law (UTPCPL), and intentional interference
the Fair Credit Extension Uniformity Act (FCEUA), violation               with existing and prospective contractual
of the Unfair Trade Practices and Consumer Protection Law                 relations. 73 P.S. §§ 201–1 et seq., 2270.1.
(UTPCPL), abuse of process, and intentional interference
with existing and prospective contractual relations, arising              2 Cases that cite this headnote
from assignee's attempts to foreclose on parcel of land that
was not subject to the mortgage. The United States District
                                                                   [2]    Process       Pleading
Court for the Eastern District of Pennsylvania, Nitza I.
                                                                          Mortgagor's allegation that mortgage assignee
Quinones Alejandro, J., 2013 WL 6037078, granted summary
                                                                          commenced foreclosure action for the improper
judgment in mortgagor's favor on quiet title claim and
                                                                          purpose of attempting to unlawfully gain
dismissed remaining claims for failure to state a claim.
                                                                          ownership of parcel of land that was not subject
Mortgagor appealed.
                                                                          to mortgage was insufficient to state a claim
                                                                          for abuse of process under Pennsylvania law,
                                                                          absent allegations that the process was pursued
Holdings: The Court of Appeals, Shwartz, Circuit Judge, held              to achieve an unauthorized purpose.
that:
                                                                          1 Cases that cite this headnote
[1] assignee's allegedly improper communications were
protected by absolute judicial privilege, and

[2] mortgagor failed to state abuse of process claim.             *81 Appeal from the United States District Court for the
                                                                  Eastern District of Pennsylvania, (D.C. No. 2–13–cv–00113),
                                                                  District Judge: Hon. Nitza I. Quinones Alejandro.
Affirmed.



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                                                                Properties, LLC, and of development rights on the properties
Attorneys and Law Firms                                         to Tinicum Township.

H. Peter Nelson, Esq., Grim, Biehn & Thatcher, Perkasie, PA,
                                                                Based on these facts, Schwartz asserted the following causes
for Appellant.
                                                                of action: quiet title and a “declaratory judgment,” seeking a
Martin C. Bryce, Jr., Esq., Daniel McKenna, Esq., Ballard       declaration “that the only property subject to the [mortgage]
Spahr, Brett L. Messinger, Esq., Brian J. Slipakoff, Esq.,      is the North 30 Parcel” (Counts I & II), App. 31–32; slander
Duane Morris, Philadelphia, PA, for OneWest Bank, FSB.          of title (Count III); violation of the Fair Credit Extension
                                                                Uniformity Act (“FCEUA”), 73 Pa. Stat. Ann. § 2270.1 et
Before: FISHER, JORDAN, and SHWARTZ, Circuit Judges.            seq. (Count IV); violation of the Unfair Trade Practices and
                                                                Consumer Protection Law (“UTPCPL”), 73 Pa. Stat. Ann.
                                                                § 201–1 et seq. (Count V); abuse of process (Count VI);
                        OPINION *                               and intentional interference with existing and prospective
                                                                contractual relations (Counts VII & VIII).
SHWARTZ, Circuit Judge.
                                                                OneWest moved to dismiss the FAC in its entirety for
James Schwartz brought Pennsylvania state law claims            failure to state a claim, and Schwartz cross-moved for
against OneWest Bank, FSB (“OneWest”), based on                 summary judgment as to Counts I and II. The District Court
statements OneWest allegedly made in connection with            entered judgment in favor of Schwartz on Counts I and
foreclosure proceedings on Schwartz's property. The District    II, concluding that, as OneWest conceded, the mortgage
Court dismissed Schwartz's claims, holding that OneWest's       applied only to the North 30 Parcel, and granted OneWest's
statements were protected by Pennsylvania's absolute judicial   motion to dismiss Counts III through VIII. The District
privilege and that Schwartz's abuse of process claim was        Court reasoned with respect to all but the abuse of process
inadequately pled. We will affirm.                              claim that Schwartz's causes of action depended on “alleged
                                                                misrepresentations made during the course of the foreclosure
                                                                action,” including the filing of the foreclosure action itself
                              I                                 and the communications between OneWest's counsel and
                                                                Schwartz's counsel, and that these alleged misrepresentations
We draw the following facts from Schwartz's First Amended       were not actionable under Pennsylvania's absolute judicial
Complaint (“FAC”), accepting them as true in accordance         privilege. App. 19. With respect to the abuse of process claim,
with our standard of review. Schwartz owns two parcels          the District Court reasoned that the FAC failed to state a
of land in Tinicum Township, Pennsylvania: approximately        claim under Pennsylvania law because it merely alleged that
thirty acres on the north side of Hollow Horn Road (the         OneWest commenced the foreclosure action for an improper
“North 30 Parcel”) and approximately twenty acres on the        purpose, and commencement of an action alone does not
south side of Hollow Horn Road (the “South 20 Parcel”).         provide a basis for an abuse of process claim. Schwartz
Schwartz executed a note and mortgage on the North 30           appeals. 1
Parcel in 2007, and OneWest acquired the mortgage by
assignment in 2010 (the “Assignment”). OneWest filed a
foreclosure action against Schwartz in Pennsylvania state
court, asserting that the mortgage “covers both the South                                     II
20 Parcel and the North 30 Parcel,” and OneWest's counsel
“continu[ed] to assert this position” in communications to                                    A
Schwartz's counsel. *82 App. 31. OneWest sought a default
judgment against Schwartz and a “Sheriff Sale” of Schwartz's     [1] We first address the District Court's dismissal of all
properties in connection with the foreclosure action, “not      claims but the abuse of process claim on the ground that they
recognizing that only the North 30 Parcel is subject to the”    depended on communications protected by Pennsylvania's
mortgage. App. 30. The FAC alleges that OneWest's actions       absolute judicial privilege. “The judicial privilege ... extends
thwarted Schwartz's attempted sale of the parcels to Schmidt    to ‘communications [ (1) ] which are issued in the regular
                                                                course of judicial proceedings and [ (2) ] which are pertinent



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                                                                   process is the improper use of process after it has been
and material to the redress or relief sought.’ ”      Gen.
Refractories Co. v. Fireman's Fund Ins. Co., 337 F.3d 297,         issued.”     McGee v. Feege, 517 Pa. 247, 535 A.2d 1020,
                                                                   1023 (1987) (internal quotation marks omitted). Thus, merely
311 (3d Cir.2003) (quoting     Post v. Mendel, 510 Pa.
                                                                   “initiati [ng] ... litigation for a wrongful purpose” alone is
213, 507 A.2d 351, 355 (1986)). This privilege sweeps
broadly to protect “[a]ll communications pertinent to any          not actionable.     Rosen v. Tesoro Petroleum Corp., 399
                                                                   Pa.Super. 226, 582 A.2d 27, 33 (1990) (internal quotation
stage of a judicial proceeding,” Binder v. Triangle Publ'ns,
                                                                   marks omitted) (concluding plaintiffs failed to state a claim
Inc., 442 Pa. 319, 275 A.2d 53, 56 (1971), including
                                                                   for abuse of process where they “merely complain that
“not only ... communications made in open court, but
                                                                   ‘defendant issued and served process on the plaintiffs' for
also ... pleadings and even less formal communications
                                                                   various improper and ulterior purposes” but did not include
such as preliminary conferences and correspondence between
                                                                   “any allegation of a coercive use of the process”).
counsel in furtherance of the client's interest,” Richmond v.
McHale, *83 35 A.3d 779, 785 (Pa.Super.Ct.2012) (internal
                                                                   Here, Schwartz's abuse of process claim relies entirely on
quotation marks and emphasis omitted). Although the judicial
                                                                   OneWest's filing of the foreclosure action itself, asserting
privilege most often bars defamation suits, Pennsylvania
                                                                   that it was filed for the improper purpose of “attempt[ing] to
courts have applied the privilege broadly to confer “immunity
                                                                   unlawfully gain ownership of [the] South 20 Parcel.” App. 39.
from civil liability in the context of judicial proceedings.”
                                                                   An abuse of process claim bars the use of process invoked “to
   Moses v. McWilliams, 379 Pa.Super. 150, 549 A.2d 950,           coerce a desired result that is not the legitimate object of the
956–57 (1988).
                                                                   process.”   McGee, 535 A.2d at 1026. The *84 purpose of
                                                                   the process was to foreclose on the property, an authorized
Here, all of Schwartz's claims arise from the foreclosure
                                                                   goal of the procedure. Schwartz has not alleged any act
action and communications that occurred in connection
with that action, namely the foreclosure complaint, the            “not authorized by” or that perverted the process.  Rosen,
related sale notices posted as a result of the state court         582 A.2d at 32 (internal quotation marks omitted); see also
judgment in the foreclosure action, see Pa. R. Civ. P. 3129.1,
                                                                       Gen. Refractories, 337 F.3d at 304 (“A perversion of
and communications between OneWest's and Schwartz's
                                                                   legal process occurs when a party uses the process primarily
attorneys that directly pertained to the foreclosure action, see
                                                                   to accomplish a purpose for which the process was not
App. 29–30, 33. 2 These communications reflected counsel's         designed.” (internal quotation marks omitted)). Thus, even
efforts to share their clients' litigation positions regarding     if the foreclosure action was based on incorrect facts, the
OneWest's assertion that the mortgage covered both parcels,        allegations in the FAC do not demonstrate that the process
and thus were “pertinent and material to the redress or relief
                                                                   was pursued to achieve an unauthorized purpose. See Gen.
sought” in the foreclosure case. Post, 507 A.2d at 355; see,       Refractories, 337 F.3d at 304. Thus, Schwartz fails to state a
e.g., Richmond, 35 A.3d at 784, 786 (holding statement “made       claim for abuse of process.
by one attorney to another during a discussion regarding
discovery in a pending case” was privileged, as it “was
made in connection with [the attorney's] representation of
                                                                                                  C
his client in a judicial proceeding”). Thus, we will affirm
the District Court's dismissal of all claims, other than the       Finally, we address Schwartz's argument that the District
abuse of process claim, on the ground that the allegedly           Court abused its discretion by failing to offer him leave to
improper communications that form the basis for these claims       amend the FAC, despite the fact that, as Schwartz concedes,
are protected by the judicial privilege. 3                         he did not request leave to amend before the District Court.
                                                                   In this non-civil rights case, the District Court is not required
                                                                   to sua sponte offer an amendment. Fletcher–Harlee Corp.
                               B                                   v. Pote Concrete Contractors, Inc., 482 F.3d 247, 252–53 (3d
                                                                   Cir.2007). Thus, Schwartz's claim that the District Court erred
 [2] We next address the District Court's dismissal of the         by not allowing him to amend his complaint fails.
abuse of process claim. Under Pennsylvania law, “abuse of



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                             III
                                                                    All Citations
For the foregoing reasons, we will affirm the judgment of the
District Court.                                                     614 Fed.Appx. 80




                                                        Footnotes


*      This disposition is not an opinion of the full Court and pursuant to I.O.P. 5.7 does not constitute binding
       precedent.
1
       The District Court had jurisdiction under 28 U.S.C. § 1332. This Court has jurisdiction under 28 U.S.C. §
       1291. We exercise plenary review over the District Court's grant of OneWest's motion to dismiss, accepting
       the facts alleged in the FAC as true.     Nichole Med. Equip. & Supply, Inc. v. TriCenturion, Inc., 694 F.3d
       340, 350 (3d Cir.2012).
2      In his brief, Schwartz also contends that statements made in the Assignment, which are unconnected to any
       judicial proceeding, are not privileged. Although the Assignment is attached to the FAC, the FAC includes
       no allegations based upon it and mentions it only once in passing to explain why OneWest may be liable
       for claims associated with the mortgage. Thus, the District Court did not err by declining to consider the
       Assignment as a basis for liability. Cf. Frederico v. Home Depot, 507 F.3d 188, 201 (3d Cir.2007) (declining
       to consider factual allegations in plaintiff's briefs that provided more specificity than her complaint, as “we do
       not consider after-the-fact allegations in determining the sufficiency of ... complaint[s]”).
3      We need not decide whether the judicial privilege applies to the tort of abuse of process based upon these
       communications, see       Gen. Refractories Co. v. Fireman's Fund Ins. Co., 337 F.3d 297, 312 (3d Cir.2003),
       as we will affirm with respect to that claim on a different basis, as discussed in II.B. infra.


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